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                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


FEDERAL TRADE COMMISSION                              §              Case No. 17-cv-194
Plaintiff,                                            §
                                                      §
v.                                                    §
                                                      §                  Judge Kennelly
                                                      §
CREDIT BUREAU CENTER, LLC, et al.,                    §
                                                      §
Defendants.                                           §           Magistrate Judge Valdez




                          DECLARATION OF MICHAEL BROWN




        MICHAEL BROWN, under penalty of perjury in accordance with 28 U.S.C. Section

1746, states and declares the following is true and correct:

     1. I am currently age 32. My educational background includes getting a GED. I have always

        been interested in computer software and began programming from a young age.        I did

        take a few courses in college one related to computers.

     2. Because of my knowledge in computer programming, I developed a program in which

        made the customer service department at Experian more efficient. Eventually I was moved



                                                 1                                  EXHIBIT
                                                                                      A
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           to the software development department. After my approx 6 years working at Experian I

           started my own business.

      3.    I was employed at Experian (FreeCreditReport.com) when at least one of the FTC lawsuits

           was filed and settled in 2005. Because of this I became aware of the procedures necessary

           to ensure compliance with the FTC regulations regarding negative options, specifically

           within the credit reporting and monitoring business.

Compliance and CBC Websites

      4. My websites, eFreeScore.com and CreditUpdates.com were designed around the

           FreeScore360.com (owned by OneTechnologies) that was recently modified to comply

           with a FTC order regarding negative options.                Exhibit A-1 is the webpages of

           FreeScore360.com. This website was modified for compliance after the after a FTC

           consent order was handed down to FreeScore360.com, 1 therefore it was reasonable to rely

           on this as a model for which would comply to FTC standards.

      5. Furthermore, I made sure to have certain aspects of the website go above and beyond

           certain FTC recommendations made in the Free Score 360 consent order. Id. Exhibit A-3

           is an article from the FTC in which I relied upon to meet FTC font size and other

           recommendations. The recommendations were that the payment information no smaller

           than 12 point font. Id. Additionally, we made the payment information one inch away from

           the submit button so that it could not be missed by the consumer. Experian, my former

           employer, was also forced by the FTC to use no small than 12-point font when describing

           disclosures of payment. Exhibit A-4 at 10-11.               I complied with both these items.

           Additionally, I made sure to have the payment information below the title of my landing



1
    Consent Order against Free Score 360 is attached as Exhibit A-2.

                                                          2
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       page to decrease confusion to the customer although it was not necessary to do. Exhibit

       A-5. All that is required by the ROSCA and many FTC consent orders is to inform the

       consumer of the costs and information regarding the credit monitoring program before

       obtaining the consumer’s billing information.

  6. We also send out the negative option disclosure with our “Welcome” letter after customers

       sign up for membership. Exhibit A-6.

  7. Negative Option provisions have been allowed and used for over ten years and are used by

       large and small companies alike, such as Amazon, Ancestary.com, Experian, and many

       others. Virtually anyone who has gone on on-line to buy products or services has become

       acquainted with their rights under a negative option payment plan.

  8. Despite the fact that I am familiar with the business of credit reporting, I relied heavily on

       Greg Zini and Parker Mackay’s advice because of my unfamiliarity with the legal system

       and court orders. Because of this, I asked my attorneys a host of questions in order to ensure

       that I was complying with everything the FTC and the Court were asking of me. I took the

       orders of the Court and the FTC very seriously.

  9.   It is important to understand the broader context of my business. We had 250,000 people

       sign up through creditupdates.com and other similar sites. I recall (but cannot currently

       verify) that approximately half of the customers signing for membership cancelled the

       service during the trial period. Obviously, they understood their rights and exercised them.

       Some customers called after the trial period and asked for refunds, we generally had a great

       customer service policy and refunded unsatisfied customers. We generally did not want to

       keep money if the consumers did not want or felt they did not receive value for their dollar.

       About 20% of the people who signed up for membership called to discuss the possibility



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     of terminating the service and receiving a refund, but concluded that they wanted to

     continue the service after talking to a Customer Service Representative.


  10. Of the customers who cancelled their memberships, we understood that CBC was giving

     value to customers during the trial period, but the customer got that service for $1. Other

     customers did call and considered cancellation, but decided that they were receiving value

     for our services.

  11. Membership was not just receiving a credit score and credit report, but also included credit

     monitoring, and identity theft insurance. Our terms and conditions always made it clear

     that, under some circumstances, we might not be able to provide the credit monitoring as

     it requires successful identity verification and additional enrollment requests with the credit

     bureaus. Exhibit A-7.


  12. This is an industry that has a substantial number of customer complaints. We maintained

     a large customer service department, with at times more than a dozen service

     representatives, up to two supervisors and one manager to talk to customers about any

     issues, help or concerns about our services. Our Customer Service Department was

     available by email or phone sixteen hours a day, seven days a week. If a customer

     requested a refund because they did not understand the negative option or felt they had

     been misled about our services, we generally had a liberal refund policy and gave them a

     refund.

  13. I understood that the Court’s Preliminary Injunction allowed me to start up a new business

     and that Parker MacKay and Greg Zini, informed me that I could resume operating Zenfia,




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     the main business that I operated, if I did not use the “bad data” that had been compromised

     by Pierce and Lloyd. A timeline of events is detailed below:


        a.    On January 24, 2017 I had a phone conversation with MacKay and Zini regarding
             the “Report New Business Activity” notice provision required by the preliminary
             injunction. MacKay and Zini informed me that Zenfia was not under receivership
             and not a “Receivership Defendant” defined in the order.

        b. On January 24, 2017 Zini intimated to Guy Ward that I was going to re-start Zenfia,
           and one of the ways that it could be done was through a new contract with Experian
           or another data provider. Exhibit A-8.

        c. On February 24, 2017, I reached out to MacKay and Zini in a text message and
           stated: “Bottom line is I need your direction for this ASAP so that I can do it the
           legal and compliant way whatever it is . . . . Just let me know the best way to move
           forward please.” Exhibit A-9.

        d. On February 27, 2017 I had a phone conference with MacKay. He told me that
           using the customer data for marketing and billing past receivables was acceptable.
           He said that this would be compliant with the Preliminary Injunction.

        e. On March 3rd 2017 following previous conversations informing me I was allowed
           to use the past customer data to bill them I again reached out to MacKay and Zini
           that I would be able to use old customer data and it would not violate the
           preliminary injunction. The text message exchange between myself, MacKay and
           Zini is below:

                    Mike: Parker or Greg do you have 5 min now or sometime
                    today? Ling want to do a quick call and confirm we allowed
                    to use the past customer data and bill them (the good ones
                    only)

                    Greg: Yes in a few. But the short answer is I think so.

                    Mike: Ok please be more confident thank I think so lol. Call
                    me in a few.

                    Greg: I can’t be more confident than I think so right at the
                    moment. I need to look at the order again and I’m not in a
                    place where I can do that right now. Want to talk in the am
                    instead?

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                    Mike: [Picture of excerpt of Order] We were relying on page
                    14 last sentence of paragraph “A”. Only limits customer data
                    if obtained b the bad activities alleged in the complaint. If
                    that screenshot is enough to be more confident let’s do now.
                    I know parker already said was ok. AM EST is hard for Ling
                    since he pacific time

                    Greg: Looks good to me. I will upgrade my response to “yes
                    but anything can happen.” Exhibit A-9.


         f. On March 3, 2017, imeddialy after the above text message exchange with MacKay
            and Zini we had a phone call between MacKay, Zini, David Ling, and I, Zini
            assured Ling that using past customer data would be fine to use as long as it was
            not from the customer group from Pierce or Lloyd.

     Because of the representations made by my counsel at the time, I believed that I was in

     compliance with the Court’s order and was allowed to use past customer data in order to

     operate Zenfia.

  14. Counsel even wrote to me in an email on May 25, 2017, before the Contempt hearing, that

     they would be willing to represent to the Court that their advice was a misunderstanding

     when, in fact, there was no misunderstanding. Zini, speaking for himself and MacKay

     states:

                    To the extent that you want us to interpose a defense stating
                    that there was a misunderstanding of the advice of counsel
                    in you and/or David Ling billing former customers of CBC
                    under old contracts with CBC, we are willing to do so. We
                    reasonably believe that to be the case. Exhibit A-10.

     However, again, Zini and MacKay denied ever giving me the advice or claimed to not

     understand my questions, which were very direct .Id. Additionally, Zini and MacKay did

     not go any further into advising how this defense would result in a limited waiver of my

     attorney-client privilege regarding this specific scenario and made it seem very unknown.


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     Their advice was to either mislead the court by misrepresenting their advice or to not raise

     the defense at all.

  15. Prior counsel have denied giving me this advice as well and misrepresented with the re-

     starting of Zenfia in court records as well as emails to current counsel:

         a. On May 24, 2017, Zini denies the fact that he knows who David Ling is and
            represented to the FTC and I that he has never spoken to him before obviously
            forgetting about phone records and text messages to highlight his inaccurate
            statements. Additionally, he reiterated that he would never give advice to bill these
            past customers in light of the Court Order.

         b. Later that day MacKay and Zini had a phone conference with me informing me that
            they never advised me to bill these customers. Zini also confirmed to me that he
            told the Court he did not know who Ling was. When confronted with the fact that
            there was a conversation with Ling just three months prior, Zini stated something
            to the effect that he could not recall.

         c. On May 25, 2017, I sent an email to MacKay and Zini citing my confusion as to
            their reneging on the advise that was given in February. Exhibit A-10. I received
            a response of denial.

         d. On June 1, 2017 Zini and MacKay filed a motion to withdraw.

         e. Zini filed a Declaration attached to the Motion to Withdraw in which he stated there
            was a fundamental disagreement between Zini and I. Exhibit A-11, Dckt 86-1.
            Furthermore, Zini stated that “continuing as counsel to Defendants will contravene
            my duties and obligations under Rule 1.16 of the Illinois Rules of Professional
            Conduct.” Id. I never asked Zini to participate in something that would jeopardize
            his standing with the bar, as every decision that I made was based upon advice from
            Zini and MacKay. I have to believe that making these representations to the Court
            would violate an ethical rule.

         f. Zini and MacKay represented to the Court in the Motion to Withdraw hearing that
            they would deny making the representations to me that I could re-start the business
            with the prohibited consumer information . [Dkt 86 Motion to Withdraw].

         g. Before and during the Contempt proceeding, Zini and Mackay represented I should
            not raise the advice of counsel defense, that they would deny they gave the advice
            and that it would hurt me and anger the Judge. They promised that they would
            share the contempt fine and led me to believe to believe that they would do it in the
            form of a fee waiver (or some other mechanism) to cover their share of the costs

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              incurred due to their advice so that we would effectively split the costs one third
              for each of us. As a result, I did not raise the advice of counsel defense.

          h. Lastly, in an email to current counsel, Zini denied the fact that he and MacKay told
             me to restart the business. Exhibit A-12.

   18. I’m not a lawyer and I don’t know if I was entitled to an advice of counsel defense to the

      contempt charges and had conflicted counsel continuing to give me bad advice, but I do

      know that, if I am held responsible for contempt, Greg Zini and Parker Mackay should also

      be held responsible for their advice and counsel as well as the fact that they did not tell the

      truth to the Court. I should not be punished for something that my lawyers told me did not

      violate the Court’s order. Lawyers should not be allowed to tell a client one thing and then

      turn around and deny that they gave advice that got the client into trouble. I understand

      that the FTC may allege violations that have nothing to do with legal advice. In that vein,

      I am fully prepared to take responsibility but I also believe that the Court should require

      my lawyers to pay half of the contempt fine because none of this would have happened if

      they had not told me not to go forward with Zenfia and that I could use the non Pierce/Lloyd

      customer data. In addition, I feel the Court should impose some sort of sanction for their

      misrepresentations to the Court.

Issues Not Raised at the Preliminary Injunction
   19. Prior counsel failed to make several arguments during the preliminary injunction hearing

      in which would have potentially persuaded the court to take another direction regarding

      my websites.


          a. It was not argued by prior counsel that the website complied with FTC terms. As
             stated earlier, I sought to ensure that the website stated the price one inch from
             hitting the submit button on the payment page as well as used the correct sized font.
             Furthermore, I had the price at the top of the landing page even though it is not
             required by the FTC. The FTC argued that the price was not visible on the mobile

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            landing page. However, this is irrelevant because price information is not legally
            required to be on the landing page; only required to be shown before the collection
            of the consumers billing information.

        b. In Counts 2, 3 and 4 of their Complaint, the FTC asserted that I violated the Restore
           On Line Shopper’s Credit Act (“ROSCA’s”) negative option disclosure
           requirements. However, the negative option disclosures appeared exactly where
           they are supposed to appear---at a location before the customer submits the billing
           information. A copy of my webpages for creditupdate.com is attached as Exhibit
           A-13.

               1. I patterned the design of CBC’s website to a website established by
               FreeScore360.com which was modified after an action by the FTC to
               become complaint. I thought it complied with that Consent Decree and
               therefore complied with FTC regulations.

               2. I am now informed that the FTC believes that the negative option
               warning must accompany every statement, including statements on the
               home page representing that a product is “free” or a “trial offer.”

               3. Such disclosures are impossible to include in all advertising,
               especially space constrained advertising such as google advertising. A
               sample of Google advertising is attached as Exhibit A-14.

               4. The statute does not require the disclosure on a “home page” or
               “any” representation of “free” or a “trial offer” which merely describes
               the service. Any requirement that the disclosure appear whenever the
               words “Trial” or “Free” is used goes far beyond what the statute requires
               and cannot be implemented as a practical matter.

        c. The FTC’s allegations in Count 5 regarding the Fair Credit Reporting Act
           (“FCRA”) also raises concerns about the FTC’s position. The FCRA places
           additional restrictions on marketing “Free Credit Reports”. When that requirement
           was added, the credit reporting industry changed to market “Free Credit Scores”
           instead of reports. Thus, customers were offered free credit scores, but not free
           credit reports. I understood that either of these options are lawful from following
           the websites of respected companies in the industry.                  Experian and
           OneTechnologies is a prime example of this change in marketing, Experian of
           which occurred while I was employed at Experian.

  20. I have never been the subject of any prior FTC or other consumer lawsuits alleging

     deceptive trade practices. CBC has marketed numerous credit products through thousands

     of real estate agents, including with California Association of Realtors, Realty Times,

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      Business Lenders, many credit repair companies, and other substantial companies that

      wanted to co-brand, white label, or direct traffic to CBC. Any conclusion by the FTC or

      Receiver that this business line is not viable is simply wrong and can be easily

      demonstrated by data from CBC’s data base.

   21. Pierce represented that he had a data base called RTO (Rent to Own) Data Base that queried

      MLS Multiple Listing Service Data Source) to feature rental properties for interested

      renters to access his data base properties. The RTO Data Base appeared legitimate and

      Pierce told Brown that he was “killing it” meaning that he was very successful in obtaining

      customers. This obviously demonstrates Pierce had access to MLS data including rental

      properties or perhaps was additionally used to mislead CBC

   22. Unbeknownst to me, Pierce knowingly engaged Lloyd to advertise non-existent properties

      on Craig’s list to induce customers to use Pierce’s website to link to go to CBC’s website.

      The first time that I became aware of Lloyd was the day that CBC’s accounts were frozen.

      CBC was a successful credit reporting service that was growing quickly, about doubling

      year over year.    While the pace of CBC’s growth increased dramatically after CBC

      affiliated with Pierce, it made no sense to get involved in a patently fraudulent scheme.

      The marketing plan used by Pierce would have worked just as well with genuine real estate

      listings. If I actually suspected and determined that Pierce’s website was populated with

      non-existent listings, I would have terminated CBC’s relationship with Pierce and either

      established this type of service through CBC or located a legitimate company who would

      have established a legitimate service with legitimate properties for interested renters.

      Indeed, access to the MLS data base to allow identification of rental properties by area

      costs as low as $699 per month.



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   23. CBC’s customer service managers, supervisors, and agents worked to resolve any

      complaints. I was aware that Customer Service was creating an email template for

      questions and/or complaints through Craig’s List. The known scams for Craig’s List at

      that time was for websites advertising food stamps, government housing (HUD), gift cards

      (incentivized offers) that required a credit report or score from the customer to earn the gift

      card. I directed customer Service to escalate those know scams and complaints to me.

   24. For first year and a half, I was intimately involved with customer service and complaints.

      As the company grew, I had to delegate customer service to the Customer Service

      Department to handle all complaints. They would handle all questions, inquiries or

      complaints from customers and from the Better Business Bureau (“BBB”). While I do not

      currently have access to exact figures, I understand there was approximately 2 to 4 BBB

      complaints per month with many thousands of sign-ups per month. Customer service had

      between 80 to 400 calls per day. These were handled by at many times a dozen or more

      Customer Service Representatives with one to two supervisors and one manager.

   25. With this volume of customers signing up for CBC’s products and services, the number of

      complaints was not statistically significant.    That does not mean that we ignored them.

      BBB has a proprietary formula that evaluates at least the following: (1) the age of the

      business; (2) the number of complaints relative to the size of the business; (3) if there is a

      response to the complaint; and (4) if the customer is satisfied with your response to the

      complaint. BBB submits complaints listing the website involved.

   26. Hindsight is 20:20 vision. As a general matter, when some customers want to terminate

      service, they call and complain that they are a victim of a scam or that they did not

      understand either the services or the payment. If a customer wanted a refund we had a



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      liberal refund policy. The Customer Service Representatives were skilled at helping

      customers understand CBC’s credit-related products and services, but were not skilled at

      detecting potential fraud or patterns potential fraud in CBC’s affiliates. I directed that any

      fraud, such as people calling in with the same credit card number, for example, be escalated

      to me. This was not a perfect system, but we did our best to serve our customers.

   27. When I reviewed the two BBB complaints that asserted that a landlord that did not reply

      to the website, it did not set off alarm bells that there must be fraud afoot. Both complaints

      were resolved with a refund and one was especially old. While one can exercise 20:20

      hindsight and conclude that I should have launched a full fraud investigation, the Craig’s

      List real estate looked legitimate to me. Even the apparently fraudulent non-existent

      properties referenced in the FTC investigators reports appear real and it would now seem

      the property photos and property descriptions were stolen from actual real properties.

   28. I do think any business can improve its customer service and protect customers from fraud.

      I deeply regret that I did not detect the false properties with Pierce and Lloyd.

   29. This is a summary of my testimony.         Due to constraints of time in filing a Reply

      Memorandum in Support of Defendants Motion for Retainer, I have not covered all the

      relevant points regarding the contempt, and reserve the right to supplement and/or clarify

      my testimony by supplemental affidavit or at hearing or trial.



      Executed on October 12, 2017                          ______________________
                                                            Michael Brown




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                                                                                     EXHIBIT
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10
                               UNITED STATES DISTRICT COURT
11                           NORTHERN DISTRICT OF CALIFORNIA
12                                SAN FRANCISCO DIVISION

13
     FEDERAL TRADE COMMISSION,                               CASE NO. 3:14-CV-05066-JSC
14   STATE OF ILLINOIS, and
     STATE OF OHIO,                                          [PROPOSED]
15                                                           STIPULATED ORDER FOR
                     Plaintiffs,
16                                                           PERMANENT INJUNCTION &
              v.                                             MONETARY JUDGMENT
17   ONE TECHNOLOGIES, LP, a limited partnership,
     also d/b/a SCORESENSE, ONE TECHNOLOGIES,
18   INC., and MYCREDITHEALTH,
     ONE TECHNOLOGIES MANAGEMENT, LLC, a
19   limited liability company, individually and as
     general partner of ONE TECHNOLOGIES, LP, and
20   ONE TECHNOLOGIES CAPITAL, LLP, a limited
     liability partnership, individually and as a limited
21   partner of ONE TECHNOLOGIES, LP,
                     Defendants.
22

23          Plaintiffs, the Federal Trade Commission (“Commission” or “FTC”), the State of Illinois,
24   and the State of Ohio, filed their Complaint for Permanent Injunction and Other Equitable Relief
25   in this matter, pursuant to Sections 13(b) and 19 of the Federal Trade Commission Act (“FTC
26   Act”), 15 U.S.C. §§ 53(b), 57b, Sections 5 and 6 of the Restore Online Shoppers’ Confidence
27   Act (“ROSCA”), 15 U.S.C. §§ 8404–05, the Ohio Consumer Sales Practices Act, O.R.C.
28   §§ 1345.01 et seq., and Section 7(a) of the Illinois Consumer Fraud and Deceptive Business
     STIPULATED FINAL ORDER                                                              Page 1 of 15
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1    Practices Act (“Illinois Consumer Fraud Act”), 815 ILCS § 505/7(a). Plaintiffs and Defendants

2    stipulate to the entry of this Stipulated Order for Permanent Injunction and Monetary Judgment

3    to resolve all matters in dispute in this action between them.

4             THEREFORE, IT IS ORDERED as follows:

5                                                 FINDINGS

6    1.       This Court has jurisdiction over this matter.

7    2.       The Complaint charges that Defendants participated in deceptive acts or practices in

8    violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), Section 4 of ROSCA, 15 U.S.C.

9    § 8403, the Ohio Consumer Sales Practices Act, O.R.C. §§ 1345.01 et seq., and Section 2 of the

10   Illinois Consumer Fraud Act, 815 ILCS § 505/2, in the marketing of their credit monitoring

11   programs.

12   3.       Defendants neither admit nor deny any of the allegations in the Complaint, except as

13   specifically stated in this Order. Only for purposes of this action, Defendants admit the facts

14   necessary to establish jurisdiction.

15   4.       Defendants waive any claim that they may have under the Equal Access to Justice Act,

16   28 U.S.C. § 2412, concerning the prosecution of this action through the date of this Order, and

17   agree to bear their own costs and attorney fees.

18   5.       Defendants waive all rights to appeal or otherwise challenge or contest the validity of this

19   Order.

20                                             DEFINITIONS

21            For the purpose of this Order, the following definitions apply:

22   A.       “Advertisement” means a commercial message in any medium that directly or indirectly

23   promotes a consumer transaction.

24   B.       “Charge” or “charging” means causing billing information to be submitted for payment,

25   including against a consumer’s credit card, debit card, bank account, phone bill, or other account,

26   or otherwise attempting to collect money or other consideration.

27   ///

28   ///
     STIPULATED FINAL ORDER                                                                  Page 2 of 15
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1    C.     “Clear and conspicuous” or “clearly and conspicuously” means as follows:

2                   1.     In print communications, the disclosure shall be presented in a manner that

3           stands out from the accompanying text so that it is sufficiently prominent, because of its

4           type size, contrast, location, or other characteristics, for an ordinary consumer to notice,

5           read, and comprehend it;

6                   2.     In communications made through an electronic medium (such as

7           television, video, radio, and interactive media such as the Internet, online services, and

8           software), the disclosure shall be presented simultaneously in both the audio and visual

9           portions of the communication. In any communication presented solely through visual or

10          audio means, the disclosure shall be made through the same means through which the

11          communication is presented. In any communication disseminated by means of an

12          interactive electronic medium such as software, the Internet, or online services, the

13          disclosure must be unavoidable. Any audio disclosure shall be delivered in a volume and

14          cadence sufficient for an ordinary consumer to hear and comprehend it. Any visual

15          disclosure shall be presented in a manner that stands out in the context in which it is

16          presented so that it is sufficiently prominent, due to its size and shade, contrast to the

17          background against which it appears, the length of time it appears on the screen, and its

18          location, for an ordinary consumer to notice, read, and comprehend it; and

19                  3.     Regardless of the medium used to disseminate it, the disclosure shall be in

20          understandable language and syntax. Nothing contrary to, inconsistent with, or in

21          mitigation of the disclosure shall be used in any communication.

22   D.     “Defendants” means One Technologies, LP, One Technologies Management, LLC, One

23   Technologies Capital, LLP, and their successors and assigns, individually, collectively, or in any

24   combination.

25   E.     “Material” means likely to affect a person’s choice of, or conduct regarding, goods

26   or services.

27   F.     “Negative Option Feature” means, in an offer or agreement to sell or provide any good

28   or service, a provision under which the consumer’s silence or failure to take affirmative action to
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1    reject a good or service or to cancel the agreement is interpreted by the seller or provider as

2    acceptance or continuing acceptance of the offer.

3                        I. PROHIBITION AGAINST MISREPRESENTATIONS

4           IT IS ORDERED that Defendants, Defendants’ officers, agents, servants, employees, and

5    attorneys, and all other persons in active concert or participation with any of them who receive

6    actual notice of this Order, whether acting directly or indirectly, in connection with the

7    advertising, marketing, promoting, or sale of any good or service with a Negative Option

8    Feature, are permanently restrained and enjoined from misrepresenting, expressly or by

9    implication, any material fact, including but not limited to:

10          A.      The cost or price of a good or service;

11          B.      That a good or service is free, a bonus, a gift, without cost, or without obligation;

12          C.      That consumers can obtain a good or service for a minimal processing, service, or

13   administrative fee with no further obligation;

14          D.      The purpose for which a consumer’s payment information will be used;

15          E.      The timing or manner of any charge or bill (including but not limited to the date

16   of the charge and whether it will be a credit card charge or checking account debit);

17          F.      The length of any trial period before the consumer is charged or billed; or

18          G.      That a transaction has been authorized by a consumer.

19                                   II. REQUIRED DISCLOSURES

20          IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, servants,

21   employees, and attorneys, and all other persons in active concert or participation with any of

22   them who receive actual notice of this Order, whether acting directly or indirectly, in connection

23   with the advertising, marketing, promoting, or sale of any good or service with a Negative

24   Option Feature, are permanently restrained and enjoined from:

25          A.      Before a customer consents to pay for such good or service, failing to disclose,

26   clearly and conspicuously:

27                  1.      The name of the seller or provider of the good or service or the name of

28          the good or service as it appears in billing statements;
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1                    2.     A description of the good or service, including but not limited to its

2            duration;

3                    3.     The cost or price of the good or service;

4                    4.     The length of any trial period; and

5                    5.     The mechanism to stop any recurring charges.

6            B.      For any transaction involving a sale of a service to a consumer, within 10 days

7    after the date of the sale, failing to send the consumer written confirmation of the transaction,

8    either by email or first class mail, clearly and conspicuously identified as such in the email

9    subject line or on the outside of the envelope. Such written confirmation shall include clear and

10   conspicuous disclosure of all the information required by Subsection A of this Section and of the

11   procedures by which consumers can cancel or request a refund.

12                               III. EXPRESS INFORMED CONSENT

13           IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, servants,

14   employees, and attorneys, and all other persons in active concert or participation with any of

15   them who receive actual notice of this Order, whether acting directly or indirectly, in connection

16   with the advertising, marketing, promoting, or sale of any good or service with a Negative

17   Option Feature, are permanently restrained and enjoined from using billing information to obtain

18   payment from a consumer, unless, prior to using such billing information to obtain payment,

19   Defendants obtain the express informed consent of the consumer. Express informed consent

20   shall consist of:

21           A.      For all written offers (including over the Internet or other web-based applications

22   or services): a check box, signature space or line, or another substantially similar method by

23   which consumers must affirmatively select to accept the Negative Option Feature. Immediately

24   adjacent to an affirmative selection method, Defendants shall disclose the information identified

25   in Subsection A of the Section entitled “Required Disclosures.” This disclosure shall contain no

26   additional information and shall be clear and conspicuous in relation to any other information

27   provided on the page relating to costs, risks, or obligations associated with the Negative Option

28   Feature, including any terms referring to “free,” “trial,” and “processing fee.”
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1           B.      For all oral offers: the consumer’s express, informed agreement to the Negative

2    Option Feature, as evidenced by:

3                   1.      The consumer’s authorization of payment for the good or service

4           described;

5                   2.      The consumer’s name and the date of the authorization;

6                   3.      The consumer’s understanding of what account will be charged; and

7                   4.      The consumer’s receipt of the disclosures required by this Order in

8           Subsection A of the Section entitled “Required Disclosures.”

9    Defendants shall maintain for each such transaction a voice recording of the entire transaction,

10   including the sales representations. Each recording must be retrievable by the consumer’s name,

11   telephone number, or billing information and must be provided upon request to the consumer, the

12   consumer’s bank, or any law enforcement entity.

13            IV. PROHIBITIONS CONCERNING REFUNDS & CANCELLATIONS

14          IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, servants,

15   employees, and attorneys, and all other persons in active concert or participation with any of

16   them who receive actual notice of this Order, whether acting directly or indirectly, in connection

17   with the advertising, marketing, promoting, or sale of any good or service, are permanently

18   restrained and enjoined from:

19          A.      Misrepresenting, expressly or by implication, any material term of any refund or

20   cancellation policy or practice;

21          B.      Failing to disclose, clearly and conspicuously, before a consumer consents to pay

22   for such good or service through a Negative Option Feature, all material terms, limitations, and

23   conditions of any cancellation or refund policy, including but not limited to prohibitions against

24   cancellations or refunds;

25          C.      Failing to honor a cancellation or refund request that complies with any policy to

26   make refunds or allow cancellations; and

27          D.      Failing to provide and disclose, clearly and conspicuously, a simple mechanism

28   for a consumer to immediately stop any recurring charge for such good or service. Such
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1    mechanism must not be difficult, costly, confusing, or time consuming, and it must be at least as

2    simple as the mechanism the consumer used to initiate the recurring charge. For the purposes of

3    this Subsection, a toll-free telephone call is a sufficiently simple cancellation mechanism so long

4    as:

5                   1.      Defendants disclose, clearly and conspicuously, the toll-free telephone

6           number on all websites and direct customer communications relating to the recurring

7           charge and the underlying good or service;

8                   2.      Defendants include the toll-free telephone number in billing descriptors

9           for the recurring charge;

10                  3.      Defendants maintain a call center that is open from 9:00 a.m. to 9:00 p.m.

11          (Eastern Time) Monday through Friday, 9:00 a.m. to 6:00 p.m. (Eastern Time) Saturday,

12          and 1:00 p.m. to 6:00 p.m. (Eastern Time) Sunday;

13                  4.      Defendants immediately accept a consumer’s cancellation request,

14          provided, however, that Defendants may then attempt to retain the consumer. If at any

15          time during the retention efforts the consumer expresses a desire that Defendants cease

16          their retention efforts, Defendants shall immediately cease their retention efforts; and

17                  5.      The mechanism is not otherwise difficult, costly, confusing, or time

18          consuming.

19                             V. PROHIBITION ON VIOLATING THE

20                       RESTORE ONLINE SHOPPERS’ CONFIDENCE ACT

21          IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, servants,

22   employees, and attorneys, and all other persons in active concert or participation with any of

23   them who receive actual notice of this Order, whether acting directly or indirectly, in connection

24   with the advertising, marketing, promoting, or sale of any good or service, are permanently

25   restrained and enjoined from violating the Restore Online Shoppers’ Confidence Act, 15 U.S.C.

26   §§ 8401–05, a copy of which is attached.

27   ///

28   ///
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1                                    VI. MONETARY JUDGMENT

2           IT IS FURTHER ORDERED that:

3           A.      Judgment in the amount of twenty-two million dollars ($22,000,000) is entered in

4    favor of Plaintiffs against Defendants, jointly and severally, as equitable monetary relief. All

5    money paid to Plaintiffs pursuant to this Order is compensatory and not punitive in nature. Such

6    money is not intended as nor shall it be treated or construed as a penalty or fine of any kind.

7           B.      Defendants are ordered to pay to Plaintiffs, by making payment to the

8    Commission, twenty-two million dollars ($22,000,000). Defendants stipulate that such funds

9    will be held in escrow by a third party pursuant to a written escrow agreement, which provides

10   for payment to Plaintiffs within 7 days of entry of this Order by electronic fund transfer in

11   accordance with instructions previously provided by a representative of the Commission, should

12   this Order be entered by on or before the end of February 2015.

13                          VII. ADDITIONAL MONETARY PROVISIONS

14          IT IS FURTHER ORDERED that:

15          A.      Defendants relinquish dominion and all legal and equitable right, title, and interest

16   in all assets transferred pursuant to this Order and may not seek the return of any assets.

17          B.      The facts alleged in the Complaint will be taken as true, without further proof, in

18   any subsequent civil litigation by or on behalf of any Plaintiff, including in a proceeding to

19   enforce its rights to any payment or monetary judgment pursuant to this Order, such as a

20   nondischargeability complaint in any bankruptcy case.

21          C.      The facts alleged in the Complaint establish all elements necessary to sustain an

22   action by any Plaintiff pursuant to Section 523(a)(2)(A) of the Bankruptcy Code, 11 U.S.C.

23   § 523(a)(2)(A), and this Order will have collateral estoppel effect for such purposes.

24          D.      Defendants acknowledge that their Taxpayer Identification Numbers (Social

25   Security numbers or Employer Identification Numbers), which Defendants must submit to the

26   Commission, may be used for collecting and reporting on any delinquent amount arising out of

27   this Order, in accordance with 31 U.S.C. § 7701.

28   ///
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1           E.      All money paid to Plaintiffs pursuant to this Order shall be deposited into a fund

2    administered by the Commission or its designee to be used for equitable relief, including

3    consumer redress and any attendant expenses for the administration of any redress fund.

4           F.      If a representative of the Commission, in consultation with the States of Illinois,

5    Ohio, and Texas, decides that direct redress to consumers is wholly or partially impracticable or

6    money remains after redress is completed, such funds shall be divided among Plaintiffs as

7    follows: fifty-thousand dollars ($50,000) to the State of Illinois; fifty-thousand dollars ($50,000)

8    to the State of Ohio Consumer Protection Enforcement Fund established by O.R.C 1345.51; and

9    the remainder to the Commission. The amount paid to the State of Illinois shall be deposited into

10   the Attorney General Court Ordered and Voluntary Compliance Payment Projects Fund for

11   subsequent expenditure as authorized by the Attorney General. The Commission may apply any

12   remaining money for such other equitable relief (including consumer information remedies) as it

13   determines to be reasonably related to Defendants’ practices alleged in the Complaint. Any

14   money not used for such equitable relief by the Commission shall be deposited to the United

15   States Treasury as disgorgement. Any funds paid to the State of Illinois or the State of Ohio not

16   used for equitable relief may be used by the State to the full extent authorized by the State’s

17   laws, including but not limited to as payment for the State’s costs of investigating and litigating

18   the instant case. Defendants have no right to challenge any actions any Plaintiff may take

19   pursuant to this Subsection.

20                                  VIII. CUSTOMER INFORMATION

21          IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, servants,

22   employees, and attorneys, and all other persons in active concert or participation with any of

23   them who receive actual notice of this Order, whether acting directly or indirectly, in connection

24   with the advertising, marketing, promoting, or sale of any good or service, must provide

25   sufficient customer information to enable any Plaintiff to efficiently administer consumer

26   redress. If a representative of any Plaintiff requests in writing any information related to redress,

27   Defendants must provide it, in the form prescribed by the Plaintiff, within 14 days.

28   ///
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1                                   IX. ORDER ACKNOWLEDGMENTS

2             IT IS FURTHER ORDERED that Defendants obtain acknowledgments of receipt of this

3    Order:

4             A.      Each Defendant, within 7 days of entry of this Order, must submit to each

5    Plaintiff an acknowledgment of receipt of this Order sworn under penalty of perjury.

6             B.      For 5 years after entry of this Order, each Defendant must deliver a copy of this

7    Order to:

8                     1.      All principals, officers, directors, and LLC managers and members;

9                     2.      All employees, agents, and representatives who participate in conduct

10            related to the subject matter of the Order; and

11                    3.      Any business entity resulting from any change in structure as set forth in

12            the Section titled Compliance Reporting. Delivery must occur within 7 days of entry of

13            this Order for current personnel. For all others, delivery must occur before they assume

14            their responsibilities.

15            C.      From each individual or entity to which a Defendant delivered a copy of this

16   Order, that Defendant must obtain, within 30 days, a signed and dated acknowledgment of

17   receipt of this Order.

18                                      X. COMPLIANCE REPORTING

19            IT IS FURTHER ORDERED that Defendants make timely submissions to Plaintiffs:

20            A.      One year after entry of this Order, each Defendant must submit a compliance

21   report, sworn under penalty of perjury. Each Defendant must:

22                    1.      Identify the primary physical, postal, and email address and telephone

23            number, as designated points of contact, which representatives of any Plaintiff may use to

24            communicate with the Defendant;

25                    2.      Identify all of that Defendant’s businesses by all of their names, telephone

26            numbers, and physical, postal, email, and Internet addresses;

27

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1                    3.     Describe the activities of each business, including the goods and services

2            offered, the means of advertising, marketing, and sales, and the involvement of any other

3            Defendant;

4                    4.     Describe in detail whether and how that Defendant is in compliance with

5            each Section of this Order; and

6                    5.     Provide a copy of each Order Acknowledgment obtained pursuant to this

7            Order, unless previously submitted to all Plaintiffs.

8            B.      For 20 years after entry of this Order, each Defendant must submit a compliance

9    notice, sworn under penalty of perjury, within 14 days of any change in the following:

10                   1.     Any designated point of contact; or

11                   2.     The structure of any Defendant or any entity that Defendant has any

12           ownership interest in or controls directly or indirectly that may affect compliance

13           obligations arising under this Order, including: creation, merger, sale, or dissolution of

14           the entity or any subsidiary, parent, or affiliate that engages in any acts or practices

15           subject to this Order.

16           C.      Each Defendant must submit to Plaintiffs notice of the filing of any bankruptcy

17   petition, insolvency proceeding, or similar proceeding by or against such Defendant within 14

18   days of its filing.

19           D.      Any submission to Plaintiffs required by this Order to be sworn under penalty of

20   perjury must be true and accurate and comply with 28 U.S.C. § 1746, such as by concluding: “I

21   declare under penalty of perjury under the laws of the United States of America that the

22   foregoing is true and correct. Executed on: _____” [and supplying the date, signatory’s full

23   name, title (if applicable), and signature].

24           E.      Unless otherwise directed by a Commission representative in writing, all

25   submissions to the Commission pursuant to this Order must be emailed to DEbrief@ftc.gov or

26   sent by overnight courier (not the U.S. Postal Service) to: Associate Director for Enforcement,

27   Bureau of Consumer Protection, Federal Trade Commission, 600 Pennsylvania Avenue NW,

28
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1    Washington, DC 20580. The subject line must begin: FTC v. One Technologies, LP, matter

2    number 1323021.

3           F.      All submissions to Plaintiff State of Illinois must be emailed to

4    pisaac@atg.state.il.us or sent by overnight courier (not the U.S. Postal Service) to: Assistant

5    Attorney General Paul Isaac, Illinois Attorney General’s Office, 500 South Second Street,

6    Springfield, IL 62706, (217) 782-4436 (P). (Or other contact as provided to Defendants by the

7    Illinois Attorney General’s Office).

8           G.      All submissions to Plaintiff State of Ohio must be emailed to

9    jeff.loeser@ohioattorneygeneral.gov or sent by overnight courier (not the U.S. Postal Service) to:

10   Assistant Attorney General Jeffrey Loeser, Consumer Protection Section, Ohio Attorney

11   General’s Office, 30 East Broad Street, 14th Floor, Columbus, Ohio 43215. (Or other contact as

12   provided to Defendants by the Ohio Attorney General’s Office).

13                                          XI. RECORDKEEPING

14          IT IS FURTHER ORDERED that Defendants must create certain records for 10 years

15   after entry of the Order, and retain each such record for 5 years. Specifically, Defendants, in

16   connection with the sale of any good or service with a Negative Option Feature, must create and

17   retain the following records:

18          A.      Accounting records showing the revenues from all goods or services sold;

19          B.      Personnel records showing, for each person providing services, whether as an

20   employee or otherwise, that person’s: name; address(es); telephone number(s); job title or

21   position; dates of service; and (if applicable) the reason for termination;

22          C.      Records of all consumer complaints and refund requests, whether received

23   directly or indirectly, such as through a third party, and any response; and

24          D.      All records necessary to demonstrate full compliance with each provision of this

25   Order, including all submissions to Plaintiffs.

26                                   XII. COMPLIANCE MONITORING

27          IT IS FURTHER ORDERED that, for the purpose of monitoring Defendants’ compliance

28   with this Order, including any failure to transfer any assets as required by this Order:
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1           A.      Within 14 days of receipt of a written request from a representative of any

2    Plaintiff, each Defendant must: submit additional compliance rep01t s or other requested

3    infonnation, which must be swom under penalty of pe1jury; appear for depositions; and produce

4    documents for inspection and copying. Any Plaintiff is also authorized to obtain discovery,
5    without fmther leave of comt, using any of the procedures prescribed by Federal Rules of Civil

6    Procedure 29, 30 (including telephonic depositions), 31 , 33, 34, 36, 45, and 69.

7           B.      For matters conceming this Order, any Plaintiff is authorized to communicate

8    directly with any Defendant. Defendants must pennit representatives of any Plaintiff to
9    interview any employee or other person affiliated with any Defendant who has agreed to such an

10   interview. The person interviewed may have counsel present.

11          C.      Plaintiffs may use all other lawful means, including posing, through its

12   representatives, as consumers, suppliers, or other individuals or entities, to Defendants or any

13   individual or entity affiliated with Defendants, without the necessity of identification or prior

14   notice. Nothing in this Order liinits the Collllnission's lawful use of compuls01y process,

15   pursuant to Sections 9 and 20 of the FTC Act, 15 U.S.C. §§ 49, 57b-1.

16                              XIII. RETENTION OF JURISDICTION

17          IT IS FURTHER ORDERED that this Comt retains jurisdiction of this matter for

18   pmposes of constmction, modification, and enforcement of this Order.

19          PURSUANT TO STIPULATION, IT IS SO ORDERED.
                                                                      ~--~......._

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     Dated: November 21, 2014
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        SO STIPULATED AND AGREED:
2       FOR PLAINTIFFS:

3       JONATHAN E. NUECHTERLEJN
4       General Counsel



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5
6       ~HROEDER
        KENNETH H. ABBE
7       EVAN ROSE
8       YANFANG
        Attorn~ys for Plaintiff
.9      FEDERAL TRADE COMMISSION

10

11
       .LISA MADIGAN
12      Attorney General
        State of Illinois
13

14        ~~~
        PAUL A. ISAAC
15
        Attorney for Plaintiff
16      STATE OF ILLINOIS

17
1.8    MIKEDEWJNE
19     Attorney General
       State of Ohio
20
21
        JEFFREY R. LOESER
22      Attorney for Plaintiff
23      STATE OF OHIO

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28
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       SO STIPULATED AND AGREED:

2      FOR PLAINTIFFS:

3      JONATHAN E. NUECHTERLEIN
4      General Counsel



      ~                         ..
5
6
       KENNETH H. ABBE
7      EVAN ROSE
8      YANFANG
       Attorneys for Plaintiff
9      FEDERAL TRADE COMMISSION

10

II     LISA MADIGAN
12     Attorney General
       State ofl1linois
13

14
       PAUL A. ISAAC
15     Attorney for Plaintiff
16     STATE OF ILLINOIS

I7
18     MIKEDEWINE
       Attorney General
19
       State of Ohio
20
21
22     Attorney for Plaintiff
23     STATE OF OHIO

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        FOR DEFENDANTS:



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        MANAGEMENT. LLC: ONE TECHNOLOGIES CAPITAL. LLP
10

II
        DEFENDANTS: One Technologies, LP; One Technologies Management, LLC; One
12      Technologies Capital, LLP

13            One Technologies. LP

14
              By:
15

16

17            One Technologies l'V1anagement, LLC
18
              By:
19

20
21            One Technologies Management CapitaL LLP
22

23            By:

24

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        STJPULA TED FINAL ORDER                                            Page 15 of 15
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S. 3386



                  One Hundred Eleventh Congress
                             of the
                    United States of America
                                AT T H E S E C O N D S E S S I O N

                     Begun and held at the City of Washington on Tuesday,
                        the fifth day of January, two thousand and ten




                                                An Act
                  To protect consumers from certain aggressive sales tactics on the Internet.

                  Be it enacted by the Senate and House of Representatives of
              the United States of America in Congress assembled,
              SECTION 1. SHORT TITLE.
                  This Act may be cited as the ‘‘Restore Online Shoppers’ Con-
              fidence Act’’.
              SEC. 2. FINDINGS; DECLARATION OF POLICY.
                  The Congress finds the following:
                       (1) The Internet has become an important channel of com-
                  merce in the United States, accounting for billions of dollars
                  in retail sales every year. Over half of all American adults
                  have now either made an online purchase or an online travel
                  reservation.
                       (2) Consumer confidence is essential to the growth of online
                  commerce. To continue its development as a marketplace, the
                  Internet must provide consumers with clear, accurate informa-
                  tion and give sellers an opportunity to fairly compete with
                  one another for consumers’ business.
                       (3) An investigation by the Senate Committee on Com-
                  merce, Science, and Transportation found abundant evidence
                  that the aggressive sales tactics many companies use against
                  their online customers have undermined consumer confidence
                  in the Internet and thereby harmed the American economy.
                       (4) The Committee showed that, in exchange for ‘‘bounties’’
                  and other payments, hundreds of reputable online retailers
                  and websites shared their customers’ billing information,
                  including credit card and debit card numbers, with third party
                  sellers through a process known as ‘‘data pass’’. These third
                  party sellers in turn used aggressive, misleading sales tactics
                  to charge millions of American consumers for membership clubs
                  the consumers did not want.
                       (5) Third party sellers offered membership clubs to con-
                  sumers as they were in the process of completing their initial
                  transactions on hundreds of websites. These third party ‘‘post-
                  transaction’’ offers were designed to make consumers think
                  the offers were part of the initial purchase, rather than a
                  new transaction with a new seller.
                       (6) Third party sellers charged millions of consumers for
                  membership clubs without ever obtaining consumers’ billing
                  information, including their credit or debit card information,
                  directly from the consumers. Because third party sellers
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                  acquired consumers’ billing information from the initial mer-
                  chant through ‘‘data pass’’, millions of consumers were unaware
                  they had been enrolled in membership clubs.
                       (7) The use of a ‘‘data pass’’ process defied consumers’
                  expectations that they could only be charged for a good or
                  a service if they submitted their billing information, including
                  their complete credit or debit card numbers.
                       (8) Third party sellers used a free trial period to enroll
                  members, after which they periodically charged consumers until
                  consumers affirmatively canceled the memberships. This use
                  of ‘‘free-to-pay conversion’’ and ‘‘negative option’’ sales took
                  advantage of consumers’ expectations that they would have
                  an opportunity to accept or reject the membership club offer
                  at the end of the trial period.
              SEC. 3. PROHIBITIONS AGAINST CERTAIN UNFAIR AND DECEPTIVE
                         INTERNET SALES PRACTICES.
                   (a) REQUIREMENTS FOR CERTAIN INTERNET-BASED SALES.—It
              shall be unlawful for any post-transaction third party seller to
              charge or attempt to charge any consumer’s credit card, debit card,
              bank account, or other financial account for any good or service
              sold in a transaction effected on the Internet, unless—
                        (1) before obtaining the consumer’s billing information, the
                   post-transaction third party seller has clearly and conspicuously
                   disclosed to the consumer all material terms of the transaction,
                   including—
                             (A) a description of the goods or services being offered;
                             (B) the fact that the post-transaction third party seller
                        is not affiliated with the initial merchant, which may
                        include disclosure of the name of the post-transaction third
                        party in a manner that clearly differentiates the post-
                        transaction third party seller from the initial merchant;
                        and
                             (C) the cost of such goods or services; and
                        (2) the post-transaction third party seller has received the
                   express informed consent for the charge from the consumer
                   whose credit card, debit card, bank account, or other financial
                   account will be charged by—
                             (A) obtaining from the consumer—
                                  (i) the full account number of the account to be
                             charged; and
                                  (ii) the consumer’s name and address and a means
                             to contact the consumer; and
                             (B) requiring the consumer to perform an additional
                        affirmative action, such as clicking on a confirmation button
                        or checking a box that indicates the consumer’s consent
                        to be charged the amount disclosed.
                   (b) PROHIBITION ON DATA-PASS USED TO FACILITATE CERTAIN
              DECEPTIVE INTERNET SALES TRANSACTIONS.—It shall be unlawful
              for an initial merchant to disclose a credit card, debit card, bank
              account, or other financial account number, or to disclose other
              billing information that is used to charge a customer of the initial
              merchant, to any post-transaction third party seller for use in
              an Internet-based sale of any goods or services from that post-
              transaction third party seller.
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                   (c) APPLICATION WITH OTHER LAW.—Nothing in this Act shall
              be construed to supersede, modify, or otherwise affect the require-
              ments of the Electronic Funds Transfer Act (15 U.S.C. 1693 et
              seq.) or any regulation promulgated thereunder.
                   (d) DEFINITIONS.—In this section:
                        (1) INITIAL MERCHANT.—The term ‘‘initial merchant’’ means
                   a person that has obtained a consumer’s billing information
                   directly from the consumer through an Internet transaction
                   initiated by the consumer.
                        (2) POST-TRANSACTION THIRD PARTY SELLER.—The term
                   ‘‘post-transaction third party seller’’ means a person that—
                             (A) sells, or offers for sale, any good or service on
                        the Internet;
                             (B) solicits the purchase of such goods or services on
                        the Internet through an initial merchant after the con-
                        sumer has initiated a transaction with the initial merchant;
                        and
                             (C) is not—
                                   (i) the initial merchant;
                                   (ii) a subsidiary or corporate affiliate of the initial
                             merchant; or
                                   (iii) a successor of an entity described in clause
                             (i) or (ii).
              SEC. 4. NEGATIVE OPTION MARKETING ON THE INTERNET.
                   It shall be unlawful for any person to charge or attempt to
              charge any consumer for any goods or services sold in a transaction
              effected on the Internet through a negative option feature (as
              defined in the Federal Trade Commission’s Telemarketing Sales
              Rule in part 310 of title 16, Code of Federal Regulations), unless
              the person—
                       (1) provides text that clearly and conspicuously discloses
                   all material terms of the transaction before obtaining the con-
                   sumer’s billing information;
                       (2) obtains a consumer’s express informed consent before
                   charging the consumer’s credit card, debit card, bank account,
                   or other financial account for products or services through
                   such transaction; and
                       (3) provides simple mechanisms for a consumer to stop
                   recurring charges from being placed on the consumer’s credit
                   card, debit card, bank account, or other financial account.
              SEC. 5. ENFORCEMENT BY FEDERAL TRADE COMMISSION.
                   (a) IN GENERAL.—Violation of this Act or any regulation pre-
              scribed under this Act shall be treated as a violation of a rule
              under section 18 of the Federal Trade Commission Act (15 U.S.C.
              57a) regarding unfair or deceptive acts or practices. The Federal
              Trade Commission shall enforce this Act in the same manner,
              by the same means, and with the same jurisdiction, powers, and
              duties as though all applicable terms and provisions of the Federal
              Trade Commission Act (15 U.S.C. 41 et seq.) were incorporated
              into and made a part of this Act.
                   (b) PENALTIES.—Any person who violates this Act or any regula-
              tion prescribed under this Act shall be subject to the penalties
              and entitled to the privileges and immunities provided in the Fed-
              eral Trade Commission Act as though all applicable terms and
              provisions of the Federal Trade Commission Act were incorporated
              in and made part of this Act.
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                  (c) AUTHORITY PRESERVED.—Nothing in this section shall be
              construed to limit the authority of the Commission under any
              other provision of law.
              SEC. 6. ENFORCEMENT BY STATE ATTORNEYS GENERAL.
                   (a) RIGHT OF ACTION.—Except as provided in subsection (e),
              the attorney general of a State, or other authorized State officer,
              alleging a violation of this Act or any regulation issued under
              this Act that affects or may affect such State or its residents
              may bring an action on behalf of the residents of the State in
              any United States district court for the district in which the defend-
              ant is found, resides, or transacts business, or wherever venue
              is proper under section 1391 of title 28, United States Code, to
              obtain appropriate injunctive relief.
                   (b) NOTICE TO COMMISSION REQUIRED.—A State shall provide
              prior written notice to the Federal Trade Commission of any civil
              action under subsection (a) together with a copy of its complaint,
              except that if it is not feasible for the State to provide such prior
              notice, the State shall provide such notice immediately upon insti-
              tuting such action.
                   (c) INTERVENTION BY THE COMMISSION.—The Commission may
              intervene in such civil action and upon intervening—
                        (1) be heard on all matters arising in such civil action;
                   and
                        (2) file petitions for appeal of a decision in such civil action.
                   (d) CONSTRUCTION.—Nothing in this section shall be con-
              strued—
                        (1) to prevent the attorney general of a State, or other
                   authorized State officer, from exercising the powers conferred
                   on the attorney general, or other authorized State officer, by
                   the laws of such State; or
                        (2) to prohibit the attorney general of a State, or other
                   authorized State officer, from proceeding in State or Federal
                   court on the basis of an alleged violation of any civil or criminal
                   statute of that State.
                   (e) LIMITATION.—No separate suit shall be brought under this
              section if, at the time the suit is brought, the same alleged violation
              is the subject of a pending action by the Federal Trade Commission
              or the United States under this Act.




                                          Speaker of the House of Representatives.




                                      Vice President of the United States and
                                                           President of the Senate.
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                                                                                            Monday,
                                                                                            January 31, 2005




                                                                                            Part VIII

                                                                                            Federal Trade
                                                                                            Commission
                                                                                            16 CFR Parts 642 and 698
                                                                                            Prescreen Opt-Out Disclosure; Final Rule




                                                                                                                                 EXHIBIT
                                                                                                                                   A-3




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      FEDERAL TRADE COMMISSION                                subparagraph (D) by notifying a                        meet the statutory mandate. As stated in
                                                              notification system established under                  the proposed Rule, the determination of
      16 CFR Parts 642 and 698                                section 604(e) [of the FCRA].                          whether a notice meets the ‘‘simple and
      [RIN 3084–AA94]                                                                                                easy to understand’’ standard is based
                                                              Section 615(d)(1) of the FCRA [15 U.S.C.
                                                                                                                     on the totality of the disclosure and the
                                                              1681m(d)(1)] 1
      Prescreen Opt-Out Disclosure                                                                                   manner and format in which it is
                                                                 The Fair and Accurate Credit                        presented, not on any single factor.
      AGENCY:    Federal Trade Commission.                    Transactions Act of 2003, Public Law                   Modifications have been made to the
      ACTION:   Final rule.                                   108–159, 117 Stat. 1952 (FACT Act or                   final Rule to make it clearer that the
                                                              the Act) was signed into law on                        ‘‘simple and easy to understand’’
      SUMMARY: The Fair and Accurate Credit                   December 4, 2003. Section 213(a) of the                standard is a flexible one.
      Transactions Act of 2003 (‘‘FACT Act’’                  FACT Act amends FCRA section 615(d)                       The final Rule: (1) Sets forth the
      or ‘‘Act’’) directs the Federal Trade                   to require that the statement mandated                 purpose and scope of the Rule; (2)
      Commission (‘‘FTC’’ or ‘‘Commission’’),                 by section 615(d) ‘‘be presented in such               defines ‘‘simple and easy to
      in consultation with the Federal                        format and in such type size and                       understand’’; (3) requires a notice that
      banking agencies and the National                       manner as to be simple and easy to                     consists of an initial statement that
      Credit Union Administration, to adopt a                 understand, as established by the                      provides basic opt-out information
      rule to improve the required notice to                  Commission, by rule, in consultation                   (‘‘short notice’’), and a separate longer
      consumers regarding their right to opt                  with the Federal banking agencies and                  explanation that offers further
      out of prescreened solicitations for                    the National Credit Union                              information (‘‘long notice’’); (4) adds a
      credit or insurance. This final rule                    Administration.’’                                      definition for ‘‘principal promotional
      implements this requirement.                               On September 27, 2004, the                          document,’’ the document in which the
      EFFECTIVE DATE: This rule is effective on               Commission issued, and sought                          short notice must appear; (5) establishes
      August 1, 2005.                                         comment on, a proposed Rule                            the effective date for the Rule; and (6)
      FOR FURTHER INFORMATION CONTACT:                        implementing the requirements of                       proposes model notices that may be
      Jeanne-Marie Burke or Kellie Cosgrove                   section 213(a) of the FACT Act (‘‘the                  used for compliance.
      Riley, Attorneys, (202) 326–3224,                       proposed Rule’’).2 In response to the                     Therefore, having consulted with the
      Division of Financial Practices, Bureau                 proposed Rule, the Commission                          Office of the Comptroller of the
      of Consumer Protection, Federal Trade                   received approximately 60 comments                     Currency, Board of Governors of the
      Commission, 600 Pennsylvania Avenue,                    from a variety of trade associations,                  Federal Reserve System, Federal Deposit
      NW., Washington, DC 20580.                              creditors, insurers, consumer advocacy                 Insurance Corporation, Office of Thrift
                                                              groups, and individual consumers. After                Supervision, and National Credit Union
      SUPPLEMENTARY INFORMATION:
                                                              carefully considering the comments                     Administration, the FTC issues the
      Statement of Basis and Purpose                          received, the Commission adopts the                    following Rule.
      I. Background                                           proposed Rule with some modifications.
                                                                 The final Rule carries out the                      II. Overview of Comments Received
         Section 615(d) of the Fair Credit                    Commission’s mandate to improve the                       The Commission received
      Reporting Act (‘‘FCRA’’) requires that                  prescreen notice so that it is simple and              approximately 60 comments concerning
      any person who uses a consumer report                   easy to understand. The FACT Act                       the proposed Rule.3 The vast majority of
      in order to make an unsolicited firm                    specifies that ‘‘simple and easy to                    these comments were from industry
      offer of credit or insurance to the                     understand’’ is to be achieved by                      trade organizations 4 and the business
      consumer (‘‘prescreened offer’’ or                      establishing a format, type size, and                  community.5 Individual consumers, five
      ‘‘prescreened solicitation’’), shall                    manner for the presentation of the
      provide with each written solicitation a                notice. These three factors indicate that                3 The public comments relating to this

      clear and conspicuous statement that:                   ‘‘simple and easy to understand’’ is                   rulemaking may be viewed at http://www.ftc.gov/
                                                                                                                     os/comments/prescreenedoptout/index.htm.
      (A) Information contained in the                        meant to include both (1) the content,                 Citations to comments filed in this proceeding are
      consumer’s consumer report was used                     such as language and syntax, of the                    made to the name of the organization (if any) or the
      in connection with the transaction; (B)                 notice so that it effectively conveys the              last name of the commenter, and the comment
      the consumer received the offer of credit               intended message to readers, and (2) the               number of record.
                                                                                                                       4 These included the Consumer Data Industry
      or insurance because the consumer                       presentation and format of the notice
                                                                                                                     Association (‘‘CDIA’’) (the trade association that
      satisfied the criteria for credit                       such that it calls attention to the notice             represents the nationwide consumer reporting
      worthiness or insurability under which                  and enhances its understandability.                    agencies and a variety of other consumer reporting
      the consumer was selected for the offer;                Thus, the final Rule establishes certain               agencies), America’s Community Bankers,
      (C) if applicable, the credit or insurance              baseline requirements for these two                    American Bankers Association, American Council
                                                                                                                     of Life Insurers, American Financial Services
      may not be extended if, after the                       components to ensure that the notices                  Association, the Coalition to Implement the FACT
      consumer responds to the offer, the                                                                            Act (representing trade associations and companies
      consumer does not meet the criteria                       1 Section 604(e) of the FCRA requires that any       that furnish, use, collect, and disclose consumer
      used to select the consumer for the offer               consumer reporting agency that provides                information), Consumer Bankers Association, Credit
                                                              prescreened lists to marketers shall maintain a        Union National Association, Florida Association of
      or any applicable criteria bearing on                   notification system through which consumers may        Mortgage Brokers, Independent Community
      credit worthiness or insurability or does               choose to have their names and addresses excluded      Bankers of America, Michigan Credit Union League,
      not furnish any required collateral; (D)                from such lists. That section also requires that       Mortgage Bankers Association, National Association
      the consumer has a right to prohibit                    consumer reporting agencies that compile and           of Federal Credit Unions, National Independent
                                                              maintain files on consumers on a nationwide basis      Automobile Dealers Association, National Retail
      information contained in the                            establish a joint notification system. The             Federation, Pennsylvania Credit Union Association,
      consumer’s file with any consumer                       nationwide consumer reporting agencies have done       and Property Casualty Insurers Association of
      reporting agency from being used in                     so, and the current telephone number for the joint     America.
      connection with any credit or insurance                 notification system is 1–888–5–OPT–OUT (1–888–           5 These included financial institutions, such as
                                                              567–8688).                                             Bank of America Corporation, Countrywide Home
      transaction that is not initiated by the                  2 The notice of proposed rulemaking and              Loans, MasterCard International Incorporated,
      consumer; and (E) the consumer may                      proposed Rule were published in the Federal            MBNA America Bank, N.A., Navy Federal Credit
      exercise the right referred to in                       Register on October 1, 2004. 69 FR 58861.              Union, Union Federal Bank, and Visa U.S.A. Inc.;



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      members of Congress,6 and consumer                      smaller 12 than proposed, and whether                  FACT Act. Section 213(a) requires the
      advocacy groups 7 also submitted                        the notice should include additional                   FTC to establish the format, type size,
      comments on the proposed Rule. In                       information, such as the benefits of                   and manner in which the notices to
      addition to considering the comments                    prescreened offers,13 or prohibit any                  consumers regarding the right to opt out
      received, the Commission reviewed and                   additional information from being                      of prescreened solicitations are to be
      considered the Board of Governors of                    included in the notice.14                              presented. The Commission received no
      the Federal Reserve System’s Report to                     In general, commenters also approved                comments regarding this section and it
      the Congress on Further Restrictions on                 of the definition of ‘‘simple and easy to              is adopted as proposed.
      Unsolicited Written Offers of Credit or                 understand,’’ but some expressed                          Proposed section 642.1(b) set forth the
      Insurance (‘‘FRB Prescreen Report’’).8                  concern that the proposed Rule’s list of               scope of the proposed Rule. The Rule
        The Commission received comments                      factors to be considered in determining                applies to any person who uses a
      on nearly all of the provisions contained               whether a notice met this definition                   consumer report on any consumer in
      in the proposed Rule. Most commenters,                  might be considered a ‘‘checklist’’ rather             connection with any credit or insurance
      including consumers, businesses, trade                  than examples.15 In addition,                          transaction that is not initiated by the
      associations, and consumer groups,                      commenters generally agreed that the                   consumer, pursuant to section
      expressed general support for a Rule                    Rule should also include a definition for              604(c)(1)(B) of the FCRA. The
      requiring an improved and more                          ‘‘principal promotional document.’’16                  Commission received no comments
      understandable prescreen notice.                           Although commenters generally                       regarding this section and it is adopted
      However, commenters disagreed on                        supported the proposed Rule’s inclusion                as proposed.
      what manner and format would best                       of model notices,17 some commenters
                                                              suggested changes or additions to the                  B. Section 642.2: Definitions
      accomplish the goals of the FACT Act
      and what information should be                          language of those notices to achieve                   1. ‘‘Simple and Easy to Understand’’
      contained in the notices.                               various goals, including using more                       The proposed Rule contained one
        The majority of industry commenters                   ‘‘neutral’’ language for the short                     definition in section 642.2. ‘‘Simple and
      opposed the layered notice approach,                    notice,18 adding language regarding                    easy to understand’’ was defined to
      asserting that a layered notice exceeds                 collateral requirements,19 and adding                  mean ‘‘plain language designed to be
      the FTC’s statutory authority, would                    language regarding the benefits of                     understood by ordinary consumers.’’
      overshadow other important notices,                     prescreened offers.20                                  Proposed section 642.2 also listed eight
                                                                 All of these comments, as well as                   factors that would be considered in
      and would lead consumers to make
                                                              others, are discussed more fully below.                determining whether a statement is
      uninformed decisions about whether to
      opt out.9 Some industry members, as                     III. Section-By-Section Analysis                       ‘‘simple and easy to understand.’’21
      well as consumer advocacy groups,                                                                                 The Commission received several
                                                              A. Section 642.1: Purpose and Scope                    comments concerning this definition.
      supported the layered notice as an
      appropriate means of effecting the                        Proposed section 642.1(a) set forth the              Some commenters noted that they
      statutory directive of providing a simple               purpose of the proposed Rule, which                    supported the definition, did not
      and easy format for disclosing the                      was to implement section 213(a) of the                 suggest any changes, and encouraged
      required information.10 Commenters                                                                             the Commission to retain it in the final
      also disagreed on whether the type-size
                                                                12 See, e.g., Comment, Commerce Bancshares, Inc.     Rule.22 Other commenters suggested
                                                              #OL–100045; Comment, Mortgage Bankers                  that the Commission eliminate the eight
      requirements should be larger 11 or                     Association #OL–100036; Comment, National
                                                              Independent Automobile Dealers Association #OL–
                                                                                                                     factors from the definition. These
      insurers, such as Progressive; and credit reporting     100021; Comment, Union Federal Bank #OL–               commenters expressed various concerns
      agencies, such as Equifax Information Services LLC,     100044.                                                about the factors, including that they
      Experian Information Solutions, Inc., and                 13 See, e.g., Comment, Discover Bank #OL–
                                                                                                                     unduly complicate an otherwise
      TransUnion LLC.                                         100016; Comment, Financial Services Roundtable         uncomplicated definition and could be
        6 Congressman Spencer Bachus, Chair of the            #EREG–000004; Comment, MBNA America Bank
                                                              #OL–100031.
                                                                                                                     interpreted as a checklist of
      Subcommittee on Financial Institutions and
      Consumer Credit, of the House Financial Services          14 See, e.g., Comment, Connors #OL–100014;           requirements that must each be present
      Committee (R–AL); Congressman Paul Kanjorski            Comment, National Consumers League, et al. #OL–        in order to meet the definition.23
      (D–PA); Congressman John Sweeney (R–NY);                100011; Comment, Privacy Rights Clearinghouse             As the Commission noted in the
      Senator George Allen (R–VA); and Senator Jim            #OL–100015.                                            notice of proposed rulemaking
      Bunning (R–KY).                                           15 See, e.g., Comment, Coalition to Implement the
        7 These included the Consumer Action, National        FACT Act #OL–100042; Comment, Juniper
                                                                                                                     (‘‘NPRM’’) accompanying the proposed
      Consumers League, Consumer Federation of                Financial Corp. #000009; Comment, MasterCard           Rule, the eight factors are intended to
      America, and Privacy Rights Clearinghouse.              International Incorporated #000012.                    provide guidance to companies in
        8 See http://www.federalreserve.gov/boarddocs/          16 See, e.g., Comment, Commerce Bancshares, Inc.

      rptcongress/.                                           #OL–100045; Comment, Credit Union National               21 The eight factors to be considered in
        9 See, e.g., Comment, America’s Community             Association #000003; Comment, Mortgage Bankers         determining whether a statement is ‘‘simple and
      Bankers #OL–100013; Comment, Discover Bank              Association #OL–100036; Comment, National              easy to understand’’ were: (1) Use of clear and
      #OL–100016; Comment, Financial Services                 Association of Federal Credit Unions #OL–100020;       concise sentences, paragraphs, and sections; (2) use
      Roundtable #EREG–000004; Comment, Juniper               Comment, National Consumers League, et al. #OL–        of short explanatory sentences; (3) use of definite,
      Financial Corp., #000009; Comment, MasterCard           100011; Comment, Privacy Rights Clearinghouse          concrete, everyday words; (4) use of active voice;
      International Incorporated #000012; Comment, Visa       #OL–100015.                                            (5) avoidance of multiple negatives; (6) avoidance
                                                                17 See, e.g., Comment, Countrywide #000010;
      U.S.A. Inc. #000005; Comment, Wells Fargo &                                                                    of legal and technical business terminology; (7)
      Company #000007; Comment, Wilmer Cutler                 Comment, Visa U.S.A. Inc. #000005.                     avoidance of explanations that are imprecise and
      Pickering Hale and Dorr LLP #OL–100045.                   18 See, e.g., Comment, Juniper Financial Corp.       reasonably subject to different interpretations; and
        10 See, e.g., Comment, Boeing Employees’ Credit       #000009; Comment, MasterCard International             (8) use of language that is not misleading.
      Union #000020; Comment, Commerce Bancshares,            Incorporated #000012; Comment, Visa U.S.A. Inc.          22 See, e.g., Comment, Discover Bank #OL–

      Inc. #OL–100045; Comment, National Consumers            #000005; Comment, Wells Fargo & Company                100016; Comment, Wells Fargo & Company
      League, et al. #OL–100011; Comment, Pennsylvania        #000007.                                               #000007.
      Credit Union Association #OL–100024; Comment,             19 See, e.g., Comment, Mortgage Bankers                23 See, e.g., Comment, Coalition to Implement the
      Privacy Rights Clearinghouse #OL–100015.                Association #OL–100036.                                FACT Act #OL–100042; Comment, Equifax
        11 See, e.g., Comment, National Consumers               20 See, e.g., Comment, JPMorgan Chase Bank           Information Services LLC #OL–100023; Comment,
      League, et al. #OL–100011; Comment, Privacy             #OL–100019; Comment, Juniper Financial Corp.           Juniper Financial Corp. #000009; Comment,
      Rights Clearinghouse #OL–10015.                         #000009.                                               MasterCard International Incorporated #000012.



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      complying with the Rule, while                           Some commenters suggested specific                    to credit terms would not provide
      allowing them to maintain flexibility to                 definitions for the term, such as the                 guidance to businesses, nor would it
      determine how best to meet the                           document intended to be seen first by                 ensure that those interested in opting
      definition.                                              the consumer, the document that                       out could easily locate the notice.
         The Commission has revised the Rule                   addresses the consumer directly with                     In addition, the Commission has
      to clarify that use of clear and concise                 the offer, the cover letter or other                  considered the concerns expressed by
      sentences, paragraphs, and sections is a                 document used to introduce the offer, or              the commenters regarding the
      mandatory part of the definition, but the                the cover letter or other document that               application of the definition to
      remaining seven factors are simply                       the consumer sees first when opening                  electronic offers. The Commission is in
      examples to be considered in meeting                     the solicitation. At least one commenter              agreement with those commenters who
      the ‘‘simple and easy to understand’’                    asserted that the proper location for the             equated a pop-up promotional screen
      definition. These factors should neither                 disclosure is in the application or the               with an envelope. Therefore, the
      be considered to be mandatory, nor to                    offer of credit.26 Another commenter                  Commission will consider the principal
      constitute an exhaustive list.                           suggested that factors to be considered               promotional document in those
         In addition, the Commission has                       in determining whether a document is                  circumstances to be the page designed
      determined to specify in the final Rule                  the principal promotional document                    to be seen first by the consumer who
      that the layered notice is a required                    should include (1) whether the                        clicks on the pop-up promotional
      component of the ‘‘simple and easy to                    document is the first page of a letter to             screen.
      understand’’ definition. The                             a consumer, or (2) whether the
                                                               document contains the credit terms                    C. Section 642.3: Prescreen Opt-Out
      Commission has determined that the
                                                               being offered.27                                      Notices
      layered format makes the prescreen
      disclosures simpler and easier to                           In addition, some commenters                          The proposed Rule required a
      understand, and it is appropriate that it                expressed concern that the concept of a               ‘‘layered’’ notice—that is, a notice that
      specifically be incorporated into the                    principal promotional document would                  includes both an initial short portion
      definition.24                                            not translate well to an electronic                   and a longer portion contained later in
                                                               prescreened offer. Specifically, these                the solicitation. The short portion of the
      2. ‘‘Principal Promotional Document’’                    commenters were concerned that a pop-                 notice informed consumers about the
         Proposed section 642.3(a)(2) required                 up advertisement that appeared on the                 right to opt out of receiving prescreened
      that the short form of the layered notice                consumer’s computer screen would                      solicitations and specified a toll-free
      be placed on the first page of the                       have to contain the short notice.28 These             number for consumers to call to exercise
      principal promotional document. The                      commenters suggested that pop-up                      that right. No additional information
      Commission noted in the NPRM that the                    advertisements should be considered                   could be included in the short notice.
      question of what constitutes the                         similar to envelopes, and therefore not               The long portion of the notice provided
      ‘‘principal promotional document’’ is                    considered the principal promotional                  consumers with all of the additional
      fact specific, but that, in general, the                 document.                                             information required by section 615(d)
      Commission would consider the cover                         The Commission agrees with the                     of the FCRA. The long notice could
      letter or the document that is designed                  commenters that a definition would                    contain additional information that did
      to be seen first by the consumer to be                   help companies to comply with the Rule                not interfere with, detract from,
      the ‘‘principal promotional document.’’                  and has considered all of the suggested               contradict, or otherwise undermine the
      The proposed Rule did not define                         definitions. The final Rule defines                   purpose of the opt-out notice. The
      ‘‘principal promotional document,’’                      principal promotional document as the                 proposed Rule set forth certain baseline
      however, and the Commission requested                    document that is designed to be seen                  requirements for the type size of the
      comment on whether such a definition                     first by the consumer, such as the cover              notice, as well as the presentation of the
      was necessary.                                           letter. Requiring that the disclosure                 notice.
         The Commission received several                       appear early in the solicitation enhances                Most of the comments the
      comments requesting that the                             the noticeability of the disclosure,                  Commission received focused on
      Commission provide a definition for                      thereby aiding in making the disclosure               various aspects of this section of the
      ‘‘principal promotional document.’’ 25                   simple and easy to understand. The                    proposed Rule. Commenters addressed
                                                               final Rule does not link the definition to            several topics pertaining to this section,
        24 The Commission also notes that, in addition to      the credit terms or the application,                  including the Commission’s statutory
      meeting the ‘‘simple and easy to understand’’            because many different documents                      authority to prescribe a layered notice,
      definition set forth by the Rule, prescreen opt-out      within the solicitation may contain                   the Commission’s statutory authority to
      notices must continue to meet the ‘‘clear and            some or all of the credit terms, and
      conspicuous’’ standard required by the FCRA. One                                                               require the notice to appear in
      recent case from the Court of Appeals for the
                                                               those consumers who are interested in                 electronic solicitations, the content of
      Seventh Circuit noted that, in determining whether       opting out of receiving solicitations for             the notice, the type size of the notice,
      a prescreen notice is ‘‘clear and conspicuous,’’         future offers may not be likely to review             and the format and manner in which the
      factors to be considered are: ‘‘the location of the      the terms and conditions of the offer at
      notice within the document, the type size used                                                                 notice is presented, including within
      within the notice as well as the type size in
                                                               hand. Therefore, linking the definition               electronic solicitations. Each of these is
      comparison to the rest of the document * * *                                                                   addressed in turn below.
      whether the notice is set off in any other way—          Association #OL–100036; Comment, National
      spacing, font style, all capitals, etc.’’ Cole v. U.S.   Association of Federal Credit Unions #OL–100020;      1. Statutory Authority for the Layered
      Capital, Inc., 389 F.3d 719, 731 (7th Cir. 2004). The    Comment, National Consumers League, et al. #OL–
                                                               100011; Comment, Privacy Rights Clearinghouse
                                                                                                                     Notice
      court concluded, ‘‘In short, there must be something
      about the way the notice is presented in the             #OL–100015.                                              Several commenters questioned
      document such that the consumer’s attention will           26 Comment, Michigan Credit Union League #OL–
                                                                                                                     whether the Commission had exceeded
      be drawn to it.’’ Id. Thus, the ‘‘simple and easy to     100030.
      understand’’ standard overlaps to some extent with         27 Comment, Mortgage Bankers Association #OL–
                                                                                                                     its statutory authority by mandating a
      the ‘‘clear and conspicuous’’ standard.                  100036.                                               layered notice.29 Many of these
        25 See, e.g., Comment, Commerce Bancshares, Inc.         28 See, e.g., Comment, Financial Services

      #OL–100045; Comment, Credit Union National               Roundtable #EREG–000004; Comment, GE                    29 See, e.g., Comment, Consumer Bankers

      Association #000003; Comment, Mortgage Bankers           Consumer Finance-Americas #OL–100018.                 Association #OL–100028; Comment, HSBC North



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      commenters stated that the Commission                   requirement. These commenters                            Those consumers interested in the
      was improperly specifying a definition                  criticized the methodology of the survey                 additional information have the
      of the clear and conspicuous standard                   as unrepresentative of consumer                          opportunity to view that information in
      contained in section 615(d) of the                      reactions in a real-world setting.33 The                 another location.37
      FCRA, including imposing a                              Commission recognizes the limitations
                                                                                                                       2. Statutory Authority To Require
      prominence requirement.30 These                         of any survey testing methodology
                                                                                                                       Notice in Electronic Solicitations
      commenters argued that Congress did                     because of the artificial setting of the
      not intend this disclosure to be more                   test environment, but maintains that the                    Several commenters suggested that
      prominent than other disclosures                        study approximated real-world                            the FCRA does not apply to solicitations
      required by law, such as the so-called                  conditions to the extent feasible.34 The                 that are transmitted electronically
      ‘‘Schumer box,’’31 or that any one                      Commission believes that the survey                      because such documents are not
      element of the disclosure be more                       provides probative evidence of the                       ‘‘written,’’ as that term is used in the
      prominent than another. One                             comparative effectiveness of the three                   FCRA.38 The Commission believes that
      commenter opined that the layered                       versions of notices it tested (‘‘current,’’              ‘‘written’’ refers to information that is
      notice was actually two notices and                     ‘‘improved,’’ and ‘‘layered’’).35 The                    capable of being preserved in a tangible
      therefore was contrary to the language                  survey found that the layered notice                     form and read, as opposed to an oral
      in section 615(d) of the FCRA requiring                 better communicated the central                          statement that is intangible and
      ‘‘a clear and conspicuous statement.’’32                messages—consumers’ right to opt out                     transitory. As with information
         The Commission has considered these                  and how to exercise the right—than did                   presented on paper, consumers using
      comments and has decided to retain the                  the current version.36                                   electronic media can read the
      layered notice approach in the final                       A layered notice is particularly useful               information and preserve it for possible
      Rule. The FACT Act requires that the                    in cases such as this, where the                         later review either by printing it on
      notice be ‘‘presented in a format and in                information that must be disclosed                       paper, saving it on disk, or by some
      such type size and manner as to be                      consists of a relatively simple central                  other means. The Commission believes
      simple and easy to understand, as                       proposition accompanied by a larger                      that the purpose of section 213(a) of the
      established by the Commission.’’                        quantity of explanatory or ancillary                     FACT Act was to enhance consumers’
      (Emphasis added). Thus, the plain                       information. The layered approach                        awareness of opt-out rights, under
      language of the statute provides that                   allows for clear communication of the                    section 615(d) of the FCRA, whenever
      ‘‘simple and easy to understand’’                       central message with a clear reference to                they receive a written solicitation in any
      encompasses presentation of the notice.                 the additional required information.                     form, regardless of the means of
      The Commission has concluded that the                                                                            transmission. Therefore, the
      layered notice is an appropriate and                       33 See, e.g., Comment, Wilmer Cutler Pickering
                                                                                                                       Commission has determined that the
      effective means of achieving this goal,                 Hale and Dorr LLP #OL–100046. (For a discussion          Rule should apply to all written
                                                              of the consumer survey, see 69 FR 58861, 58864.)
      and that nothing in the FACT Act or the                    34 The study used standard consumer testing           solicitations, even if they are
      FCRA prohibits the use of a layered                     methodology and consisted of an initial exposure,        transmitted electronically.
      notice approach.                                        in which the test instrument was presented to the
                                                              consumer and then removed from view, and a               3. Content of the Notice
         Under section 615(d) of the FCRA, the
                                                              forced exposure, in which the consumer’s attention
      prescreen disclosure must be clear and                  was focused on specific information in the test
                                                                                                                         Commenters expressed two primary
      conspicuous. Section 213(a) of the                      instrument. See Manoj Hastak, Ph.D., The                 concerns with the content of the short
      FACT Act imposed the additional                         Effectiveness of ‘‘Opt-Out’’ Disclosures in Pre-         portion of the notice: (1) Whether it is
      requirement that the disclosure be                      Screened Credit Card Offers, at 3–4, located at http:/   appropriate to include a statement of the
                                                              /www.ftc.gov/reports/prescreen/
      ‘‘simple and easy to understand.’’                      040927optoutdiscprecreenrpt.pdf. In the view of the
                                                                                                                       opt-out right and the telephone number
      Therefore, the statutory scheme                         Commission’s consumer research expert consultant,        of the opt-out system in the short
      establishes a different standard for the                the initial exposure was designed to simulate            portion of the notice; and (2) whether
      prescreen disclosure than it imposes on                 ‘‘fairly natural viewing conditions.’’ Id. at 4. The     companies should be permitted to
                                                              FRB Prescreen Report indicates that, for most of
      other disclosures that must only be clear               those consumers who actually open and review
                                                                                                                       include additional information, beyond
      and conspicuous. There is no evidence                   prescreened solicitations, this approach may indeed
      in the record that the layered notice                   approximate real-world conditions. In a nationwide          37 The results reported in the FRB Prescreen

      required by this Rule will compromise                   survey of consumers, the FRB found that 56% of           Report indicate that a layered notice may be a very
                                                              consumers throw prescreened solicitations away           effective means to ensure that consumers who open
      the communication of other required                     without opening them, 34% merely ‘‘glance’’ at           prescreened solicitations will see the prescreen
      disclosures in prescreened solicitations.               them, and the remaining 10% read them closely.           disclosure. As noted, supra note 34, the FRB
         Some commenters stated that, even if                 See FRB Prescreen Report at 32. The initial              Prescreen Report found that 56% of consumers
      the Commission has authority to require                 exposure may have simulated the experience of            throw prescreened solicitations away without
                                                              consumers who glance at prescreened solicitations        opening them, 10% of consumers open the
      a layered notice, it was improper for the               but do not examine them closely, that is, the            solicitations and examine them, and the remainder
      Commission to rely upon the consumer                    experience of most consumers who actually open           (34%) open the solicitations and ‘‘glance’’ at them.
      survey that the Commission undertook                    prescreened solicitations.                               Id. Those consumers who immediately throw the
      as part of developing the proposed Rule                    35 The Commission has long recognized that            solicitation away are not likely to see the notice
      as support for the layered notice                       methodological perfection is not required before a       wherever it is located; those who examine the
                                                              consumer survey can be probative and reliable;           solicitation closely might see any disclosure, even
                                                              rather, imperfections in methodology affect the          one on the back of the page or in fine print; but
      American Holdings #000004; Comment, Juniper             weight that is given to the survey. See, e.g., In re     those consumers who ‘‘glance’’ at the solicitation
      Financial Corp. #000009; Comment, MasterCard            Stouffer Foods Corp., 118 F.T.C. 746, 799 (1994); In     may be more likely to see a prescreen disclosure
      International #000012; Comment, Visa U.S.A. Inc.        re Bristol-Meyers Co., 85 F.T.C. 688, 743–44 (1975).     located on the first page of the principal
      #000005; Comment, Wachovia Corporation #OL–                36 See 69 FR 58861, 58864. In addition, although      promotional document that is printed in a
      100017.                                                 there was not a statistical difference between the       noticeable type size and set apart from other text
        30 See, e.g., Comment, Juniper Financial Corp.
                                                              improved and layered versions in the                     on the page. Thus, a layered notice seems more
      #000009; Comment, MasterCard International              communication of the opt-out right, the layered          likely to be seen by the majority of consumers who
      #000012; Comment, Wachovia Corporation #OL–             version was more effective in the initial ‘‘natural’’    open prescreened solicitations.
      100017.                                                 exposure (as compared to the second ‘‘forced’’              38 See, e.g., Comment, American Financial
        31 See 12 CFR 226.5a.
                                                              exposure) at communicating how to exercise that          Services Association #OL–100038; Comment,
        32 Comment, Visa U.S.A. Inc. #000005.                 right.                                                   Discover Bank #OL–100016.



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      that mandated by the statute, in any part               and indicates Congress’ interest in                      exercise it. The proposed Rule
      of the layered notice.                                  highlighting the opt-out right.43                        contained no such restriction on the
         Inclusion of opt-out right and                          The FRB Prescreen Report seems to                     content of the long portion of the notice,
      telephone number in the short notice.                   confirm Congress’ concern that the                       so long as any additional content did
                                                              existing notice under FCRA section                       not interfere with, detract from,
         Several commenters suggested that it                 615(d) has not been especially effective                 contradict, or otherwise undermine the
      was improper for the Commission in the                  at communicating to consumers that                       purpose of the notice.
      proposed Rule to require presentation of                they have a right to opt out of                             Some commenters supported the
      the opt-out right and the telephone                     prescreened solicitations. The FRB                       proposed Rule’s prohibition on
      number to opt out for placement in the                  conducted a nationwide survey of                         additional information being included
      short portion of the notice, while                      consumers and found that only 20% of                     in the short notice, and encouraged the
      relegating other statutorily-required                   consumers were aware of the opt-out                      Commission to prohibit additional
      information to the long portion of the                  right, and that less than half of those                  information in the long notice as well.
      notice.39 Some of these commenters                      had learned of it through the section                    These commenters argued that allowing
      stated that the Commission did not have                 615(d) notice.44 The Report cites the                    additional information in the notices
      the authority to make certain elements                  pending ‘‘review of the presentation and                 would be contrary to the Commission’s
      of the disclosure (in particular, the                   the placement of the notice in written                   statutory mandate, confuse consumers,
      telephone number) more prominent                        prescreened solicitations’ mandated by                   and allow marketers to discourage
      than others by placing them in the short                the FACT Act (that is, the Commission’s                  consumers from opting out.45 Other
      portion of the notice. Some were                        rulemaking proceeding), as one basis for                 commenters, however, advocated
      concerned that consumers would not                      its recommendation that further                          allowing additional information, such as
      read the long portion of the notice if                  legislative changes are not necessary at                 the benefits of prescreened offers and
      they could obtain all of the information                this time.                                               the consequences of opting out, in both
      necessary to opt out from the short                        The Commission has concluded that                     the short and long notices in order to
      portion, which might lead them to make                  the statute’s purpose is best                            provide consumers with sufficient
      decisions about opting out without the                  accomplished by requiring that the short                 information to make an informed
      benefit of all pertinent information.40                 notice include the essential information                 decision about whether to opt out.46
      Other commenters expressed concern                      that consumers need if they choose to                    Some of these commenters cited to an
      that consumers may mistakenly assume                    opt out. Those consumers who are                         exchange between Representatives
      they can use the opt-out telephone                      seeking more information about                           Bachus and Kanjorski during the House
      number to reply to the offer itself,                    prescreened offers and their options are                 of Representatives’ consideration of the
      leading to frustration and confusion.41                 invited by the short notice to obtain                    bill, in which the Congressmen stated
                                                              further information from the long                        that consumers should be aware ‘‘not
         As stated above, Congress has                        notice.                                                  only of the right to opt out of receiving
      directed the Commission to prescribe                       Finally, the Commission is not                        prescreened solicitations, but also of the
      the presentation of the notice, including               persuaded that consumers will be                         benefits and consequences of opting
      its manner and format. In exercising that               confused about the purpose of the                        out.’’47 Representatives Bachus and
      authority, the Commission has                           telephone number, given that the short                   Kanjorski submitted a comment to the
      determined to include the opt-out right                 notice will explicitly state that the                    Commission expressing the importance
      and telephone number in the short                       number is to be used for opting out of                   of consumer awareness of the benefits
      notice in the final Rule.42 Nothing in the              future prescreened offers.                               and consequences of opting out.
      statute prohibits the Commission from                      Additional information in the notices.                   The Commission recognizes that
      exercising its authority in this manner,                   The proposed Rule prohibited senders                  prescreened offers may confer many
      and, in fact, the only legislative history              of prescreened solicitations from                        benefits on consumers. As discussed in
      specifically discussing the content of                  including information in the short                       several of the comments, such offers
      the required notice supports this result                portion of the notice other than that                    may be an easy and efficient means for
                                                              specified by the Rule—that is,                           consumers to learn of competing credit
         39 See, e.g., Comment, Coalition to Implement the    consumers’ right to opt out and how to                   or insurance offers and to identify those
      FACT Act #OL–100040; Comment, Direct Marketing                                                                   that best suit their needs. The
      Association #OL–100035; Comment, TransUnion                43 For example, FACTA section 213(a), amending
      LLC #000022; Comment, Wachovia Corporation
                                                                                                                       Commission also acknowledges, as
                                                              FCRA section 615(d)(2), is entitled, ‘‘Enhanced
      #OL–100017.                                             Disclosure of the Means Available to Opt Out of
                                                                                                                       stated in certain of the comments, that
         40 See, e.g., Comment, American Bankers
                                                              Prescreened Lists.’’ Although the title of a statutory   the growth in prescreened offers has
      Association #OL–100040; Comment, Capital One            section cannot limit that section, it may assist in      coincided with a general trend towards
      Financial Corporation #OL–100033.                       explaining what was intended by that section. See        lower initial interest rates and certain
         41 See, e.g., Comment, American Financial            also, e.g., 149 Cong. Rec. S13851–52 (daily ed. Nov.
      Services Association #OL–100038; Comment,               4, 2003) (statement of Sen. Sarbanes) (noting that
                                                                                                                       other more favorable terms, and that a
      Capital One Financial Corporation #OL–100033.           the amendments to the FCRA ‘‘will require a              substantial percentage of credit card
         42 Although the FCRA specifically mentions both      summary of consumers’’ rights to opt out of              enrollments result from prescreened
      the address and telephone number for the                prescreened offers.’’); 149 Cong. Rec. S13855 (daily     offers. Moreover, the Commission
      notification system, the Commission has                 ed. Nov. 4, 2003) (statement of Sen. Johnson)
                                                              (noting that the amendments to the FCRA ‘‘take[]
                                                                                                                       recognizes that if prescreened offers
      determined that it is appropriate to require only the
      telephone number in the short notice because: (1)       important new steps to empower consumers to
                                                                                                                         45 See, e.g., Comment, Connors #OL–100014;
      the Commission understands that space is at a           reduce unwanted credit solicitations.’’); 149 Cong.
      premium in prescreened solicitations, particularly      Rec. S15806–07 (daily ed. Nov. 24, 2003) (statement      Comment, National Consumers League, et al. #OL–
      on the first page of the principal promotional          of Sen. Sarbanes) (noting that the amendments to         100011; Comment, Privacy Rights Clearinghouse
      document, and therefore does not want to require        the FCRA will ‘‘help ensure that consumers are           #OL100015.
      more information than necessary in the short            aware of how to opt out of the prescreening process        46 See, e.g., Comment, CDIA #OL–100026;

      notice; and (2) the communication of the central        * * *. The FTC * * * will be required to write           Comment, Direct Marketing Association #OL–
      message is likely to be more effective with less        rules on the size and prominence of the disclosure       100035; Comment, Wilmer Cutler Pickering Hale
      verbiage in the short notice. The telephone number      of the opt-out telephone number that is included         and Dorr LLP #OL–100046.
      requires less space and less verbiage than the          with offers of credit to consumers.’’)                     47 Congressional Record, November 21, 2003,

      address.                                                   44 FRB Prescreen Report at 32.                        page H12219. See also infra note 51.



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      became less viable, marketers may                       the benefits and consequences of opting                to render the notice simple and easy to
      switch to direct mail solicitations,                    out.51                                                 understand. It is important that the
      which may be more costly and carry less                                                                        notices be large enough to be noticed
                                                              4. Type Size of the Notice
      favorable terms.48 At the same time, the                                                                       and readable by ordinary consumers. At
      Commission notes the concerns raised                       The proposed Rule required the short                the same time, the Commission
      by certain commenters about the alleged                 portion of the notice to be in a type size             understands that space is at a premium
      costs of prescreening, such as the                      that is larger than the principal text on              in prescreened solicitations. Requiring
      privacy implications for those                          the same page, but in no event smaller                 the short portion of the notice to be in
      consumers who do not wish to have                       than 12-point type, and the long portion               a type size that is larger than the
      their personal financial information                    of the notice to be in a type size that is             principal text on the same page,
      shared or used to make unsolicited                      no smaller than the type size of the                   combined with a minimum 12-point
      credit and insurance offers.49                          principal text on the same page, but in                type-size requirement, is sufficient to
         Regardless of the costs and benefits of              no event smaller than 8-point type.                    ensure that it is noticeable and readable
      prescreening, the FCRA provides that                       Some commenters asserted that the                   without imposing unnecessary expense
      consumers may opt out of prescreened                    type size prescribed for the short notice              on marketers.
      offers, and simply directs the                          was adequate, but that the type size for
                                                                                                                        The long notice, which contains
      Commission to determine how best to                     the long notice was too small.52 Others
                                                                                                                     additional information, presents a
      inform consumers of this right and how                  found the type size required for the long
                                                                                                                     somewhat different calculus. Consumers
      to exercise it. Moreover, the FCRA does                 notice to be appropriate, but opined that
                                                                                                                     who see the short notice and are
      not require that marketers notify                       the type size for the short notice was too
                                                                                                                     interested in learning further
      consumers of the consequences of                        large.53 Still others proposed that the
                                                                                                                     information are directed by the short
      opting out, nor does it direct the                      Commission adopt the approach used in
                                                              the commentary to the Truth in Lending                 notice to the long notice. Accordingly,
      Commission to require such a                                                                                   the Commission believes that the long
      disclosure. The final Rule, therefore,                  Act’s implementing Regulation Z, which
                                                              deems disclosures in 12-point type to be               notice should be in a type size that is
      requires only the statutorily-mandated                                                                         sufficiently large to be readable, but that
      messages, but permits additional                        readily noticeable, but permits smaller
                                                              type size to be used.54 A few                          there is less need for the long notice to
      information where appropriate.                                                                                 be readily noticeable. Balancing these
         The Commission has concluded that                    commenters suggested that the
                                                              Commission not impose a type-size                      interests, the Commission concludes
      permitting additional information in the                                                                       that the long notice should be no
      short notice could significantly                        requirement at all,55 or that the
                                                              requirement only be relative to                        smaller than 8-point type and no
      diminish the communication of the                                                                              smaller than the principal text on the
      statutorily-mandated message.50 The                     surrounding text rather than specifying
                                                              an absolute size.56                                    same page.
      final Rule, like the proposed Rule, does
                                                                 The Commission has considered these                    Some commenters also expressed
      allow additional information, including
                                                              comments, but has determined not to                    concerns about complying with the
      information about the benefits of
                                                              change the type-size requirements for                  type-size requirements in electronic
      prescreening, in the long notice, if that
                                                              written prescreened solicitations. The                 solicitations. Several commenters
      information does not interfere with,
                                                              FACT Act directs the Commission to                     pointed out that because the settings of
      detract from, contradict, or undermine
                                                              prescribe a rule that establishes, among               the computer on which a solicitation is
      the purpose of the prescreen notices.
                                                              other things, a type size that is sufficient           viewed can alter a solicitation’s format,
      The Commission believes this approach
                                                                                                                     meeting a specific minimum point
      allows marketers to provide consumers
                                                                51 The colloquy between Representatives Bachus       requirement would be burdensome.57
      with information that may be useful to
      them in making their decisions, while at
                                                              and Kanjorski cited by some commenters refers to       These commenters suggested that the
                                                              this public awareness campaign as a vehicle for        Commission instead impose a standard
      the same time not interfering with the                  informing consumers of the benefits and
      statutory mandate to make the notices                   consequences of opting out. See 149 Cong. Rec.         of relative prominence for electronic
      simple and easy to understand. The                      H12,218–19 (daily ed. Nov. 21, 2003) (‘‘Mr.            solicitations, which would require, for
      Commission also notes that marketers
                                                              KANJORSKI. Mr. Speaker, does the gentleman share       example, that the short notice be larger
                                                              with me the understanding that the FTC’s public        than the principal text.58 The
      are free to include information about                   awareness campaign is to be designed to increase
      prescreening elsewhere in their                         public awareness, not only of the right to opt out     Commission agrees that, for electronic
      solicitations. Finally, section 213(d) of               of receiving prescreened solicitations, but also of    solicitations, a standard of relative
      the FACT Act requires the Commission
                                                              the benefits and consequences of opting out? Mr.       prominence is an appropriate means by
                                                              BACHUS. Mr. Speaker, yes, I share that                 which to accommodate the vast range of
      to undertake a public awareness                         understanding.’’).
      campaign to alert consumers to the                        52 See, e.g., Comment, National Consumers            electronic devices that may be used to
      availability of the opt-out right. The                  League, et al. #OL–100011. See also Comment,           view the offer. Thus, the final Rule
      Commission intends to use this
                                                              Privacy Rights Clearinghouse #OL–100015                provides that, for electronic
                                                              (commenting that the long notice type size             solicitations, marketers must take
      campaign to educate consumers about                     requirement was too small).
                                                                53 See, e.g., Comment, Boeing Employees’ Credit
                                                                                                                     reasonable steps to ensure that the short
         48 See also FRB Prescreen Report at 28–36            Union #000020; Comment, Michigan Credit Union          notice is in a type size that is larger than
      (discussing the benefits of receiving prescreened       League #OL–100030; Comment, Mortgage Bankers           the principal text on the same page. The
      offers).                                                Association #OL–100036; Comment, National              long notice must be in a type size no
         49 See also FRB Prescreen Report at 37–46            Independent Automobile Dealers Association #OL–        smaller than the principal text on the
      (discussing the costs of receiving prescreened          100021; Comment, Union Federal Bank #OL–
                                                              100044.                                                same page.
      offers).
         50 See, e.g., Funkhouser, An Empirical Study of        54 See, e.g., Comment, Credit Union National

      Consumers’ Sensitivity to the Wording of                Association #000003; Comment, Navy Federal               57 See, e.g., Comment, Credit Union National

      Affirmative Disclosure Messages, 3 J. Pub. Pol. &       Credit Union #000006.                                  Association #000003; Comment, Countrywide
                                                                55 See, e.g., Comment, Coalition to Implement the    #000010; Comment, Progressive #OL–100010.
      Mktg. at 31, 33 (finding that ‘‘information must be
      presented simply and straightforwardly,’’ and           FACT Act #OL–100042; Comment, Consumer                   58 See, e.g., Comment, Countrywide #000010;

      ‘‘affirmative disclosures should say exactly what       Bankers Association #OL–100028; Comment,               Comment, National Independent Automobile
      they are intended to mean.’’) (Emphasis in the          TransUnion LLC #000022.                                Dealers Association #OL–100021; Comment,
      original).                                                56 See, e.g., Comment, Countrywide #000010.          Progressive #OL–100010.



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      5. Form of the Notice                                   format in that circumstance.61 Others                  final Rule requires that, for electronic
                                                              requested that the Commission clarify                  solicitations, the short notice be
         The proposed Rule set forth certain
                                                              that the short and long portions of the                included on the same page and in close
      baseline requirements for the form of
                                                              notice could both appear on the first                  proximity to the principal marketing
      both the long and the short portions of
                                                              page of the principal promotional                      message. This standard ensures that
      the notice. The proposed Rule required
                                                              document.62 Others stated that, because                consumers viewing the solicitation will
      the short notice to be on the front side
                                                              prescreened offers of insurance usually                be reasonably likely to see the short
      of the first page of the principal
                                                              consist of a single page or a fold-out self            notice.
      promotional document in the                                                                                       Distinct type style requirement.
                                                              mailer, the final Rule should not apply
      solicitation, or, if provided                           to prescreened offers of insurance.63                     Some commenters requested that the
      electronically, on the first screen;                       Section 615(d) of the FCRA clearly                  Commission modify the proposed Rule
      located on the page and in a format so                  covers prescreened offers of insurance,                to clarify that the type style of the notice
      that it is distinct from other text; and in             and the Commission declines to                         must contrast only with the principal
      a type style that is distinct from other                establish an exemption for such offers                 type style used on the same page, rather
      type styles used on the same page. The                  from the final Rule. The Commission                    than with all type styles on the page.68
      proposed Rule required the long notice                  also declines to provide an exception                  The Commission agrees that this
      to begin with a heading identifying it as               from the layered notice requirement for                clarification should be made.
      the ‘‘OPT-OUT NOTICE’’; be in a type                    one-page solicitations. Even in a one-                 Companies should not be precluded, for
      style that is distinct from other type                  page solicitation, the layered format                  example, from presenting the notices in
      styles used on the same page; and be set                contributes to making the notice simple                bolded type style simply because a
      apart from other text on the page. The                  and easy to understand. The                            small portion of the text on the page is
      Commission received several comments                    Commission agrees that both the short                  in bold.69 Therefore, the final Rule
      concerning these requirements                           and long portions of the notice may                    specifies that both the short and long
      generally, as well as specific comments                 appear on the first page of the principal              portions of the notice must be in a type
      regarding the required location, type                   promotional document. As in the                        style that is distinct from the type style
      style, and heading requirements. These                  proposed Rule, the final Rule allows                   of the principal text on the same page.
      are addressed in turn below.                            businesses to place the long notice in                    Long notice heading.
         General comments.                                    any location within the solicitation so                   The proposed Rule required that the
         Some commenters asserted that the                    long as that location is referenced in the             long portion of the notice include the
      requirements regarding form did not                     short notice.                                          heading ‘‘OPT-OUT NOTICE.’’ Some
      provide companies with enough                              Location of notices in electronic                   commenters suggested that this heading
      flexibility to determine the best method                solicitations.                                         should reflect the totality of information
      for making the notices clear and                           Because the settings of the device on               in the long notice, rather than focusing
      conspicuous, as well as simple and easy                 which an electronic solicitation is                    on the opt-out information in the
      to understand.59 Conversely, other                      viewed can alter a solicitation’s format,              notice.70 These commenters suggested a
      commenters were concerned that the                      some commenters objected to the                        variety of new headings, such as
      requirements were not specific enough                   requirement that the short-form notice                 ‘‘PRESCREEN DISCLOSURES.’’
      to ensure that the notices would meet                   appear on the first screen of an                          The Commission has considered these
      the statutory standards.60 These                        electronic solicitation.64 Some                        comments and agrees that the long
      commenters suggested, for example, that                 commenters proposed that the short                     notice heading should be modified to
      the Rule require businesses to use                      portion of the notice simply be required               reflect the totality of the information
      bolded type style, rather than allowing                 to appear on the first page of an                      contained in that portion of the notice.
      them the flexibility to determine how to                electronic solicitation,65 or ‘‘reasonably             Therefore, the final Rule requires that
      comply with the distinct type style                     proximate to, or included in, the main                 the long notice begin with a heading
      requirement.                                            marketing message,’’ 66 in order to                    identifying it as the ‘‘PRESCREEN &
         The Commission has considered these                  accommodate variations among viewing                   OPT-OUT NOTICE.’’
      comments and declines to alter the                      devices. By contrast, other commenters                 D. Section 682.4: Effective Date
      baseline requirements in the final Rule.                supported requiring the short notice to
                                                                                                                       The Commission initially proposed to
      The requirements are not overly                         appear on the first screen of the offer.67
                                                                 The Commission has determined that,                 make the Prescreen Opt-Out Disclosure
      restrictive and allow companies                                                                                Rule effective 60 days after publication
      flexibility to determine how best to use                for the reasons stated in the comments,
                                                              it is not practicable to require that the              of the final Rule. Many industry
      the basic formatting tools set forth in the                                                                    commenters requested a longer effective
      Rule to make a statement noticeable and                 short portion of the notice always
                                                              appear on the first page or first screen               date in order to allow covered entities
      understandable. At the same time, the                                                                          to implement changes to their
      requirements provide sufficient                         of electronic solicitations. Thus, the
                                                                                                                     prescreened solicitations. These
      specificity to ensure that the notices are                                                                     commenters explained that prescreened
                                                                61 See, e.g., Comment, Coalition to Implement the
      simple and easy to understand.                                                                                 solicitations are generally prepared
                                                              FACT Act #OL–100042.
         Location of notices in one-page                        62 See, e.g., Comment, National Independent          several months in advance, and
      solicitations.                                          Automobile Dealers Association #OL–100021.
         Several commenters noted that certain                  63 See, e.g., Comment, American Council of Life        68 See, e.g., Comment, MasterCard International

      prescreened solicitations may consist of                Insurers #OL–100027.                                   Incorporated #0000012.
                                                                64 See, e.g., Comment, Credit Union National
      only a single page, and recommended                                                                              69 For example, 12 CFR part 226, appendix G,
                                                              Association #000003.                                   requires that the headings in certain Truth-in-
      that the final Rule not require a layered                 65 See, e.g., Comment, Credit Union National
                                                                                                                     Lending disclosures be in bolded type style. This
                                                              Association #000003.                                   would not preclude companies from also placing
        59 See, e.g., Comment, Property Casualty Insurers       66 See, e.g., Comment, Wachovia Corporation          the prescreen disclosure in bolded type style.
      Association of America #000008.                         #OL–100017.                                              70 See, e.g., Comment, Consumer Bankers
        60 See, e.g., Comment, National Consumers               67 See, e.g., Comment, Financial Services            Association #OL–100028; Comment, Juniper
      League, et al. #OL–100011; Comment, Privacy             Roundtable #EREG–000004; Comment, MasterCard           Financial Corp. #000009; Comment, MasterCard
      Rights Clearinghouse #OL–100015.                        International Incorporated #0000012.                   International Incorporated #100012.



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      therefore they need more time to                        commenters, this language implies that                   each of these messages can be useful to
      comply with the final Rule in order to                  prescreened offers are undesirable and                   consumers, and notes that it tested the
      exhaust existing inventories of                         encourages consumers to opt-out.73                       communication of each of these
      solicitations and to prepare and                        These commenters requested that the                      messages as part of its consumer
      disseminate new compliant                               Commission revise the model short                        survey.76
      solicitations.71 These commenters                       notice to use less negative language.                       The Commission has considered these
      suggested time periods ranging from 90                     The Commission has determined to                      comments, but has determined not to
      days to 1 year after publication of the                 revise the short notice language to                      include information beyond that
      final Rule. After considering the                       remove any possible negative                             required by the statute in the model
      comments, the Commission has                            characterization of prescreened                          notice. The model notice contains plain
      extended the effective date to August 1,                solicitations. The first sentence of the                 language statements of the statutorily-
      2005. The Commission believes that this                 short notice in the final Rule states,                   required information. Rather than single
      time period will provide businesses                     ‘‘You can choose to stop receiving                       out other particular messages for
      with sufficient time to implement the                   ‘prescreened’ offers of [credit or                       inclusion in the model, and thereby
      new requirements, while ensuring that                   insurance] from this and other                           imply that certain information is
      the benefits to consumers of the                        companies by calling toll-free [toll-free                required or that other information is
      improved opt-out notice occur as soon                   number].’’ The Commission believes                       prohibited, the final Rule allows
      as reasonably practicable.                              that this language does not imply a                      companies flexibility to determine what,
                                                              recommendation of any course of                          if any, additional information should be
      E. Appendix A to Part 698: Model                                                                                 included (so long as the additional
                                                              action, but rather simply informs
      Prescreen Opt-Out Notices                                                                                        information does not interfere with,
                                                              consumers of their statutory right.
         In the proposed Rule, the Commission                    In addition, for the same reasons that                detract from, contradict, or undermine
      set forth model notices, including both                 commenters suggested that the long                       the purpose of the opt-out notices).77
      a short and long portion, in both English               notice heading should be modified, the                   3. Collateral Requirement
      and Spanish. These notices included                     Commission has determined that the
      model language and also illustrated                                                                                 The proposed Rule’s model long
                                                              model short notice’s reference to the
      proper placement and display of the                                                                              notice contained a plain-language
                                                              long notice should be modified to reflect
      language.                                                                                                        summary of the information required by
                                                              to totality of the information in the long
         Several commenters suggested                                                                                  section 615(d) of the FCRA to be
                                                              notice. Therefore, the second sentence
      changes to the language in the model                                                                             included in prescreened offers. At least
                                                              of the model short notice in the final
      notices, including specifying more                                                                               one commenter noted that, among other
                                                              Rule states, ‘‘See PRESCREEN & OPT-
      ‘‘neutral’’ language for the short notice,                                                                       things, it must be disclosed when a
                                                              OUT NOTICE on other side [or other                       prescreened offer is contingent upon the
      adding information to the long notice,                  location] for more information about                     consumer providing adequate collateral.
      providing model language for collateral                 prescreened offers.’’                                    This commenter stated that the model
      requirements, and clarifying that the
                                                              2. Additional Information in Long                        notice did not specifically include this
      telephone number is for the consumer
                                                              Notices                                                  information, and requested that the
      reporting agencies, not the prescreen
                                                                                                                       Commission revise the model notices to
      marketer. The Commission agrees that                       Several commenters suggested that
                                                                                                                       include it.78
      some changes to the proposed model                      the model long notice should contain                        The Commission has considered this
      notices are appropriate, and is making                  additional information, including                        argument and agrees that the model long
      the modifications described below.                      information about the benefits and                       notice should contain additional
      Otherwise, the proposed notices are                     drawbacks of prescreening,74 that opting                 language regarding the collateral
      retained.                                               out will not stop all offers of credit and               requirement for use by creditors and
         These model notices adopted in the                   insurance, or that consumers may be                      insurers in appropriate circumstances.
      final Rule may be used for purposes of                  asked to provide their Social Security                   Therefore, the final Rule modifies the
      complying with the Rule.72                              numbers when exercising the opt-out                      second sentence of the model long
                                                              right.75 The Commission believes that                    notice to state, ‘‘This offer is not
      1. Model Language in the Short Notice
                                                                                                                       guaranteed if you do not meet our
        The proposed Rule’s model short                          73 See, e.g., Comment, Direct Marketing
                                                                                                                       criteria [including providing acceptable
      notice stated, ‘‘To stop receiving                      Association #OL–100035; Comment, Discover Bank
                                                              #OL–100016; Comment, Juniper Financial Corp.             property as collateral].’’
      ‘prescreened’ offers of [credit or                      #000009; Comment, MasterCard International
      insurance] from this and other                          Incorporated #000012; Comment, Visa U.S.A. Inc.          4. Telephone Number
      companies, call toll-free, [toll free                   #000005; Comment, Wells Fargo & Company                     Some commenters recommended that
      number]. See OPT-OUT NOTICE on                          #000007.
                                                                 74 See supra text accompanying notes 48 and 49
                                                                                                                       the Commission make clear in the
      other side [or other location] for
                                                              discussing the benefits and drawbacks of
      details.’’ According to several                         prescreening that were raised by the commenters.         the need to provide a Social Security number in the
                                                                 75 See, e.g., Comment, Coalition to Implement the     notice might alleviate consumers’ concerns about
        71 See, e.g., Comment, American Council of Life
                                                              FACT Act #OL–100042; Comment, Consumer                   revealing this sensitive information.
                                                                                                                          76 The survey found that the tested language used
      Insurers #OL–100027; Comment, Boeing                    Bankers Association #OL–100028; Comment,
      Employees’ Federal Credit Union #000020;                Wachovia Corporation #OL–100017. The potential           to convey these ancillary messages did not
      Comment, Wachovia Corporation #OL–100017;               benefits of prescreening were described above in         communicate well to consumers; at the same time,
      Comment, Wells Fargo & Company #000007.                 Section III.C.3. In addition, as discussed in the        it does not appear that the tested language, at least
        72 Some commenters suggested that the final Rule      NPRM, not all credit card or insurance offers            under the conditions of the study, detracted from
      require marketers to use notices that substantially     consumers receive are prescreened offers. For            the primary message that consumers could choose
      conform with the model notices. See, e.g.,              example, some such offers are mass-mailed to             to opt out. See 69 FR 58861, 58864.
                                                                                                                          77 The Commission also notes that appropriate
      Comment, National Consumers League, et al. #OL–         consumers and do not derive from prescreened
      100011. However, the Commission believes that           lists. Therefore, opting out of precreened offers will   additional information might be a website address
      there are sufficient requirements in the Rule to        not end all mail solicitations. Finally, as explained    where consumers can obtain additional information
      make the notices effective, and therefore it is not     in the NPRM, the opt-out system operated by the          about prescreening and the opt-out right.
      necessary to require that marketers’ notices            nationwide consumer reporting agencies requires a           78 See, e.g., Comment, Mortgage Bankers

      substantially conform with the model notices.           Social Security number for verification; including       Association #OL–100036.



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      model notice that consumers would be                    estimated total annual cost would be                      feasible to design a solicitation
      calling the consumer reporting agencies                 between $110,000 and $167,000.80                          according to its original estimates.
      that operate the toll-free number for                   Numerous commenters stated that the                       Nevertheless, in order to permit
      opting out, and not the creditor or                     NPRM underestimated the costs of                          companies to implement such changes
      insurer, when exercising their opt-out                  revising solicitations by failing to                      in a more cost-effective manner, the
      right.79                                                calculate the additional costs to be                      Commission has extended the time to
         The Commission has considered these                  borne by larger companies that issue                      comply with the rule to August 1, 2005.
      comments and agrees that language                       multiple solicitations.81
      should be added to the model long                          At the outset, the Commission notes                    V. Final Regulatory Flexibility Analysis
      notice to clarify that the telephone                    that any new disclosure format, as                           The Regulatory Flexibility Act
      number is that of the consumer                          required by the FACT Act’s mandate to                     (‘‘RFA’’), 5 U.S.C. 601–612, requires that
      reporting agencies, not the creditor or                 improve the existing opt-out disclosure,                  the Commission provide an Initial
      insurer. Therefore, the final Rule                      requires affected firms to revise their                   Regulatory Flexibility Analysis
      modifies the third sentence of the model                prescreened solicitations. Moreover, the                  (‘‘IRFA’’) with a proposed Rule and a
      long notice to state, ‘‘If you do not want              Commission does not believe that the                      Final Regulatory Flexibility Analysis
      to receive prescreened offers of [credit                layered notice format of the final Rule                   (‘‘FRFA’’), with the final Rule, unless
      or insurance] from this and other                       appreciably increases the burdens on                      the Commission certifies that the Rule
      companies, call the consumer reporting                  affected entities. Nevertheless, the                      will not have a significant economic
      agencies [or name of consumer reporting                 Commission recognizes that companies                      impact on a substantial number of small
      agency] toll free, [toll free number]; or               that offer multiple solicitations will                    business entities.
      write: [consumer reporting agency name                  incur added costs to revise these
                                                              notices. Thus, the Commission now                            The Commission hereby certifies that
      and address].’’
                                                              estimates that the total annual burden to                 the final Rule will not have a significant
      IV. Paperwork Reduction Act                             the industry will be between 43,600 and                   economic impact on a substantial
        In accordance with the Paperwork                      45,600 hours. This figure reflects the                    number of small business entities. The
      Reduction Act, as amended, 44 U.S.C.                    Commission’s estimate that                                FCRA previously mandated the
      3501, et seq., the Commission submitted                 approximately 100 entities will need                      prescreen disclosure. The FACT Act
      the proposed Rule to the Office of                      additional time to revise multiple                        requires the Commission to adopt a rule
      Management and Budget (‘‘OMB’’) for                     notices as follows: for each of these 100                 to make the required disclosure simple
      review. The OMB approved the Rule’s                     entities, an additional four hours each                   and easy to understand. The proposed
      information collection requirements                     for an estimated 99 solicitations not                     Rule applies to any entity that makes
      through November 30, 2007, and                          accounted for in the NPRM. Based on                       prescreened offers of credit or
      assigned OMB control number 3084–                       the time needed to bring these                            insurance. The Commission has been
      0132. In response to comments received,                 additional solicitations into compliance,                 unable to determine the number of
      the Commission has revised its estimate                 the Commission now estimates that the                     small entities that purchase prescreened
      of the burden for companies that issue                  total cost to the industry will be                        lists from consumer reporting agencies.
      many different prescreened solicitations                between $1,157,894 and $1,213,329.                        However, the Commission believes that
      and therefore will be required to revise                This figure reflects the 39,600 additional                only a small number of small entities
      multiple solicitations in order to comply               hours of skilled technical labor (at                      make prescreened offers. The
      with the Rule. On December 8, 2004, the                 $26.44 per hour) that the Commission                      Commission did not receive any
      OMB approved the new burden                             estimates will be required to revise the                  comments to the IRFA that would allow
      estimate.                                               multiple solicitations.82                                 it to determine the precise number of
        As set forth in the NPRM, the Rule                       Although some commenters also                          small entities that will be affected.
      imposes certain disclosure requirements                 estimated that more time would be                         Although there may be some small
      on makers of prescreened credit                         needed to format and develop a                            entities among the entities making
      solicitations, as required by the FACT                  disclosure than the eight hours                           prescreened offers, the economic impact
      Act. Specifically, such solicitations                   estimated by the NPRM,83 or that the                      of the final Rule is not likely to be
      must include a statement containing a                   labor costs to revise each notice would                   significant on a particular entity, nor is
      short-form and a long-form notice,                      be higher than estimated,84 the                           the final Rule likely to have a significant
      which provides consumers with                           Commission has concluded that it is                       economic impact on a substantial
      information concerning prescreened                                                                                number of small entities. The minimal
      solicitations and how to opt out of
                                                                80 This estimate was based on Bureau of Labor
                                                                                                                        impact on creditors and insurers would
                                                              Statistics data (as of July, 2002), as follows: 2 hours   likely consist of revising disclosures
      receiving such solicitations in the                     of managerial/professional time at $31.55 per hour;
      future. In addition, the Rule contains a                plus 6 hours of skilled technical labor at $26.44 per     that they already give in order to make
      model disclosure that companies may                     hour; multiplied by 500 and 750 companies, for a          the disclosures simple and easy to
                                                              total of $110,870 and $166,305, respectively.             understand.
      use to comply with the Rule’s                             81 See, e.g., Comment, Bank of America
      requirements.                                           Corporation #OL–100032; Comment, JPMorgan                    The Commission requested comment
        The NPRM estimated the time to                        Chase Bank #OL–100019; Comment, MasterCard                on the IRFA and the proposed Rule’s
      revise and re-format an existing                        International Incorporated #000012; Comment,              impact on small businesses. The
                                                              Wachovia Corporation #OL–100017; Comment,
      solicitation to be about 8 hours per firm.              Wells Fargo & Company #000007; Comment,                   Commission received a few comments
      At the same time, the NPRM estimated                    Wilmer Cutler Pickering Hale and Dorr LLP #OL–            in response. These comments, which are
      that between 500 and 750 entities would                 100046.                                                   discussed in more detail below,
                                                                82 As in the NPRM, the hourly rate is based on
      be affected, so that the total annual                                                                             requested more time to comply with the
                                                              Bureau of Labor Statistics data, as of July, 2002.
      burden to the industry would be                           83 See, e.g., Comment, Countrywide #000010;
                                                                                                                        Rule 85 and suggested that the layered
      between 4000 and 6000 hours and the                     Comment, JPMorgan Chase Bank #OL–100019;
                                                              Wachovia Corporation #OL–100017.                            85 See, e.g., Comment, Credit Union National
        79 See,e.g., Comment, Bank of America                   84 See, e.g., Comment, American Bankers                 Association #000003; Comment, National
      Corporation #OL–100032; Comment, Mortgage               Association #OL–100040; Comment, Capitol One              Independent Automobile Dealers Association #OL–
      Bankers Association #OL–100036.                         Financial Corporation #OL–100033.                         100021.



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      notice requirement may be difficult for                 difficult for some small entities.88 Some                   However, not all businesses that
      some small businesses.86                                of these comments noted that small                        extend credit or insurance are required
        The Commission continues to believe                   entities often have one-page                              to comply with the Rule. Rather, only
      that a precise estimate of the number of                solicitations, and that the layered notice                such entities that make prescreened
      small entities that fall under the Rule is              would likely require them to increase                     solicitations will be subject to the Rule’s
      not currently feasible. However, based                  the length of their marketing materials,                  requirements. Although the number of
      on the comments received and the                        at great expense. As an alternative, these                small businesses that offer credit or
      Commission’s own experience and                         commenters suggested that a one-part                      insurance is large, the Commission
      knowledge of industry practices, the                    notice, rather than the layered notice,                   believes that only a small number of
      Commission also continues to believe                    should be permitted. The Commission                       those businesses engage in prescreened
      that the cost and burden to small                       has considered these comments, but                        solicitations. The Commission believes
      business entities of complying with the                 does not believe that the layered notice                  that many small businesses find it more
      Rule is minimal and that the final Rule                 requirement is overly burdensome for                      cost effective to engage in other forms of
      will not have a significant impact on a                 small businesses. The Commission has                      solicitation, including point-of-sale
                                                              clarified in the statement of basis and                   solicitations and/or solicitations of
      substantial number of small entities.
                                                              purpose that accompanies the final Rule                   existing customers.
      Accordingly, this document serves as
      notice to the Small Business                            that both parts of the layered notice may                 D. Projected Reporting, Recordkeeping,
      Administration of the agency’s                          appear in a single page solicitation,                     and Other Compliance Requirements
      certification of no effect. Nonetheless,                obviating the need for an additional
                                                              page or document. Even on a single page                     Under the final Rule, any entity
      the Commission has decided to publish                                                                             making a prescreened offer of credit or
      a Final Regulatory Flexibility Analysis                 solicitation, the layered format
                                                              contributes to a notice that is simple                    insurance will be required to provide
      with this final Rule. Therefore, the                                                                              recipients of the offer with a disclosure
      Commission has prepared the following                   and easy to understand. The Rule also
                                                              allows companies flexibility as to the                    regarding their right to opt out of such
      analysis:                                                                                                         offers. (There are no filing or
                                                              precise formatting and language of the
      A. Need for and Objectives of the Rule                  notices. The Commission considers this                    recordkeeping requirements in the
                                                              flexibility sufficient to allow all entities,             Rule.) These disclosures are to be in a
         Section 213 of the FACT Act directs                  including small entities, to determine an                 form that is simple and easy to
      the FTC to adopt a rule to improve the                  appropriate means of complying with                       understand. As noted in the Paperwork
      required notice to consumers regarding                                                                            Reduction Act analysis above, the
                                                              the Rule within the framework of their
      their right to opt out of prescreened                                                                             estimated time to revise the notice and
                                                              own solicitations.
      solicitations for credit or insurance. In                                                                         re-format solicitations is approximately
      this action, the FTC promulgates a final                C. Small Entities To Which the Rule Will                  8 hours (one business day), and the total
      Rule that would implement this                          Apply                                                     cost for all entities to comply with this
      requirement of the FACT Act. The Rule                                                                             Rule is between $1,157,894 and
      is authorized by and based upon section                    As described above, the Rule applies                   $1,213,329.
      213 of the FACT Act.                                    to any entity, including small entities,
                                                              that makes prescreened offers of credit                   E. Steps Taken To Minimize Significant
      B. Significant Issues Received by Public                or insurance. The Commission has been                     Economic Impact of the Rule on Small
      Comment                                                 unable to ascertain a precise estimate of                 Entities
                                                              the number of small entities that are                       The Commission considered whether
         The Commission received a few                        creditors or insurers, and received no                    any significant alternatives, consistent
      comments in response to its IRFA. Some                  specific comments to the IRFA that                        with the purposes of the FACT Act,
      commenters, in particular, trade                        allow it to determine the precise                         could further minimize the Rule’s
      associations representing small                         number of small entities that will be                     impact on small entities. The FTC asked
      businesses, were primarily concerned                    affected. Entities potentially covered by                 for comment on this issue. Some
      about the time allowed for compliance                   the Rule include any entity that extends                  commenters suggested that the layered
      with the Rule. These commenters                         credit or insurance, including insurance                  notice requirement may be difficult for
      asserted that small businesses, which                   companies, retailers, department stores,                  small businesses, and that a single
      have more limited resources than larger                 and banking institutions, if they are                     notice would be more appropriate.90
      marketers, needed more than the                         engaging in prescreened offers of credit.                 However, as discussed above, the
      proposed 60 days to comply with the                     For these kinds of entities, the Small                    Commission has determined that the
      Rule. The commenters suggested an                       Business Administration defines small                     layered format is the best way to ensure
      effective date ranging from 120 days to                 business to include, in general, a                        that the disclosures are simple and easy
      6 months from the date the final Rule is                business whose annual receipts do not                     to understand and does not find that the
      issued.87 The final Rule changes the                    exceed $6 million in total receipts for                   layered notice approach poses a
      effective date to August 1, 2005.                       insurance companies and retailers, and                    particular burden to small entities. The
      Therefore, small businesses, as well as                 $23 million in total receipts for                         Rule allows small entities flexibility in
      other entities, should have sufficient                  department stores. For banking                            determining how best to present the
      time to comply.                                         institutions, the Small Business                          layered notice within the framework of
         Other commenters suggested that the                  Administration defines small business                     their solicitations, and therefore does
      layered notice requirement may be                       to include entities whose total assets do                 not impose a substantial burden.
                                                              not exceed $150 million.89                                  The Commission also requested
        86 See, e.g., Comment, ChoicePoint Precision                                                                    comment on the need to adopt a delayed
      Marketing, Inc. #OL–100025; Comment, Wilmer                88 See, e.g., Comment, ChoicePoint Precision

      Cutler Pickering Hale and Dorr LLP #OL–100046.          Marketing, Inc. #OL–100025; Comment, Wilmer               be found at http://www.sba.gov/size/
        87 See, e.g., Comment, Credit Union National          Cutler Pickering Hale and Dorr LLP #OL–100046.            indextableofsize.html.
      Association #000003; Comment, National                     89 These numbers represent size standards for            90 See, e.g., Comment, ChoicePoint Precision

      Independent Automobile Dealers Association #OL–         most entities in the industries mentioned above. A        Marketing, Inc. #OL–100025; Comment, Wilmer
      100021.                                                 list of the SBA’s size standards for all industries can   Cutler Pickering Hale and Dorr LLP #OL–100046.



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      effective date for small entities in order                    (a) Simple and easy to understand                    shall be taken to ensure that the type
      to provide them with additional time to                     means:                                                 size is larger than the type size of the
      come into compliance. The Commission                          (1) A layered format as described in                 principal text on the same page;
      received some comments on this                              § 642.3 of this part;                                     (ii) On the front side of the first page
      issue;91 the Commission has decided to                        (2) Plain language designed to be                    of the principal promotional document
      extend the effective date for all entities                  understood by ordinary consumers; and                  in the solicitation, or, if provided
      subject to the Rule to August 1, 2005.                        (3) Use of clear and concise sentences,              electronically, on the same page and in
      This additional time will allow small                       paragraphs, and sections.                              close proximity to the principal
      entities to assess their compliance                           (i) Examples. For purposes of this                   marketing message;
      obligations and make cost-sensitive                         part, examples of factors to be                           (iii) Located on the page and in a
      decisions concerning how best to                            considered in determining whether a                    format so that the statement is distinct
      comply with the Rule.                                       statement is in plain language and uses                from other text, such as inside a border;
                                                                  clear and concise sentences, paragraphs,               and
      VI. Final Rule                                              and sections include:                                     (iv) In a type style that is distinct from
      List of Subjects                                              (A) Use of short explanatory                         the principal type style used on the
                                                                  sentences;                                             same page, such as bolded, italicized,
      16 CFR Part 642                                               (B) Use of definite, concrete, everyday              underlined, and/or in a color that
        Consumer reporting agencies,                              words;                                                 contrasts with the color of the principal
      Consumer reports, Credit, Fair Credit                         (C) Use of active voice;                             text on the page, if the solicitation is in
      Reporting Act, Trade practices.                               (D) Avoidance of multiple negatives;                 more than one color.
                                                                    (E) Avoidance of legal and technical                    (b) Long notice. The long notice shall
      16 CFR Part 698                                             business terminology;                                  be a clear and conspicuous, and simple
        Consumer reporting agencies,                                (F) Avoidance of explanations that are               and easy to understand statement as
      Consumer reports, Credit, Fair Credit                       imprecise and reasonably subject to                    follows:
      Reporting Act, Trade practices.                             different interpretations; and
                                                                                                                            (1) Content. The long notice shall
                                                                    (G) Use of language that is not
      ■ The Federal Trade Commission                                                                                     state the information required by section
                                                                  misleading.
      amends chapter I, title 16, Code of                                                                                615(d) of the Fair Credit Reporting Act
                                                                    (ii) [Reserved]
      Federal Regulations, as follows:                                                                                   (15 U.S.C. 1681m(d)). The long notice
                                                                    (b) Principal promotional document
      ■ 1. Add new part 642 to read as follows:                                                                          shall not include any other information
                                                                  means the document designed to be
                                                                                                                         that interferes with, detracts from,
      PART 642—PRESCREEN OPT-OUT                                  seen first by the consumer, such as the
                                                                                                                         contradicts, or otherwise undermines
      NOTICE                                                      cover letter.
                                                                                                                         the purpose of the notice.
      Sec.                                                        § 642.3    Prescreen opt-out notice.                      (2) Form. The long notice shall:
      642.1         Purpose and scope.                               Any person who uses a consumer                         (i) Appear in the solicitation;
      642.2         Definitions.                                  report on any consumer in connection                      (ii) Be in a type size that is no smaller
      642.3         Prescreen opt-out notice.                     with any credit or insurance transaction               than the type size of the principal text
      642.4         Effective date.                               that is not initiated by the consumer,                 on the same page, and, for solicitations
        Authority: Pub. L. 108–159, sec. 213(a); 15               and that is provided to that person                    provided other than by electronic
      U.S.C. 1681m(d).                                            under section 604(c)(1)(B) of the FCRA                 means, the type size shall in no event
                                                                  (15 U.S.C. 1681b(c)(1)(B)), shall, with                be smaller than 8-point type;
      § 642.1        Purpose and scope.                                                                                     (iii) Begin with a heading in capital
                                                                  each written solicitation made to the
         (a) Purpose. This part implements                        consumer about the transaction, provide                letters and underlined, and identifying
      section 213(a) of the Fair and Accurate                     the consumer with the following                        the long notice as the ‘‘PRESCREEN &
      Credit Transactions Act of 2003, which                      statement, consisting of a short portion               OPT-OUT NOTICE’’;
      requires the Federal Trade Commission                       and a long portion, which shall be in the                 (iv) Be in a type style that is distinct
      to establish the format, type size, and                     same language as the offer of credit or                from the principal type style used on
      manner of the notices to consumers,                         insurance:                                             the same page, such as bolded,
      required by section 615(d) of the Fair                         (a) Short notice. The short notice shall            italicized, underlined, and/or in a color
      Credit Reporting Act (‘‘FCRA’’),                            be a clear and conspicuous, and simple                 that contrasts with the color of the
      regarding the right to prohibit (‘‘opt out’’                and easy to understand statement as                    principal text on the page, if the
      of) the use of information in a consumer                    follows:                                               solicitation is in more than one color;
      report to send them solicitations of                           (1) Content. The short notice shall                 and
      credit or insurance.                                        state that the consumer has the right to                  (v) Be set apart from other text on the
         (b) Scope. This part applies to any                      opt out of receiving prescreened                       page, such as by including a blank line
      person who uses a consumer report on                        solicitations, and shall provide the toll-             above and below the statement, and by
      any consumer in connection with any                         free number the consumer can call to                   indenting both the left and right margins
      credit or insurance transaction that is                     exercise that right. The short notice also             from other text on the page.
      not initiated by the consumer, and that                     shall direct the consumer to the
      is provided to that person under section                                                                           § 642.4    Effective date.
                                                                  existence and location of the long
      604(c)(1)(B) of the FCRA (15 U.S.C.                         notice, and shall state the heading for                  This part is effective on August 1,
      1681b(c)(1)(B)).                                            the long notice. The short notice shall                2005.
      § 642.2        Definitions.
                                                                  not contain any other information.
                                                                     (2) Form. The short notice shall be:                PART 698—[AMENDED]
          As used in this part:                                      (i) In a type size that is larger than the          ■ 2. Amend § 698.1 by revising
          91 See,
                                                                  type size of the principal text on the                 paragraph (b) to read as follows:
               e.g., Comment, Credit Union National
      Association #000003; Comment, National
                                                                  same page, but in no event smaller than
      Independent Automobile Dealers Association #OL–             12-point type, or if provided by                       § 698.1    Authority and purpose.
      100021.                                                     electronic means, then reasonable steps                *      *        *   *        *


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         (b) Purpose. The purpose of this part                Transactions Act of 2003, and Section                  Appendix A to Part 698—Model
      is to comply with sections 607(d),                      211 of the Fair and Accurate Credit                    Prescreen Opt-Out Notices
      609(c), 609(d), 612(a), and 615(d) of the               Transactions Act of 2003.                                 In order to comply with part 642 of this
      Fair Credit Reporting Act, as amended                   ■ 3. Add Appendix A to Part 698 as                     title, the following model notices may be
      by the Fair and Accurate Credit                         follows:                                               used:
                                                                                                                     BILLING CODE 6750–01–P




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        (a) English language model notice. (1)
      Short notice.




                                                                                                                                     ER31JA05.028</GPH><FNP>




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        (2) Long notice.




                                                                                                                                            ER31JA05.029</GPH><FNP>




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        (b) Spanish language model notice.
      (1) Short notice.




                                                                                                                                     ER31JA05.030</GPH><FNP>




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        (2) Long notice.




        By direction of the Commission.
      Donald S. Clark,
      Secretary.
      [FR Doc. 05–1678 Filed 1–28–05; 8:45 am]
      BILLING CODE 6750–01–C
                                                                                                                                            ER31JA05.031</GPH>




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       Federal Trade C o ~ s s i c i n




       FEDERAL TRADE COMMISSION,                    CV    SACVOS-801 AHS@JJ,Gx)
                           Plaintiff,              STIPULATED FINAL
             v.                                    JUDGMENT AM) ORDER
                                                   FOR PERMANENT
                                                   INJUNCTION
                          ,iT\JC., a
       COl.TSTiiT~ICIT~O.COI~.
       corporation,
       doing business as
       EXPERIAN CONSUMER DIRECT,
       QSPACE, NC.,
       and PLACE INC.,

                           Defendant.



             Plaintiff, Federal Trade Commission ("FTC" or "Commission") is
       concurrently filing its Complaint, which alleges that Defendant Consumerinfo.com
       hc., doing business as Experian Consumer Direct, Qspace, Inc., and Iplace, Inc.,

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        las engaged in unfair or deceptive acts or practices in violation of Section 5 of the
        ?TC Act, 15 U.S.C. fj 45, in connection with the marketing of conswner reports
        md credit monitoring programs. The parties have agreed to the entry of t h s
       Stipulated Final Judgment and Order for Permanent Injunction ("Order") to resolve
       111matters in dispute in t h s action without trial or adjudication of any issue of law
       )r fact herein and without Defendant adrmtting liability for any of the matters
       illeged in the Complaint. Defendant has waived service of the Surnmons and
       Somplaint.


              TrnrnFBrn, IT IS HEREBY OrnERED, r n r n G E D , m
       DECREED as follows:
                                             FINDINGS
              1.     a s Court has jurisdiction over the subject matter of h s case and
       )ver Defendant Consumerinfo.com, Inc. dba Experian Consumer Direct, Qspace,
       nc. and Iplace, Inc.
             2.      Venue in t h s district is proper under 28 U.S .C. fj 1391(bj and (c), and
       15 U.S.C.   5 53Cbj.
             3.      The acts and practices of Defendant are in or affecting commerce, as
       'commerce" is defmed in Section 4 of the FTC Act, 15 U.S.C. 5 44.
             4.      The Complaint states claims upon whch relief may be granted against
       lefendant under Sections 5 and 13@)of the FTC Act, 15 U.S.C.
       35 45 and 53(b).
             5.      Defendant makes no admissions as to the allegations in the Complaint,
       ~therthan the jurisdictional facts.
             6.      Defendant waives: (a) all rights to seek appellate review or otherwise
       ;hallenge or contest the validity of t h s Order; (b) any claim Defendant may have


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       against the Commission, its employees, representatives, or agents that relate to the
       matter stated herein; (c) all claims under the Equal Access to Justice Act, 28 U.S.C.
       fj 2412, as amended by Pub. L. 104-121, 110 Stat. 847, 863-64 (1996); and (d) any
       rights to attorneys' fees that may arise under said provision of law.
                 7.      Entry of this Order is in the public interest.


                                               DEFINITIONS
                 For purposes of this Order, the following definitions shall apply:
                 1.      "Assisting Others" means knowingly formulating or providing, or
       manging for the formulation or provision of, any marketing materials.
                 2.      "Billing Information" means any data that enables any person to
       ~CC~a
           SScustomer's account,          such as a credit card, chechng, savings, share or
       ;irnilar account, utility bill, mortgage loan account, or debit card.
                 3.      "Clearly and Conspicuously" means:
                         a.     in print communications, the message shall be in a type size and
       ocation sufficiently noticeable for an o r h a r y consumer to read and comprehend
       t, in p        ~thatt contrasts with the background against which it appears;
                         b.     in communications disseminated orally, the message shall be
       lelivered in a volume and cadence sufficient for an ordinary consumer to hear and
       ;omprehend it;
                         c.     in communications made through an electronic medium (such as
       .elevision, video, radio, and interactive media such as the Internet, online services
       md software), the message shall be presented simultaneously in both the audio and
       ~isualportions of the communication. In any communication presented solely
       .hrough visual or audio means, the message may be made through the same means
       n which the communication is presented. Any audio message shall be delivered in


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       2 volume   and cadence sufficient for an ordmary consumer to hear and comprehend
       ~ t .Any visual message shall be of a size and shade, with a degree of contrast to the
       sackground against whch it appears and shall appear on the screen for a duration
       md in a location, sufficiently noticeable for an ordinary consumer to read and
       zomprehend it; and
                    d.    regardless of the medium used to disseminate it, the message
       ;hall be in understandable language and syntax. Nothing contrary to, inconsistent
       with, or in mitigation of the message shall be used in any communication.
             4.     In the case of advertisements disseminated by means of an interactive
       :lectronic medium such as software, the Internet, or online services, "in close
       ~roxirnity"shall mean on the same webpage, online service page, or other
       :lectronic page, and proximate to the triggering representation, and shall not
       nclude disclosures accessed or displayed through hyperlinks, pop-ups, interstitials
       )r other means.
             5.     "Consumer Report" is synonymous in meaning and equal in scope to
       he usage of the term as it is defined in Section 603(d) of the Fair Credit Reporting
       k t , 15 U.S.C. 5 1681aidj.
             6.      "Credit Report" means a consumer report that is used or expected to
       )e used or collected in whole or in part for the purpose of serving as a factor in
       :stablishmg the consmner's eligibility for creditworthmess.
             7.     "Credit Monitoring Program" means a progrm that enables a
       :onsumer to access information related to substantive changes in h s or her credit
       listory as recorded in his or her consumer report.
             8.     "Defendant" means Consumerinfo.com, Inc. doing business as
       ixperian Consumer Direct, Qspace, Inc., and Iplace, Inc.
             9.     "Document" is synonymous in meaning and equal in scope to the


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       usage of the term in Federal Rules of Civil Procedure 34(a), and includes writings,
       ikawings, graphs, charts, photographs, audio, and video recordmgs, computer
       records, and other data compilations from whch the information can be obtained
       md translated, if necessary, through detection devices into reasonably usable forrn
       A draft or non-identical copy is a separate document withn the meaning of the
       term.
               10.   "Free Credit ReportICredit Checlc Monitoring" (or, "CCM") means a
       ~romotionoffered by Consumerinfo.com, Inc., regardless of the name under whch
       :he promotion was offered, wherein a consumer received a free credit report in
       ;onjunction with enrollment on a trial conversion basis in a cre&t monitoring
       ~rogram.
               11.   "Full and Complete Refund" means a refund of any unrefunded
       mount paid for the Free Credit ReportICredit Check Monitoring in the 12-month
       nembership period in whch the cancellation took place, or the request for refund
       )r chargeback, or complaint about the charge, was made. No c o n s u e r shall
       -eceive a refund of more than the unrefunded amount paid in a single twelve-montl
       nembership period.
               12.   "Marketing Partner" means any third party with whch Defendant has
       m agreement under which Defendant agrees to provide order fulfillment services tc
       hat thrd party in conjunction with that t h d party's advertising, promotion, offer,
       n sale of any program in which the consumer receives a fi-ee credit report and is
       :nrolled in a credit monitoring program on a trial conversion basis and under whicl
       lefendant does not have authority to control such advertising, promotion, offer, or
       ;ale.
               13.   "Material" when used in reference to the sale of goods or services
       neans likely to affect a person's choice of, or conduct regarding, goods or services.


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              14.   A "Negative Option" offer or agreement is one to sell or provide good
       )r services under which: (a) a consumer must take an affirmative step to reject
       ;oods or services or cancel the agreement, and (b) the consumer's silence or failure
       .o reject goods or services or to cancel the agreement would ordinarily be
       nterpreted by the seller or provider as acceptance or continuing acceptance of the
       zoods or services. Negative option offers or agreements include but are not limitec
        o "Trial Conversion" offers, which are characterized by an offer of fiee products o
       Services or a fiee trial period of products or services to consumers where, as a
       .esult of accepting the fjreeproducts or services or the free trial period of products
       )r services, consumers would ordinarily be required to contact Defendant to avoid
       meceiving ad&tional products or services and incurring a financial obligation for
       ;uch additional products or services.
              15.   "Short-form advertisement" means any television or radio
       idvertisement of less than sixty (60) seconds duration, Internet banner
       idvertisement, or Internet pop-up advertisement.
                                             ORDER
                         I.   P R O m I T E D B-"-Sma~SS *C'jl'lviTLli;S

             IT IS ORDERED that Defendant and Defendant's successors, assigns,
       ~fficers,agents, and all other persons or entities within the scope of Fed. R. Civ. P.
       55, whether acting directly or through any sole proprietorship, partnershp, limited
       iability company, corporation, subsidiary, branch, division, or other entity,
       ncluding all other persons or entities in active concert or participation with them,
       vho receive actual notice of t h s Order by personal service or otherwise, in
       ;omection with the advertising, promoting, offering for sale, or sale of consumer
       *eports,cre&t scores, credit monitoring programs, or any other product, program,
       )r service relating to consumer reports, are hereby permanently restrained and


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        :nj oined from:
              A.     Misrepresenting, or assisting others in misrepresenting, expressly or
        )y implication, that consumers can obtain a free product, program, or service, a fief
        rial membership, or any such product, program, or service at no cost or obligation.
              B.     Misrepresenting, or assisting others in misrepresenting, expressly or
        ~yimplication:
                     1.     the amount of any charge, bill, or fee, including but not limited
        .o, the cost of any consumer report or credit monitoring program;
                     2.    that a consumer will not be charged, billed, or assessed a fee;
                     3.    the timing or manner of any charge, bill, or fee assessment;
                     4.    that a consumer is legally obligated to pay a charge, bill, or fee
        nssessment; or
                     5.    that a consumer will not be charged, billed, or assessed a fee
        without the consumer's authorization.
              C.     Failing to make the following disclosures, clearly and conspicuously,
        n conjunction with the advertising, promotion, or sale of any offer, other than a
        ~romotionthrough a marketing partner, in which the consumer receives a fiee
        :redit report and is enrolled in a credit monitoring program on a trial conversion
        ~asis:
                     1.    At least once in any short-form advertisement, Defendant shall
        nclude the following disclosure, or words of similar import, in close proximity to
        :he free credit report representation:


                     "with enrollment in [name of credit monitoring program]"


                     2.    At least once in any other radio or television advertisement,


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       lefendant shall include the following disclosures:


                    When you order your fiee report, you will begin your free
                    trial membershp in [name of credit monitoring program].
                    If you don't cancel withn the 30 day [or other period]
                    trial period, you will be billed $12 [or other amount] for
                    each month [or other billing period] that you continue
                   your membershp .


                    T h ~ offer
                          s     is not related to the free credit report that you may be
                    entitled to under Federal law. To obtain that fiee report, you must go
                    to www.annualcreditreport.com.


       'rovided that, in any radio or television advertisement longer than five (5) minutes
       n duration, the disclosures required by t h s Subparagraph I.C.2. shall be made, at
       Defendant's option, either immediately before each presentation of ordering
       nstructions, or at least once every five (5) minutes.


                    3.    In any other advertisement, and on any website or in any other
       nedium, including but not limited to telephone, email, or direct mail, in which a
       :onsumer is able to enroll in the credit monitoring program, Defendant shall
       nclude the following disclosures:
                          a.     on the landing page of the website or at the f ~ spoint
                                                                                    t    of
                          communication:




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                                   When you order yow fiee report here, you
                                   will begin your fiee trial membership in
                                   [name of credit monitoring program]. If you
                                   don't cancel your membershp within the 30
                                   day [or other period] trial period, you will be
                                   billed $12 [or other amount] for each month
                                   [or other billing period] that you continue
                                   your membership. Under a new Federal law,
                                   you may have the right to receive a fiee copy
                                   of your credit report once every 12 months
                                   fiom each of the three nationwide consumer
                                   reporting companies. To request your free
                                   annual report under that law, you must go to
                                   www.ann~zalcreditreport.com.[Name of
                                   offering company] is not affiliated with the
                                   annual fiee credit report program.


                The reference to www.ann~1alcreditreport.coxnshall be formatted to appear ir
       L blue   color and underscored and shall be an active hyperllnk such that a consumer
       ;licking on that hyperllnk will be directed to that website. After September 1,
       !005, the word "may" shall be deleted fiom the thud sentence of the disclosure
       mequired by tlvs Subparagraph I.C.3.a.
                The disclosure required by this Subparagraph I.C.3.a. shall be made in a
       ~rominentlocation and in close proximity to the free credit report representation
       md distinct fiom other text, such as inside a border; and
                            b.     clearly and conspicuously, and not pursuant to a link, at a


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                           location between the landing page and the location where a
                           consumer submits an order:


                           "Tlxis offer is not related to the free credit report that you may
                           be entitled to under Federal law. To obtain that fiee report, you
                           must go to www.annualcreditreport.com."


              After September 1,2005, the word "are" shall be substituted for the words
        'may be" in the first sentence of the disclosure required by t h s Subparagraph
       r.C.3.b.; and


                           c.     at the location or time that immediately precedes the poin
                           at whch the consumer completes the transaction, under the
                           heading "PAYMENT INFORMATION" in capital letters and
                           bold print, the following disclosure, or words of similar import:
                           "When you order your fiee report here, you will
                           begin your free trial membership in [name of credit
                           monitoring program]. If you don't czncel your
                           membershp w i t h the 30 day [or other period]
                           trial period, you will be billed $12 [or other
                           amount] for each month [or other billing period]
                           that you continue your membership."


             All written or printed &sclosures required by t h s Subparagraph LC.3. shall
        )e in a type size that is no smaller than the type size of the principal text on the
        )age, but in no event smaller than 12-point type.


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                    4.     On a website or in any other medium in which a consumer is
        tble to enroll in the credit monitoring program, Defendant shall disclose:
                           a.    all material terrns and conditions of any cancellation or
                           refund policy, or if Defendant has a policy of not accepting
                           cancellations or making refunds, a statement that this is
                           Defendant's policy. The disclosure required by this
                           Subparagraph I.C.4.a. shall be made in the "PAYMENT
                           INFORMATION"section referred to in Subparagraph I.C.3 .c.;
                           and
                           b.    any other material terms or conditions of the offer. The
                           disclosure required by this Subparagraph I.C.4.b. shall be made
                           in conformance with Subparagraphs I.D. and I.F.
             D.     Representing, or assisting others in representing, expressly or by
        mplication, that any such product, program, or service is "free" or is available
        vithout cost or obligation, unless Defendant discloses, clearly and conspicuously,
        md in close proximity to the representation, all fees, costs, obligations or other
        nateriai terrns or conditions associated wifh the offer, includhg the material terrns
        )f any negative option offer. Provided that, for the purposes of any offer covered
        ~ySubparagraph LC., compliance with that Subparagraph shall be deemed to be
        :ompliance with t h s Subparagraph I.D.
             E.     In conjunction with a promotion through a marketing partner in which
        .he consumer receives a fiee credit report and a credit monitoring program on a
       rial conversion basis, failing to make the following disclosures:
                    1.     the disclosure required under Subparagraph I.C.3.c.,
       )r words of similar import, whch shall be made, clearly and conspicuously, (a) in
       .he "Payment I ~ o m a t i o n Y
                                      section
                                        y     on the ordering page referred to in


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       Subparagraph I.C.3.c., and (b) either in the promotional offer made by the
       marketing partner or at the first point of contact between Defendant and the
       consumer; and
                     2.     the disclosure required under Subparagraph I.C.3.b.,
       or words of similar import, whch shall be made, clearly and conspicuously, either
       in the promotional offer made by the marketing partner or at the fnst point of
       contact between Defendant and the consumer. After September 1,2005, the word
       "are" shall be substituted for the words "may be" in the first sentence of t h s
       disclosure.
             F.      Failing to disclose, clearly and conspicuously, before consumers are
       asked to pay money, reveal billing information, or submit consideration, or before
       my charge is incurred, all material term and conditions of a negative option offer,
       whch include but are not limited to the following:
                     1.     the fact that the customer's account will be charged, billed, or
       messed a fee unless the customer takes affirmative action to avoid the charge, bill,
       3r fee assessment;
                     2.     when fhe charge, biii, or fee assessment wiii be submitted for
       3ayment;
                     3.     the specific steps the customer must take to avoid the charge,
       ill, or fee assessment;
                     4.     all material terms and conditions of a guarantee, refund, or
       -eturnpolicy, or if Defendant has a policy of not making refunds or accepting
       -eturns, a statement that t h s is Defendant's policy;
                     5.     the fact that periodic shipments of products or the periodic
       ~rovisionor the continuation of services will occur without further action by
       mnsumers;


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                    6.     if products are provided in shipments or services provided on a
       periodic basis, a description of each good or type of good to be included in each
       shpment or a description of the services that will be performed or continued;
                    7.     if products are skpped or services provided on a periodic basis,
       the approximate interval between each shipment or service period or the number of
       shpments or service periods per year;
                    8.     the cost or range of costs for each shpment or service period,
       including shpping and handling costs; and
                    9.     the minimum number of purchases or minimum service period
       required by Defendant, if any.
       Provided that, for the purposes of any offer covered by Subparagraph I.C.,
       compliance with that Subparagraph shall be deemed to be compliance with tlvs
       Subparagraph I.F.
             G.     Causing billing information to be submitted for payment, directly or
       indirectly, for any such product, program, or service advertised, promoted, offered
       for sale, or sold as part of an offer or agreement involving a negative option offer,
       without obtaining the express informed consent of consumers to be charged for an)
       such product, program, or service using an acco~mtidentified with sufficient
       specificity for consumers to understand what account will be charged, billed, or
       2ssessed a fee. To evidence consumers' express informed consent, Defendant must
       iisclose, clearly and conspicuously, before consumers pay money, reveal billing
       mforrnation, or submit consideration, all material terms and conditions of the offer
       2r agreement (including but not limited to those stated in Subparagraph I.F.), and
       3btain consumers' express agreement to be charged.
             H.    Failing to honor a request that Defendant receives to cancel any sale oi
       ransaction involving a negative option offer, or to provide a refund in accordance


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       with Defendant's disclosed policies.


                                 11.   CONSUMER REDRESS
             IT IS FURTWER ORDERED that:
             A.     Defendant shall pay an amount sufficient to provide a full and
       ;omplete refund to any consumer who meets the following qualifications:
                    1.    The consumer was enrolled in the Free Credit ReportICredit
       :heck Monitoring ("CCM") during the period November 1,2000, through
       September 15,2003 and was assessed a charge; and either:
                          a.     w i t h the fust three years of the consumer's membershp
                          in CCM cancelled such membershp and received a pro-rata
                          refund; or
                          b.     prior to entry of this Order, contacted, directly or
                          indirectly, Defendant, the Commission, the Better Business
                          Bureau of the Southland (Colton, California), any credit or deb?
                          card issuer, or any other third party to request a refund or
                          chargeback of the charge, or to register a complaint about the
                          charge, for the CCM offer.
                   2.     To identify all consumers who meet the qualifications of this
       Subparagraph D.A. for receiving a refund, Defendant shall review the following
       nternal customer records as of June 20,2005: (a) records of pro-rated refunds paid
        o consumers who cancelled their rnembershp w i t h the first three (3) years of
       nembershp; and (b) records that identify consumers in one or more of the
       ollowing customer service categories: (i) "billing - questioning charge," (ii)
       billing - general question," (iii) ccpossiblecredit card fraud," or (iv) "possible
       dentity theft." Defendant also shall review any irdiormation it has received from


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       the Commission, the Better Business Bureau of the Southland (Colton, California)
       any credit or debit card issuer, or any other third party. In addition, Defendant sha
       provide a full and complete refund to any consumer if such consumer, within two
       hundred and fifty-five (255) days after entry of this Order, produces documentatio
       sufficient to show that he or she meets the qualifications of this Subparagraph 1I.A
       Defendant shall make such refund w i t h thrty (30) days after receiving the
       consumer's documentation.
             B.     Defendant shall malce refund payments to consumers who meet the
       qualifications set forth in Subparagraph 1I.A. in the following manner:
                    1.     Withn sixty (60) days after entry of t h s Order, Defendant shal
       attempt to obtain a credit for each such consumer on the consumer's credit or debil
       card account that was used to enroll in the CCM promotion. Defendant shall send
       a notice in the form set forth in Attachment A to each consumer for whom it has
       obtained such a credit. Defendant shall send such notice by email to the
       consumer's last known email address, or by f ~ sclass
                                                        t mail to the consumer's last
       known address. No other information shall be included or added to the notice.
                    2.     In the event that Defendant, despite reasonable efforts, is unabl
       to procure a credit on a consumer's credit or debit card account that was used to
       enroll in the CCM promotion fiom the card issuer, Defendant shall deliver by
       email, w i t h thirty (30) days after the attempt to credit the consumer's account, or
       ninety (90) days after entry of t h s Order, whchever is later, a Notice of Refund ir
       the form set forth in Attachment B to the last known email address of the
       consumer. No other information shall be included or added to the notice. The
       subject line of the ernail shall state: "important: Notice of R e h d for Credit
       Monitoring." Defendant shall procure and utilize software technology sufficient tl
       establish whether the consumer has opened the email notice.


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                     3.    In the event that Defendant, despite reasonable efforts: (a) is
       unable to provide a refund to a consumer as set forth in Subparagraph 1I.B.1., and
       [b) is unable to provide an email notice or to demonstrate that the conswner openec
       the email notice w i t h thirty (30) days of sending the email notice to the
       Zonsumer, as set forth in Subparagraph II.B.2., Defendant shall mail a Notice of
       Refund in the form set forth in Attachment C via first-class mail, postage prepaid,
       LOthe   last known address of the consumer. Defendant shall mail such notice withi1
       tlxrty (30) days of the last date on whch a consumer may have opened the email
       message as provided above, or one hundred and sixty five (165) days, after the
       mtry of t h s order, whichever is later. The envelope enclosing the Notice of
       Refund shall be in the form set forth in Attachment D. No other information shall
       3e included or added to the mailing. Defendant shall also retain a National Change
       3f Address System ("NCOA") licensee to update consumers' last known addresses
       3y processing them through the NCOA database. For each mailing returned by the
       U.S. Postal Service as undeliverable for whch Defendant obtains a corrected
       ~ddress,Defendant shall, within fifteen (15) business days after receiving the
       2orrected address, send the Notice of Refund to the corrected address.
                     4.    Defendant shall provide a r e h d to each consumer who, withm
       NO   hundred and fifty five (255) days after entry of this Order, or withm tlxrty (30)
       jays of receiving a notice, whchever is sooner, requests a refund in response to a
       lotice provided by the means set forth in Subparagraphs II.B.2. or II.B.3., and who
       xoduces documentation sufficient to show that he or she meets the qualifications
       ~fSubparagraph II.A. W i t h fifteen (15) days after receiving a request for refund
       within the time period provided in the notice, Defendant shall provide refunds by
       nailing a check via first class mail, postage prepaid, or by crediting the consumer's
       :redit or debit card account, at the consumer's option. Defendant shall enclose


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       each refund check in an envelope that displays on its front, clearly and
       conspicuously, the words "REFUND CHECK ENCLOSED." No other informati01
       shall be included or added to the mailing, except that Defendant may provide
       explanatory information relating to the refund.
             C.     Defendant shall offer the right to cancel membershp and receive a
       pro-rated refund of the current membershp period fee to each consumer who was
       enrolled in the CCM promotion between November 1,2000 and September 15,
       2003, and is still enrolled as of the date of entry of this Order. Defendant shall
       provide t h s right in the following manner:
                    1.    Within thuty (30) days after entry of this Order, Defendant shal
       deliver a Notice of Right to Cancel in the fonn set forth in Attachment E by email
       to the last known email address of the consumer. No other information shall be
       included or added to the notice. The subject line of the email shall state:
       "Important:Notice of Right to Cancel Credit Monitoring." Defendant shall procurc
       md utilize software technology sufficient to establish whether the consumer has
       opened the email notice w i t h thrty days.
                    2.    In the event that Defendant, despite reasonable efforts, is unablc
       to provide an email notice or to demonstrate thst the consuer opened the email
       notice within thu-ty (30) days of sending the email notice to the consumer, as set
       Forth in Subparagraph 11.C. I., Defendant shall mail a Notice of Right to Cancel in
       :he form set forth in Attachment F via fust-class mail, postage prepaid, to the last
       known address of the consumer. Defendant shall mail such notice within fifteen
       :15) days of the last date on which a consumer may have opened the email message
       3s provided above, or one hundred and thtrty-five (135) days after the entry of this
       ~ d e rwhchever
              ,        is later. The envelope enclosing the Notice of Right to Cancel
       ;hall be in the form set forth in Attachment G. No other information shall be


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       included or added to the mailing. Defendant shall also retain a National Change of
       Address System ("NCOA") licensee to update consumers' last known addresses by
       processing them through the NCOA database. For each mailing returned by the
       U.S. Postal Service as undeliverable for whch Defendant obtain a corrected
       zddress, Defendant shall, withn fifteen (15) business days after receiving the
       ;orrected address, send the Notice of Right to Cancel to the corrected address.
                    3.    Defendant shall cancel the CCM membership, provide a
       31-0-ratedrefund (calculated on a daily basis) for the cancelled portion of the
       nembershp, and refrain from charging any account, billing, or otherwise
       zollecting or attempting to collect any payment, for each consumer who, w i t h
       me hundred twenty (120) days after entry of this Order, or within thu-ty (30) days
       ~fterreceiving the Notice of Right to Cancel, whchever is later, requests
        errnination of his or her membershp, in any manner, in response to a Notice of
       iight to Cancel, or who otherwise demonstrates that he or she is eligible to cancel
       lis or her membershp. W i t h fifteen (15) days after receiving a request for
       -efund,Defendant shall provide the refund by mailing a check via first class mail,
       lostage prepaid, or by crediting the consumer's credit or debit card account, at the
       ;onsumer's option. Defendant shall enclose each refund check in an envelope that
       lisplays on its front, clearly and conspicuously, the words " R E F m CHECK
       ZNCLOSED." No other mformation shall be included or added to the mailing,
       :xcept that Defendant may provide explanatory mfomation relating to the refund.
             D.    For a period of two hundred and fifty five (255) days from the date of
       :ntry of t h s Order, Defendant shall provide and adequately staff during ordinary
       msiness hours, a toll-free teiephone number to answer questions, provide
       nformation, and accept requests for termination of membershp andlor refunds
       ~ursuantto t h s Order. Defendant shall also provide an email address at v ~ h c h


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       2onsumers can ask questions, request information and request termination of
       membership and/or refunds pursuant to t h ~ Order.
                                                   s      Defendant shall send an
       mtomated reply message to each consumer who sends an email to that email
       3ddress acknowledging receipt of the email and stating that Defendant will responc
       LO   each question and request received at such email address within two (2) busines:
       jays of receipt. Defendant shall respond to each question and request received at
       such email address w i t h two (2) business days of receipt.
               E.    The accounts upon whch any refund checks are drawn shall remain
       3pen for at least ninety (90) days after Defendant sends such refund checks.
               F.    Within ten (10) business days after entry of this Order, Defendant sha:
       ?ay nine hundred and fifty thousand dollars ($950,000) to the Commission. In
       2ddition, in the event that any refund checks issued pursuant to this Subparagraph
       [I.remain uncashed ninety (90) days after Defendant sends such refund checks, or
       wo hundred ten (210) days after entry of this Order, whichever is later, Defendant
       shall pay to the Commission the amount of those uncashed checks. The
       2ommission may apply the funds paid pursuant to this Subparagraph 1I.F. for such
       ~therequitable relief (including additional consumer restitution and consumer
       nfonnation remedies) as it determines to be reasonably related to Defendant's
       x-actices as alleged in the Complaint. Any funds not used for such equitable relief
       will be deposited with the United States Treasury as disgorgement. Defendant
       ;hall have no right to challenge the Commission's choice of remedies under t h s
       Subparagraph 1I.F. No portion of any payments under this Order shall be deemed :
       ~ayrnentof any fine, penalty, or punitive assessment.
               G.    W i t h two hundred and seventy (270) days after entry of this Order,
       Iefendant shall fimush to the Commission the following:
                     1.     thetotalnumberof:


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                                consumers whose credit or debit card account was
                                credited pursuant to Subparagraph 1I.B.1., and the date
                                issued and amount of each credit;
                                consumers who were sent a Notice of Refund by email
                                pursuant to Subparagraph II.B.2.;
                                consumers who failed to open the emailed Notice of
                                Rehd;
                                consumers who were sent a Notice of Refund by
                                first-class mail pursuant to Subparagraph II.B.3.;
                                consumers who were sent a refund check pursuant to
                                Subparagraph II.B.4., and the amount, check number, anc
                                mailing date of each check;
                                consumers who cashed, deposited, or otherwise redeemec
                                their refund checks;
                                consumers who were sent a Notice of Right to Cancel by
                                email pursuant to Subparagraph II.C. 1.;
                                consumers who failed to open the emailed Notice of
                                Right to Cancel;
                                consumers who were sent a Notice of Right to Cancel by
                                first-class mail pursuant to Subparagraph II.C.2.;
                                consumers who requested termination of their
                                membership in the CCM;
                                consumers whose credit or debit card account was
                                credited with a pro-rated refund pursuant to Subparagrap1
                                II.C., and the date issued and amount of each credit;
                                consumers who were sent a pro-rated refund check


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                                     pursuant to Subparagraph II.C., and the amount, check
                                     nurnber, and mailing date of each check;
                              m.     consumers who cashed, deposited, or otherwise redeemed
                                     their pro-rated refund checks; and
                              n.     "undeliverable" notices mailed to consumers pursuant to
                                     t h s order and returned to Defendant.
                 2.    Defendant shall provide on request from the Commission, withn ten
      1 (10) business days, in computer readable form and in computer print-out forrn:
                              the identity of any consumer that is included in Subparagraph
                              1I.G.1;
                              all other documents and records evidencing efforts made and
                              actions taken by Defendant to identify, locate, contact, and
                              provide refunds to persons eligible to receive refunds pursuant
                              to Subparagraph 1I.A. and 1I.B; and
                              all other documents and records evidencing efforts made and
                              actions taken by Defendant to identify, locate, contact, and
                              provide refunds to persons eligible to cancel their membership
                              pursuant to Subparagraph D.C;
      I
                H.     Defendant may destroy all records relating to the distribution of tlns
      consumer redress six (6) years after the last of the funds are credited, delivered to
      I

          the Commission, or delivered to the FTC Treasury account, provided that, no
          records shall be destroyed unless and until a representative of the Commission has
          received and approved the final accounting report pertaining to Defendant's
          payment. Records shall be destroyed in accordance with disposal methods and
          procedures to be specified by the Commission. The Commission may, in its sole
          discretion, require that such records, in whole or in part, be transferred, in lieu of


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       destruction, to the Commission.


                            m[.    RELIANCE ON DISCLOSURES
                    IT IS FURTHER ORDERED that:
             A.     The Commission's agreement to this Order is expressly premised upon
       the truthfulness, accuracy, and completeness of the consumer complaint, refund,
       purchase data, and other information provided by Defendant and dated June 24,
       2005. Such data constitute material information relied upon by the Commission in
       negotiating and agreeing to the terms of this Order.
             B.     If, upon motion by the Commission, t h s Court finds that Defendant
       made any material misrepresentation in or omitted material information fkom the
       data provided, t h s matter shall be reopened to allow Plaintiff to show that
       additional relief, including but not limited to additional equitable monetary relief,
       Zonsumer restitution, or disgorgement of ill-gotten gains should be entered against
       Defendant. Plaintiff shall have the right to engage in reasonable discovery for t h s
       purpose. Upon a sufficient showing by .Plaintiff, the Court shall enter a revised
       3rder against Defendant, which will become immediately due and payable, in
       zddition to such other ancillary relief the Cowt deems proper.
             C.    h the event t h s matter is reopened pursuant to t h s Paragraph ID,
       Defendant shall have no right to seek modification or abrogation of t h s Order, and
       311 other Paragraphs of this agreement and Order shall remain in full force and
       2ffect unless otherwise ordered by this Cowt.
             D.    Any proceedings instituted under t h s Paragraph III are in addition to,
       md not in lieu of, any other civil or criminal remedies as may be provided by law,
       ncluding any other proceedings that the FTC may initiate to enforce this Order.
             E.    For purposes of t k s Paragraph IT[ and any subsequent proceedings to


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       enforce payment, including but not limited to a non-dischargeability complaint
       filed in a bankruptcy proceeding, Defendant waives any right to contest any of the
       allegations in the Commission's Complaint.


                            N.     COMPLIANCE MONITORING
                   IT IS FURTHER ORDERED that, for the purpose of monitoring anc
       investigating compliance with any provision of this Order,
             A.    W i t h fifteen (15) days of receipt of written notice fiom a
       representative of the Commission, Defendant shall submit additional written
       reports, sworn to under penalty of perjury; produce documents for inspection and
       2opying; appear for deposition; andlor provide entry during normal business hours
       to any business location in Defendant's possession or direct or indirect control, to
       inspect the business operation.
             B.    In addition, the Commission is authorized to monitor compliance with
       :hs Order by all other lawful means, including but not limited to the following:
                    1.    obtaining discovery fiom any person, without further leave of
       Zom, using the procedures prescribed by Fed. R. Civ. P. 30,3 1,33,34,36, and
       45.
                   2.     posing as consumers and suppliers to Defendant, Defendant's
       xnployees, or any other entity managed or controlled in whole or in part by
       Defendant, without the necessity of identification or prior notice.
             C.    Defendant shall permit representatives of the Commission to interviem
       my employer, consultant, independent contractor, representative, agent, or
       xnployee who has agreed to such an interview, relating in any way to any conduct
       subject to this Order. The person interviewed may have counsel present.
             Provided that nothing in t h s Order shall limit the Commission's lav~fuluse


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       3f compulsory process, pursuant to Sections 9 and 20 of the FTC Act, 15 U.S.C.         $5
       49,57b- 1, to obtain any documentary material, tangible things, testimony, or
       information relevant to unfair or deceptive acts or practices in or affecting
       zommerce ( w i t h the meaning of 15 U.S.C. 5 45(a)(l)).


                    V.    COMPLIANCE REPORTING BY DEFENDANT
               IT IS FURTHER ORDERED that, in order that compliance with the
       xovisions of this Order may be monitored:
               A.   For a period of three (3) years from the date of entry of t h s Order,
       Defendant shall notify the Commission of any changes in corporate structure that
       nay affect compliance obligations arising under t h s Order, including but not
       ,imited to a dissolution, assignment, sale, merger, or other action that would result
       m the emergence of a successor entity; the creation or dissolution of a subsidmy,
       xirent, or affiliate that engages in any acts or practices that are subject to t h s
       3rder; the filing of a bankruptcy petition; or a change in the corporate name or
       ~ddress,at least thnty (30) days prior to such change, provided that, with respect to
       my proposed change in the corporation about whch Defendant learns less than
       :hrty(30) days prior to the date such action is to take place, Defendant shall notify
       ;he Commission as soon as is practicable after obtaining such knowledge.
               B.   Three hundred (300) days after the date of entry of t h s Order,
       Defendant shall provide a written report to the FTC, sworn to under penalty of
       ~erjury,setting forth in detail the manner and form in which it has complied and is
       :omplying with t h s Order. Trvs report shall include, but not be limited to:
                    1.     any changes required to be reported pursuant to Subparagraph
       V. A.
                    2.     a copy of each acknowledgment of receipt of t h s Order


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       ~btainedpursuant to Paragraph VII.
                    3.    the total amount of consumer restitution paid to Consumerinfo
       2ustomers under Paragraph 11.
             C.    For the purposes of t h s Order, Defendant shall, unless otherwise
       iirected by the Commission's authorized representatives, mail all written
       notifications to the Commission to:
                   Western Re ion, Federal Trade Commission
                               8,
                   10877 Wils e Boulevard, Suite 700
                   Los An eles, California 90024
                   RE: F?C v. Consumerinfo.com, Inc.

             D.    For purposes of the compliance reporting and monitoring required by
       ;his Order, the Commission is authorized to communicate directly with Defendant.


                                  VI. RECORD KEEPING
             IT IS FURTHER ORDERED that, for a period of six (6) years from the
       late of entry of this Order, in connection with any business where Defendant is the
       najority owner of the business or directly or indirectly manages or controls the
       msiness, Defendant and its agents, employees, officers, corporations, successors,
       md assigns, and those persons in_ active concert or participation with them who
       meceive actual notice of this Order by personal service or otherwise, are hereby
       sestrained and enjoined from failing to create and retain the following records:
             A.    Accounting records that reflect the cost of goods or services sold,
       -evenuesgenerated, and the disbursement of such revenues.
             B.    Personnel records accurately reflecting: the name, address, and
       elephone number of each person employed in any capacity by such business; that
       ~erson'sjob title or position; the date upon which the person commenced work; anc
       he date and reason for the person's ternination, if applicable.


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             C.     Customer files containing the names, addresses, phone numbers, dolla:
       amounts paid, quantity of items or senices purchased, and description of items or
       services purchased, to the extent such information is obtained in the ordinary
       course of business.
             D.     Complaints and refund requests (whether received drectly, indirectly
       or through any thud party) and any responses to those complaints or requests.
             E.     Copies of all sales scripts, training materials, advertisements, or other
       marketing materials.
             F.     All records and docurnents necessary to demonstrate full compliance
       with each provision of t h s Order, including but not limited to, copies of
       acknowledgments of receipt of this Order, required by Paragraphs VII and VIII,
       and all reports submitted to the FTC pwsuant to Paragraphs I1 and V.


                   VII.      DISTRIBUTION OF ORDER BY DEFENDANT
             IT IS FURTaER ORDERED that, for a period of three (3) years from the
       date of entry of this Order, Defendant shall deliver copies of this Order as directed
       below:
             A.     Defendant shall deliver a copy sf this Order to all of its principals,
       officers, and directors, and to all managers who have responsibility directly or
       indirectly for any matters covered by t h s Order. Defendant also shall deliver an
       accurate summary of this Order to all of its employees who are engaged in conduct
       related to the advertising, marketing, sale, or delivery of, or who respond to
       consumer complaints or inquiries regarding consumer reports, credit scores, or any
       credit monitoring program. For current personnel, delivery shall be within five (5)
       days of service of t h s Order upon Defendant. For new personnel, delivery shall
       occur prior to them assuming their responsibilities.


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             B.      Defendant must secure a signed and dated statement acknowledging
       receipt of t h s Order, witlun thnty (30) days of delivery, from all persons receiving
       a copy of the Order pursuant to tlus Paragraph VII.


                  VIII.   ACKNOWLEDGMENT OF RECEIPT OF ORDER
                                         BY DEFENDANT
             IT IS FURTKER ORDERED that Defendant, witlun five ( 5 ) business days
       of receipt of t h s Order as entered by the Court, must submit to the Commission a
       truthful sworn statement acknowledging receipt of this Order, in the form shown or
       Attachment H.


                            ICX.   RETENTION OF JURISDICTION
             IT IS FURTEIER ORDERED that this Court shall retain jurisdiction of this
       matter for purposes of construction, modification, and enforcement of this Order.


                            X.     COSTS AND ATTORNEYS' FEES
             IT IS FUXTHER ORDERED b a t each party shall bear its own costs and
       attorneys fees incurred in connection with tlus action.


                            XI.    NOTICE OF ENTRY OF ORDER
             IT IS FURTEPER ORDERED that entry in the docket of t h s Order by the
       Clerk of Court shall constitute notice to Defendant of the terms and conditions of
       tlus Order, and that Defendant waives all rights to contest in any future proceeding
       whether Defendant was properly served with this Order.

             The parties hereby stipulate to the entry of the foregoing Order, which shall
       constitute a fmal Order in t h s action.

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          IT IS SO ORDERED:
          Dated this    day of                           ,2005.




                                             United States District Judge
          STIPULATED BY:



          Thomas J. Syta, Esq.               Consmerinfo.com dba Experian
          Raymond E. McKown, Esq.            Consumer Direct, Qspace, Inc., and
          Jennifer M. Brennan, Esq.          Iplace, Inc.
          Attorneys for Plaintiff            by: Edward S. Ojdana
          Federal Trade Commission           Chief Executive Officer



                                            '6y: Richard gabowski, Esq.
                                             P,ttfimey for the Defe~dmt
                                             Jones Day
                                             3 Park Plaza, Suite 1100
                                             Irvine, California 926 14-8505



                                             by: Anne P. Fortney, Esq.
                                             Attorney for the Defendant
                                             Hudson Cook, LLF
                                             1900 M Street, N.W., Suite 700
                                             Washington, D.C. 20036

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                                         ATTACHMENT A
                              NOTICE OF CREDITING OF ACCOUNT



     5

     6
               Our records show that you received a free credit report fiom
         Consumerinfo.com or Freecreditreport.com sometime between November 1,2000
         and September 15,2003.
               Our free credit report promotion came with a 30-day trial membership in our
         [name of credit monitoring program] credit monitoring program. After 30 days,
         unless you cancelled, we automatically enrolled you in the credit monitoring
         program at an annual fee of $79.95. The Federal Trade Commission (FTC) has
         alleged that we did not make clear to consumers that they needed to cancel the trial
         membership to avoid being charged.
               According to our records, you either cancelled your credit monitoring
         program membershp or questioned the billing for the credit monitoring program,
         but didn't receive a hll refund. Although we disagree with the FTC's charges, we
         also want satisfied customers. Therefore, we have reached an agreement with the
         FTC to pay full refunds to customers like you. We have credited your [credit]
         [debit] card account in the amount of the annual fee for the applicable year, less
         any amount you may have already received. Your credit should appear on your car
         statement shortly.
               If you have any questions, please send an e-mail to
                                       . We will respond within two business days.
                                                Sincerely,


                                                Consumerulfo.com, Inc.
                                                                                              r
                                             Page 29 of 41
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                                             ATTACHR/IENT B
                                           NOTICE OF WEFUND




        I1(         Our records show that you received a fiee credit report fiom
              consurnerinfo.com or Freecreditreport.com sometime between November 1,2000           1
        1 and September 15,2003.                                                                   I
              Our fiee credit report promotion came with a 30-day trial membership in our [name
    9         of credit monitoring program] credit monitoring program. After 30 days, unless
   10 you cancelled, we automatically enrolled you in the credit monitoring program at

   11 an annual fee of $79.95. The Federal Trade Commission (FTC) has alleged that we

   12 did not make clear to consumers that they needed to cancel the trial membershp to

   13 avoid being charged.

   14               According to our records, you either cancelled your credit monitoring
   15 program membershp or questioned the billing for the credit monitoring program,

   16 but didn't receive a full refund. Although we disagree with the FTC's charges, we

   l7   1 also want satisfied customers. Therefore, we have reached an agreement with the /
   18 FTC to pay full refunds to customers like you.

   19               To receive your refund, please do one of the following:
   20
                    *     Reply to t h s email with your full name, address, and daytime
   21
         ~                telephone number, or write to the address listed below. We will mail a
                          checlc to the address you give us; or


                    @
                          Call us toll-fiee at [number] Monday through Friday between 9:00
                          a.m. and 5:00 p.m. (Pacific time).

   27
        1    Once we receive your information, we will provide your refund within a few
                                                                                                I
        Ilweelcs. The refund will be in the amount of the annual fee for the applicable year,
                                                                                                I
                                                 Page 30 of 41
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        1
            less any refund you may have already received. You must send us your request
     2
            within         days to be eligible for a refund.
     3
                    If you have any questions, please send an e-mail to
     4
                                                         . We will respond w i t h two business
            days.
     6

     7                                             Sincerely,
     8

    9                                              Consumerinfo.corn, Inc .
   10                                              [address]
   11
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                                       ATTACHMENT C
                                     NOTICE OF WIEFW


       ]ear [NAME]:
             Our records show that you received a free credit report from
       ~onsumerinfo.comor Freecreditreport.com sometime between November 1,2000
       md September 15,2003.
             Our free credit report promotion came with a 30-day trial membership in our
        name of credit monitoring program] credit monitoring program. After 30 days,
       mless you cancelled, we automatically enrolled you in the credit monitoring
       rogram at an annual fee of $79.95. The Federal Trade Cornmission (FTC) has
       ~llegedthat we did not make clear to consumers that they needed to cancel the trial
       nembership to avoid being charged.
            According to our records, you either cancelled your credit monitoring
       Irogram membershp or questioned the billing for the credit monitoring program,
       jut didn't receive a full refund. Although we disagree with the FTC's charges, we
       dso want satisfied customers. Therefore, we have reached an agreement with the
       7TC to pay full refunds to customers like you. To receive your refund, please fill
       but the enclosed application form and return it to us at the address listed on the
       orm, or call us toll-free at [number] Monday through Friday between 9:00 a.m. an(
       ;:00p.m. (Pacific Time). Once we receive your information, we will provide your
       efund within a few weeks. The refund will be in the amount of the annual fee for
       he applicable year, less any refund you may have already received. You must senc
       1s your request within                 days to be eligible for a refund.
            If you have any questions, please send an e-mail to
                                               . We will respond within two business days



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                                            Sincerely,


                                            Consumerinfo.corn, Inc.


                                   APPLICATION FORM
       To request your refund, fill out the infomation below and return it to the address
       In ths form. Note: this form must be returned by [date]



       4ddress:
       Zity, State and Zip Code:
       Daytlme phone number:          0

       Clonsuerinfo.corn, Inc.
       peturn address]




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        1
                                       ATTACHMENT D
       2
       3

            Consumerinfo.corn
            [address]
       6

    7

            FORWARDING AND RETURN POSTAGE GUARANTEED
    9
   10
   11
   12
   13                                              [Address or address window]
   14
   15
   16 ATTENTION: REFUND INFORMATION ENCLOSED FOR
   17 CREDIT Pi4OPWl'ORP-JGCUSTOPVEEW
   18

   19
   20
   21

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                                      ATTACKMENT E
                              NOTICE OF JUGHI' TO CANCEL


       >ear W E ] :
             Our records show that you received a free credit report from
       lonsumerinfo.com or Freecreditreport.com and are a current customer of our
       name of credit monitoring program] credit monitoring program.
             Our free credit report promotion came with a 30-day trial membership in our
       name of credit monitoring program] credit monitoring program. After 30 days,
       lnless you cancelled, we automatically enrolled you in the credit monitoring
       )rogram at an annual fee of $79.95. The Federal Trade Commission (FTC) has
       llleged that we &d not make clear to consumers that they needed to cancel the trial
       nembership to avoid being charged.
             Although we disagree with the FTC's charges, we also want satisfied
       ustomers. Therefore, we have reached an agreement with the FTC to allow
       :ustomerslike you to cancel their credit monitoring program and receive a refund
       br the -iimedpiirtien ~f the members'IIip.
             If you would llke to continue your membershp, you don't need to respond.
       Ve will continue to charge your account the annual fee of $79.95. If you would
       ike to cancel your membership and receive a refund, please do one of the
       ollowing:


                   Reply to t h s email with your full name, address, and damme
                   telephone number, or write to the address listed below. We will cance:
                   your membershp and mail a r e b d check to the address you give us.
             •     Call us toll-fiee at [number] Monday through Friday between 9:00
                   a.m. and 5:00 p.m. (Pacific time).


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                Once we receive your information, we will provide your refund witlvn a few
        ~ e e k s .The refund will be in the am-ount of the unused portion of your current
        nemberslvp terrn. You must send us your request within              days to be
        :Iligiblle for a refund.


                If you have any questions, please send an e-mail to
                                                     . We will respond within two business
        iays.


                                               Sincerely,


                                               Consumerinfo.com, Inc.
                                               [address]




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                                             ATTACHMENT F
                                        NOTICE OF -RIGHT TO CANCEL
                   Dear WAME]:


                    Ow records show that you received a fiee credit report fiom
         1 ~onsumerinfo.comor Freecreditreport.com and are a current customer of our                    I
         1 [name of credit monitoring program] credit monitoring program.                               I
                   Our fiee credit report promotion came with a 30-day trial membershp in our
         1 [name of credit monitoring program] credit monitoring program. After 30 days,
             unless you cancelled, we automatically enrolled you in the credit monitoring
             program at an annual fee of $79.95. The Federal Trade Commission (FTC) has
         Ilalleged that we did not make clear to consumers that they needed to cancel the trial
    14 llmembershp to avoid being charged.



    l6   1         Although we disagree with the FTC's charges, we also want satisfied

    l7   i customers like you to cancel their credit monitoring program and receive a refund i
             customers. Therefore, we have reached                            r ImLn to allow
                                                           agreement with the m

    l8   1 for the unused portion of the membershp.
   l9    1                                                                                              I
                  If you would llke to continue your membershp, you don't need to respond.
         We will continue to charge your account the annual fee of $79.95. If you would
         like to cancel your membershp and receive a refund, please fill out the enclosed
             application form and return it to us at the address listed on the form, or call us toll-
         free at [number] Monday through Friday between 9:00 a.m. and 5:00 p.m. (Pacific
         Time). Once we receive your information, we will provide your rehnd within a fe
         weeks. The refund will be in the amount of the unused portion of your current



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       memberslvp term. You must send us your request within               days to be
       eligible for a refund.


               If you have any questions, please send an e-mail to
                                                     . We will respond withn two business
       jays.


                                               Sincerely,



                                              Consumerinfo.corn, Inc.


                                      APPLICATION FORM
               To cancel your credit monitoring program memberslvp and receive a partial
       =efimd,fill out the infomation below and return it to the address on t h s form.
       Vote: this form must be returned by [date]


       dame :
       Iddress:
       3ity, State and Zip Code:
       laytime phone number:         1


       2onsurnerinfo.com, Inc.
       Return address]




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                                       ATTACHMENT G



        2onsumerinfo.corn
        laddress]



        ?ORWARDINGAND RETURN POSTAGE GUARANTEED




                                                    [Address or address window]



        iTTENTION: IMPORTANT NOTICE ABOUT YOUR [name of
        :redit moiiitoririg program] CRZDIT P-OP-JIm
                                                   I umT4G
                                                     n n




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            I
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                                                  ATTACHMENT H


                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA

                FEDERAL TRADE COMMISSION,
                                   Plaintiff,
                                                                  AFFIDAVIT OF
                                                                  DEFENDANT
                                                                  CONSUMER.rNFO.COM
                CONSUMERINFO.COM., INC., a                        doin business as
                corporation,                                      EXPBRIAN   CONSUMER DIRECT,
                                                                  QSPACE, INC., and IPLACE, INC.
        Idoing business as

            QSPACE, INC.,
            and IPLACE INC.,


        I                          Defendant.


   l5   1           Dame of defendant's certifymg official], being duly sworn, hereby states and aflirms as
                                                                                                                   I
                    1.     My name is                                 . My current residence adciress is
                                                                        . I am a citizen of the United States
                                                                                                                   I
   l9   1   and am over the age of eighteen. I have personal knowledge of the facts set forth in this Af35davit.

   2o   1    2.      I am an officer of defendant Consumerinfo.com in FTC v. Consumerinfo.com
                                                                                                                   I
        I
   21 (United States District Court for the Central District of California).
                                                                                                                   I
   22   1           3.     On                              ,I received a copy of the Stipulated Final Judgment

   23   1   and Order for Permanent Injunction, which was signed by the Honorable
                                                                                                                   I
   24   1   and entered by the Court on                             . A true and correct copy of the Order I

   25   1   received is appended to this Affidavit.

   26   1           I declare under penalty of pejury under the laws of the United States that the foregoing is
            true and correct. Executed on                       ,2005, at
   27



        I                                             Page 40 of 41
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                                                     By:


       State of                           ,City of


              Subscribed and sworn to before me
              this           day of       ,2005.




                     Notary Public
                     My Commission Expires:




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                                                                                     EXHIBIT
                                                                                       A-5
Mike, Welcome to CreditUpdates.com
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   CreditUpdates.com Customer Support to mike                                                                                             5/19/16




                                                                                                                                EXHIBIT
                                                                                                                                  A-6


     Hi Mike,
     Welcome to Credit Updates!
      To help you get the most out of Credit Updates, here is a quick rundown of the features and benefits
      we have for you.




                             1. Get your updated credit report and credit score.




                             2. Review the factors that go into your credit score.




                             3. Daily monitoring and email alerts of changes to your credit report.



                             4.
                                  BONUS: Access thousands of coupons and discounts to local businesses.




     To Your Financial Health,

     The Credit Updates Team
     (800) 720­6627
     Daily from 5am ­ 9pm PST


     Thank you for enrolling in your 7-day trial membership to CreditUpdates.com. After your 7-day trial period you will be charged $29.94 every
     month until cancelled. If you wish to cancel just call us at (800) 720-6627 to stop your membership.




                                          You are receiving this email based on a recent visit to Credit Updates.
                                             Credit Updates | 340 S. Lemon Ave #8111 | Walnut, CA | 91789
                                                © Copyright 2016 Credit Updates. All Rights Reserved.
Case:
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                     Document#:#:133-1 Filed: 01/10/17
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                                                                             #:2832


   Terms and Conditions - eFreeScore,com                                                                                                                                    Page    I of8



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     ffifrrw*ffi#ffirffi                                                   HOME          FEATURES            FAO             REVIEWS                ABOUT          US        CONTACI




     Terms and Cond itions                                                                                                                                           EXHIBIT
                                                                                                                                                                      A-7
   RevrEed Augusr 1, 20 1 5

   ACCEPTANCI OF TERMS

   Thele Telm5 and conditions ("Tems aod canditions" or "Agr*mcnt") apply to ali: (a) transactior$ thro{gh thc eFressr€.mm website.nd
                                                                                                                                             all otherwebsites
   owned 8nd op€rated eFreescore, including, but nol limitsd tq your purchae of the membership irassd products knom as eFreescor€.com (mllstively,
                                                                                                                                                         the
   'Pioduct$"); (b) your acsss to atd use of the w€bsites lffited at eFr*Scor€,com (the "Product website"); and (d) your
                                                                                                                         scmss to and use of calcuietors, cmdit
   resources, lext, pictures, graphics, iogo*. bulton ilenE, icons, images, wo*s of authorehip ond other infomation and oll revi$ion$, modificotiong,
                                                                                                                                                      and enhancements
   thereto (the "Contenr"),

   YOUR ORDER OF, USE OF, ANO ACCESS TO,         IHE PROOUCTS, PRODUCT WEBSITTS ANO CONTENT               ARE SUBJECT TO ALL             IERMS ANO CONDITIONS CONTAINED
   HEBEIN AND ALL APPLICABLE LAWS AND REGULAIIONS.              PLEASE BEAD THESE T€BMS AND CONOITIONS CAREFULLY, YOUR OBOEB OF, ACCEPTANCE OF. USE OF,
   AND/OR ACCESS TO, THE PRODUCTS,  PRODUfi WEBSITES AND/OR CONTENT CONSTITUTES YOUB AGREEMENT TO ABIDE BY EACH OF THE TERMS AND
   CONSITIONS SET FOBTH HEREIN. IF YOU DO NOT AGfiEE WITH ANY OF THESE TgRMS OR COND'TIONS. DO NOT ORDEB, USE OR ACCESS ANY PBODUCI,
   PRODUCT WEBSITE OR CONTENT, OR ANY OF THE INFORMATION W'THIN THE PRODUCT, PRODUCT WEBS|TE, OR CONTENT, DISCABO THE
                                                                                                                         PBODUCTS YOU
   hECE|VEO IMMEDIATELY AND CALL CUSTOMER SIRVICE AT (gOO)               934-I938 TO CANCEL YOUR MEMBERSHIP.

   Tlli$ Agreement olay br updaled from time lo timr. online custosers should chcck the Producr websitG regularly for updates to these lerms and conditions,
                                                                                                                                                             Each
   time you ordel, aGss or use any of the Product$, Producl Web$ites, and/ol Cqntent, ym signify your aceplanco and agrsmffi( without               qualification,limitation or
   lo be bound by the then aurrfnt Agreemfrt,

   U5E OF THE PRODUCTS

   ln sn$ideration ofyour ordcr of, acess to. and/or qse ol &f,y Product, Pbduct website, and,/or Content you agr* to prryide true. accurite, smpletc
                                                                                                                                                         ahd curent
   information abour youroelf end any minor childr.n you aE en6lling, or havc enrollxl, in any Product, wtren p.ompted to do ro by the ,egisrntion {nd applisatioft
   forms ol,€quest€d to de so by eFresao.€. By rcgiste.ing, you cenify that you ate eighteen (18) y€ar$ ot age or oldfl, Itaoy information you provide is untrue,
   iraccuiate ol rot current, or il cFreeSere has reasonable gtounds to susp€ct th*t such inromation is unlrue, inaeu(ate or noi curnnt, eFr&g6re, at its sole
   diecretion, has tha rigill to su6pend or terminola your order of, uss of, andlor access to, any Produc! Prcduet website aDd/or content, ond refus6 sll curr€nt or
                                                                                                                                                                     future
   orders of, u6€ ot' aM/or o$oss to, any product. product Websit€ ond/or contcrt, or suopcnd or terminoto any ponion therct, Fu.th6r, you agrs that eF{rescore
   will not be liable to you, your minor children er any third party if eFresmre surpcndB or teminates your ordcr of, uss of, or ac*e6 to any produci, product yJebsites
   or Content, or any porlion ther&{, fot any rcason.

  You understand and agree lhat by submitting ywr order you arc providing 'witten irctrtctions" to Csldcntity Corporation ("CS|D") and its mployes.
                                                                                                                                                           agents,
  subsidiariea, affiliates, @n$8ctols, third psny data source$ and suppliers, and all other crcdil rcponing slEncies under ihe F.ir credit Reporting Act (FCRA),
                                                                                                                                                                 as
  smendEd, to access your Eredat tiles ,rom e{ch national credit reporting agency and to exchang? infotmation abflt you with each such nationa,
                                                                                                                                                    credit reponing
  agency in o.der to verify your identity and to provide the prcducls snd/or $ervices to yos. Yo( agree and hereby authorize cslo, its ag€nts and employees. to provide
  your paoonally identifisble information (or. i{ applicable, information sbout your child you hrve €nrolled) to third parries a$ provided in
                                                                                                                                                our privacy policy. as may be
  smerded ,rom tinE lo time. You waivE rny snd all clsims agoinst cSlD and its ogerE ond employ*s tor the octs or omio$ions of thesc third partis with regard
                                                                                                                                                                          to
  ti)e us€ or disclosure of such informrtion. Your further authqize CSID and its agent$ ond €mploye€s to obtain varioug inlormarion and rcporte about you (or
                                                                                                                                                                      about
  your child that you have enrolled, il applicable) in ordcr lo Faovi.le the prcducts ardlor seruices, including, but rct limited to, sddres$ history rpong name
                                                                                                                                                                     and olias
  tepett$, crimina, tetrorts or sex otle,tdea reports, and to provid€ monitoring and alens.

  while entolliog lor the prodwts and/orServices, we will nsk you for the following typs of in{ormdtion: contact infomation (such as nam, addrcss, phone number,
  and e'mai! addrers); acnsilive infotmatioo (suqh as dale of birth, dr;vcr's liense number and gocial secsrity number); personal informadon to yerify yoqr identity
  and financi8l informstion (such as ct€dit Eard number)- This inlormation is required in order ts verily your identity. chrrge you the igr"ed upon fm for our productl
  and seryiG$, nnd lo tulfill our obiigaiion to provide wr products and scryicss to y@, including communi€ting wirh third particc es neceseary to provide such




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     product$         serYice$, $uch as   identitimtion verification comp{nies, consumcr reporting ag&cies, payment yalidatiff @mpanies, law enforcement
                'nd                                                                                                                                      agencrcs, o,
    othsrs

    ARBITRATION

    YOU UNOEBSTANO AND AGREE TI.IAT ALL CLAIMS. DISPUTES OR CONTROVEBS'ES BETWEEN YOU
                                                                                              EFT*SCOTE, AND ITS PARENTS, AFFILIATES, SUBSIDIARIES
    OR RELATED COMPANIES, INCLUO'NG BUT NOT LIMITED TO TORT AND CONTRACT CLAIMS, CLAIMS''ND
                                                                                           BASED UPON ANY FEDERAL, STATE OR LOCAL STATUTE,
    LAW. OBDER, OBDINANCE OR REGULATION. AND THE ISSUE OF ARBITRABILITY, SHALL BE RE'SOLVED BY
                                                                                                FINAL AND BINDING ARSITRATION AT A LOCATION
    DfiEXMINED BY THE AfiBITRATOR. ANY CONIROVERSY CONCEBNING WHITHER A DISPUTE IS ARBITRABLE SHALL BE
                                                                                                             DEIERMINED BY THE ARBII&(TOR AND
    NOT BY THE COURT, JUDGMENT UPON ANY AWARO RENO€BED BY THE ASBITRATOR MAY 8E ENTEBTS
                                                                                               BY ANY STATE OR FEDERAL COUST HAVING
    JURISOICTION TXEREOF, THIS ARBITRATION CONTRACT IS MAOE PURSUANT TO A TfrANSACTION IN
                                                                                            INTEBSTATE COi/|i.IERCE ANO ITS INTERPBETATION,
    APpLICATION, ENF0RCEMENT AND PROCEEDINGS HEBEUNDES SHALL AE GOVERNEO 8y THE FEDERAL ARBITRAI|ON ACT
                                                                                                             fFAA1. NEITHER yOU (NOR ANy OF
    YOUR MINOR CHILDREN) NOR IFTEESCOTC SHALL BE ENTITLEO TO JOIN OR CONSOLIOATE CLAIMS
                                                                                        IN ABBITRATION BY OR AGAINS.T OTH'B CON$UMERS OR
    ANBITRATE ANY CLAIM AS A REPRESENTATIVE OR MTMB€fr OF A CLA$S OR IN A PRIVATE ATTORNEY
                                                                                            GENEFAL CAPACITY, THE PARIIES VOLUN}A8ILY ANO
    KNOWINGLY WAIVE ANY B16HT THEY HAVE TO A JUBY TRIAL,

    FCRA OISCLOSUftES

    The F0RA allows yo{ to obtain a       spy   of all ol the infotmslion in your onrumer credit file disclosure lrom any consumer emdit reporting company
                                                                                                                                                            lor a reasonable
    charge. The FCBA also states that individuals are lntitled to receiv€       I disclosure directly {rom the consumer oedit reponing company lreo of charge und€r the
    {ollowing circumstances:

    You haye    b&n denied oedi!, insurance or employront            in tho past 60 days as a   Gsutt of ,our rcport
      l'   Yo!certifyinwriiingtlElyo{aEunemployrdnndinlendtoapplyto..mp,oymeilinthe60-d.yp.riodbeginnirlEonth.<i0yyounraketheccrtific.llon
      ?,   You are a recipient ol pqblic welfare assist6nq,

      3.   Yoq h6ve reasoo to believe thal yonr rile at thq   alercy contain$ inscourate infgrmEtion due ro fraud
    The FCRA also pemits con$umers to dispute imccurste intomation in th€ir credit report without chargr, Accuaro
                                                                                                                  informotion Bnnot be changed, yo! do not hoye
    to purcha6e ysur credil reFora or o1h.t infotmatiot ftos eFwsore to diBpute inaccurate or inmmplete infomradon i,) yaurTransunion
                                                                                                                                      lile or to receivc a copy of
    your Transqnion cot)sum$ disclosure,

    The credit reFort you are requesting from       cFrescore is not intended to constituta the disclosure sl Transqnion information reqqired by the FcRA or similat
                                                                                                                                                                     $tate
    laws. This disciooure repori must be obtainsd directly from          r   credit bureau such ss Transunion by going to
    httir$:/ldisclosure.transunion.com,/dcldisclosure/disclosurejsp, or by calling gOO-ggg-4?1 3,

    The FcRA allows con6umers to grt one tlce compr€hensivo dioclGure of all ot the informsrion in their credit file fron! coch
                                                                                                                                of the thrce nation.l credit r€poning
    companies (Experial, Equitax, and Transunion) onca w€ry 1? monlhs lhrough a central source, Gsorgia rcsidont$ can
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    cpoplelEnsive, lhe credit r€ponB ,rcm eBch o{ lhe three nstional credit reponirg co,npanies that are available from eFreescore may
                                                                                                                                            not have the samf intormaiio,)
    a$ a qredit report obtained dirEclly fto,n the three national ctedit repo.ting companies or through thc central
                                                                                                                    rource. To requst your frce anlual ,rport under the
    FCRA, you musl go to ww.annualcreditrepon.com, or call 8?7-322-8?28. eFre$cqe'6 Product are noa
                                                                                                                 teiatcd to thetlee FCRA disclosure      you    thst   are or   fiay bc
   entitled to.

   MODIFICATION OF PRODUCTS

              may, al it$ dissetion, modify ol di$continue any of the ptoducts, Product wrbsites or content or any portion th"raof,
   'Froescore                                                                                                                            with or without notice. you agBe
   that eFrescore will not be iisble to you or ony tlrird pgrty {or any modification or discontinuarcc of aily of the produc(s, product
                                                                                                                                        websiie$ or conlsnt.

   NSTICE OF PROSECUTION

   Fot online custqmers, acceas to and use of pasewold prot*ted ard/o, sccure areas of thr ProduEt itebtites
                                                                                                             are resticted to authorized users only. unasthorired
   individuals attempting to acess rhee€ arear ol the producl wcbsites may be subjfft to prosccurion.

   Failure lo comply with the FCRA can result in stat? or tcderol cntorcem"nt actions, as well os privote lawsuits. ltr
                                                                                                                        sddition, any person who knowingly and willlully
   obtains a consums crodit report or disclorurc undar falsr pretmses may face criminal pros*ution.

   SECURITY MEASURESANO            I,UTHENTICATION

   Beqause eFrees@re usee stcurily measures designed to pratea your privacy aad io safegusrd your infomation, cFrescor€
                                                                                                                                may mt alw.ys be able ro $ucessfully
   pEvide Products to ya, including instant onlinc dclivary of your credir bport for online customerc, For example,
                                                                                                                    for cenain online products, when rhe system ie
   (nsble to vcrify your iddnt,iy, you may be routed through a manunl phone duthentication process.           products,
                                                                                                                    For other      eFree$core annot offer a manual
   authcnlietion prcess and will        be unable lo   fulfill all products in your menrberchip or order if you fail online authnntication one or more times.

   PERSONAL INFORMATION

   eFrte$core mEy use yaur personal informalion tq tlE extent neessary to procggs your trder and/or engage in busineg8 maintenance,




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   RTVIEW AND RECEIPT OF PfiIVACY I,IOTICE

   By   submitting you( order, you acknowledge rcceipt of ou, privacy Notice ofld aqre to its tem)s.

   ON-LIN€ REOUIHEMENTS

   You m{st hive an email address and a Java-smpatible brcwser such as NetscaFe Navigator 6,0 or higher, lnternet Expior€r 5.0 or higher, or AOL 8.0 or higher to
   receive your Products online. As an mline cssiomer, you are agreeing to rceive rll notifiqtions via email at th€ emaii address             6   file with eFrees6rc. To ensurc
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    result in imor*diate tcrmination of a,ly assqciared Produ.ls without roticc and i,) accordance with the termination provisior{6) in thesectioil entitl*d "Use of the
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    the Product that sas obtained inlproperly,

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    coNTENT OR MEMB€RSHlP SEr,rEFtTS. OR FROM YOUR ACCES$ IO, USE OF, iNAElLlTY IO USE, OR RELIANCE UPON ANv LiNKED WtB S|TE 0r AppLICABLE). wEN
    lF eFreescore l"rAS BEEN AOVISED OF THE POSSIBItITY OF THOSE DAMAGES. SOME JURISDICTIONS                       EIIH€R DO NOT ALLOW OR PLACE RESTRIfiiONS UpON THE
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    AGREE    THAT eFrsesare'S TOT,AL LIASILITY TO YOU FOB ANY OR ALL Or YOUR LOSSES OB INJURIES FSOM eFre€S@re S ACTS OR OMISSIONS, REGARDIESS OF
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    :ell, provide or perform any scrvice to yo( for the exprcss or implicd purpose of either improving your credit record, qredit history or credit rating or providing advie
    or assi$tance to you with rsgnrd to i$proving your credit rrcord, credit history or cEdit rEting. You acknowledge and agree thatyou are noi $eeking to purchase, use,
    or acceos any of the P.oducts, Product \ iebEite$, and Cont?nt in order to do so.

    Accurate advers€ infomatior       or1   your sedit report cannot be chonged. lf you believc that your crodit report contains inacarate, non-froudulst informalion, ir is
    your responsitriliry to conEct the relevlnt credil rcporting smpany, and tollow the appropri6te procedures lor notifying th€ credil repodng company thql yqu
    believe rhat your credit repox ecruins an ina*uracy. Any information provided to you regarding the procedutei foilffied by the variq{s credit reporting companie*


    pari of yo{r credit manitoring product bst is provided {ree of charge to all wnsumcrs, regardles ofwheths they are membars of the credit sore monitoring
    product.

    CBEDIT SCORE

    The credit score used ofi this site is a us€r-friendly c.edit score model devoloped by Tran$union to lnlp you         se   and unde.sland how l€nders view your crcdil
    worthiness. lt is not used by lendcrs, but ii io i,ldicatiye of your overall crcdit ri$k. Higher s@res reprcaent a greoter likelihaod that you'll pay back your debts !o you
    are viewed as being a   lqws crcdir risk to lerder$, A lower score indicatet to lendere thst you mty be a higher credit risk.

    There are   thre ditlereni   ma.ior credit reporting agencies, Exp€ri.n,   Tlansuriotr, and Eguifax that maintain a   rmrd   of your crcdit history   krcM   as your   uedit file.
    Yoqr Credit Scorc is baied on the information in your credit file at the time it iq req{ested. Ysur cEdit Rle information can vary lrom agency to agency b*ause some
    iender$ repon your credit hiltory ro only on€ or two of the ng€ncies. So your crcdit score can vary il the inlormation ftey have on liie lor you is diffeEnt. tnd sinG
    the information in your lile   en   change over time,    yqr   Credit Score msy b€ dilferent from day{o-dey.




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   Lendars and insurers use roveral different        crcdit scoring modrls so don't be surprised if your lender gives you a score that's diflerent from the credit score you
   reclivn online. Just remember th&t your associated risk lwel is gcnerally the ssme even it the number is not. lf the lender's score is lorer thsf, yo{r online scde, it i$
   possible thar this diffcrence can l€ad tq higher inlerest rotes and sonreimes credit deniol,

   REOISTIRING FOB ANY PBOBUCT

   To ruques! a credit repon or scere, or pwchsse any Product, you mu6t have an addreEe wirhin the Unired Slales, provide a valid Sociai Sailrity number, address,
   email address and date ol bidh afld agree to he bqund by these Tems and Conditions, ln other limiied circumstances, you may need to provide a valid tclephone
   number 90 thHt erreescore can proce$s yosr orde.. Yo( mu$t lrovid€ valid ryedit card information, eFreescor€ will thef, evaluate ycur omplete Ggistfition
   information.

    ln certain    jurisdictions scles tax at state and locai rates moy apply, in which case you may bn chargod the opplicable !axe$ in additior io the monthly fo€ ond/or lhe
   prim ol the product.

    $POUSE/ADULT CHILDREN NOT INCLUDEO

   eFreesmre is not ahle to accept and process joint registation lor two or more adults. Neither yo(r epoqse nor any other adult will be cnrolled in any Product
    pursuant to your ordcr.

    Not all version$ ol Product$ ioclude the same features. Plsn$e consult lhe gsswiat.d Prodsct lileratute snd/or Website for included Prod{cl ,€ature$, lf you                   lre
    already o memt[r, please iog in to the website for your applicohle Product teatures.

    CFEDIT MONITORING AND IDET.ITIIY ALERTS

    Yo(r membrrehip in credit monitoring andlor ldenrity Alen$(if applicable) is effective tor the pedod covered by your membership fee ind cantinues upon yo$
    payment of lhe monthly/annual renewal fee. Renewal fees for yoilr mcmhership will automalieally he chalged, at the lhen curr€fit r6tc. to the cradit card or other
    billing   so$e     authorized by you, on the first day of cnch succes$ive m€mbership ierm, until you anccl your membcr$hip, Should you ch@se to disontinue your
    memberehip for any reason be{ore expiralion of th? then applicable memb€rship term for which you have paid, you may cancel your membership and terminate
    fnrther billing by calling the toll-free numb€r lirted on this Weh Site or calli*g the number listld by the charge on yo$ bank statemcnt. Yos may only cancel you
    menruership by calling us or serding us a letter in the mail. Our call center hours of operatim aIe li$ted in the welcome emsil tnd on our wbsile. lfyou are on
    annual subscriber arrd choosr to cancri within 180 days of when you were billcd, you will b€ eligible to remive s porated re{und of your currenl            y€r's     membership
    {s.    lf you are a monthly subscriber and chocse to canel, your membeGhip rnd mmthly billing will tetminote ot the end of youa nronthly billirg lerm lnd you will not
    b€ eligible for a prorated rcfund of any pertion      ol your paid monthly rnembenhip fee. erreescors resewcs the right lo shange the membeBhip            f*     for any renewal

    lerD    Lo   be efrective upan the   reneml of y&r membership.

    Please note, there are       diffvent processing times across the credit r€porting companies, therefore you may not       be enrolled in all of them at the same time.    Manitoring
    with trsneunim beqins within 48 hour$ of errollment. Monitoring with Equilax andlor Experian takes approximately 4 day$ to begin . though in some caees cannot
    be initiatBd during the      trial period (if a trial period 8tplie$). eFreescore des not @ntrcl and i$ not responsible {or this enrollment proess.

    "this web site msy offer you the opponunity to upgrad6 your credit monitodng bcn6lii {rom singie-bureou monitoring to two-b{re!u or ihr€{-bureau moBitoring, Ar

    additional msnthly      fw    rrray apply. Only if you have previously upgraded your credit   monitoring bemfit to iwo-bureou or three-bursu moritoring will you havt lhe
    optlortunity ta downgrad€ thc benelit. You may do so by calling Customer Care at the ,lumber lisled on the Contact U$ page, lf you upgrade lot a                f*   and opt 1o
    dowrgrade, your menthly meobership will be updated in the next billifig cyele to reJlect the mrast bEnefit and membership fee. Yqu will not be entilled to                 I   refutrd,
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    Whrn ycu order a single bu.eau cfedit monitoring frroduct frqm eFrescore, eFrsscore sends a rcquest to CSID thnt Traf,sunion enroll you in its crcdit monitoring
    p.cEram. When you order a credir monitoring p.oduci (rcm elrsscore thot monitoro credit fiies at two or three credit bureaus,            $ends a tequ€st to CSID
                                                                                                                                  "Freescore
    thst Experian. Eq(ifax andlor Tran$Union enroli you in the credit monitoring progrom(s).

    lf your order of a,!y sinqle bureau credit nrmiioring product thru Transunion is trol able to enroll you, then you will not reccive alerts or sonitoring of change$ to your
    lransunion eredil tile but yeu ,rlsy reseive otlEr benefi1(s) in your mtmbership (if applicrble).

    It   you order of   any iwa-bure.iu ar    tlire-bureau sredil rnonitaring product (monitoring credit fil€s at lwo qr thtee credit bureaus) des not result    in   sueessful
    enrollme*t by any credit bur€{ in its eredit moniloring program. then you will noi receive alerts or moniioring of changes tq any ofyour credit files but yeu may
    receive other     brnefit(s) in your membershif (if applicable), ln the event th6t orly one or two credit bureaus, bqt not rll credit bureals requested, are abl€ to enroll yo(
    in their credit monitoring, credit monitoring      will be provided by the bureau or b(redus that were able to enroll you; you will not reeive alerts ot mqniioring of chsnges
    to the credit file$ of the burealr or burcsls that we.e not sble to enroll you in their credit moni(oring program.

    ln the sv€nt you order a &vo-bu.€au or three-bureou credit monitoring product, by placing           yur   ordel you agree !hat, if f€wer th€n all Erodil bureaus reque$ted entoll
    you in their credit ffonitoring. lFreescoro is authorized to nronitor orly the credit files ot the bui€au or bureaus that sroll€d you, if any. Any such credit monitoting
    will be provided at tlx price agreed upon; you will nor be eligible for a price reduction, diBcilnt ot refund. rrreescorr may not        bG aworu   or able lo nolity you in the
    evenl thaa tewer lhin all requested cred;t bureaus cnroll you in credit monitoring, it we bwome aware of suclr an event you agree we rray choose, but are not
    required, to sef,d you    t   notification.




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    Credil Monitoring MembershiF with Trial: You will be asked lor vaiid credit ard information when you sign up lor the (edit moniroring rinl. eFreescore will verify
    yout credit aard inlormation befote processing your order. An charge in the amounl ql one dollar, or the nmoqnt $tated on the crcdir card page if difleEnt, will be
    performed on your credil card to make sure it is volid aad in gocd standiDg. Howeve,; eFreescore will ,)ot bill you the monthly memlrcrship price of S29.94, or the
    amount stated on the credit card page i{ diftereni,    lntil   the trial period has erded. lf you do not cancel your trial membership within 7 doys of the date you ploce yout
    ord€r, yout    nreftbership will conlitrue automatically and the monthlyl.ffnuai tee will b€ billed to the credit card or o&$ biliing source provided by you whrn you
    €nrolled   h   credit frortq.irrg, on the first day o{ each sucessive membership term. Monitoring services may rake up to 3 days to becomr active so this service
    wthin yout ,nenlbership ,nay not be available during the whole 7 day rial period; hawever, other product featuree and bencfits may be available to you during your
    cntie trial period.    The 7 day rrial period is measured   ex.ctly to rhe mirute, for example if you rignup at l0:00AM on June lBt your trial wili errl at g:59AM on June


    and you may have access to some or all other membership            bsefit$ al   the priqe   agred upon;   you   will not be eligible lor r price reductian, diecouf,t or refund. lf you
    purchase additionel credit report! andlor scoms during your trial periad, thay will be billed !o the eredit or debit card provided to us during ef,rollment, ln the event
    that you purcha$e additional products troor eFree$mre u$ing a different credit or dabit card, or ii yo! update your psyment information with eFreescore, eFr.escqre
    will chBrge the latest card provided by yo{, lf we ale (nabie to bill your
                                                                     erd tor the lull membership amount we resery€ th€ right to attempt pailal charges up to the
    total nrembership amount or we msy domgrade your menrbership to a lorer price and nttempt !o bill you tor that leeser amquni.. plesse no{g if you havr ever been
    a menber arcl received a $ial,      eFrfiScore may refuse    1o give   you another trial oller. Returning members will be billed the Dr€mbership fee immrdiately upon
    renewal. Ouring your trial period, you are eligibis for one roport and/or scqe as dicuted by your           spcilic    membership temrs.

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    All disrrutes of any kind, ircluding'refund requests may be submitt€d to eFreesere in writing rc later than 60 days f.om when ihe dispded charge was posted to
    your account. You hereby waive all claims, disputes, or refund requests alter the 60 dny period. After the 60 day period .ll charges ire deemed to be rcrrect and
    accurate. trJhefi a re{und is approv€d it mny take up to 7 business days to be ret(med to you acrcunt. Disputes should be sent to: €Freescore, 340 S Lemon Aye
    P8SBL Wainn, cA 9'1789

    RESTRICTIONS

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   lmportanl Cr€dil Monitoring lnformation

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   Fair credit Reporting Acl

   TtE Fair Credit Reporting Act Bllaws you to obtain ftonr each credit rcporting agency a di3closure of all the information in your fredil fi,e al the time sl                       aire   request.

   Fuli discioeure of information in your file at a credit reporting agency mu6t be obtained directly irom such sedii reporting agency. The crcdit repotte providbd or
   requested ihro{gh o$ Site are not intended to coftstitute the disclosure of ilformation by a credil reporting ng€ncy as reguired by the Fair Credit Reporting Aci or
   similar laws.

   Under the Foir Crsdit Beporting Act you are entitled to leceive an annual free disclosure of youi credil report from each of the national credit repofting agencies. For
   more ilfolltation vi$it the credit rcport section in th6 Leoming Center, available fron mosl pages ot the Site,

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                                                                                                 EXHIBIT
                                                                                                   A-8
Gregory Zini
Partner


                                                            January 24, 2017


VIA ELECTRONIC MAIL


Guy G. Ward, Esq.
Federal Trade Commission
55 West Monroe Street, Suite 1825
Chicago, IL 60603

       Re:       FTC v. Credit Bureau Center, et al., Case No. 17-cv-00194 (N.D. Ill.)

Dear Guy:

        As you know, we are co-counsel for Defendants Credit Bureau Center, LLC (“CBC”) and
Michael Brown in the above-referenced matter. We refer to decretal Paragraph V.C of the
Temporary Restraining Order entered January 11, 2017 (the “TRO”), which generally provides
that Mr. Brown may form a new entity to conduct business provided that he provide the FTC
with a written statement disclosing the name of the business entity; the address, telephone
number, email address, and website address of the entity; the names of the officers, directors,
principals, managers, and employees; and a detailed description of the business’s intended
activities. We write on his behalf to provide the necessary disclosures.

       Mr. Brown’s new entity is called Zenfia, LLC, Its address is 340 South Lemon Street,
Suite 8881, Walnut, California, 91789. The telephone number is (323) 400-4295. Mr. Brown’s
email address is mike@zenfia.com. However, we represent Zenfia with respect to the above-
referenced matter, as well, and we hereby request that any communications be directed to us.

         Mr. Brown is the sole member of Zenfia, LLC; as such, he is the sole principal. As an
LLC, there are no officers or directors. Mr. Brown will manage Zenfia. As of this writing, he
also is the sole employee of Zenfia; we will notify you immediately if Zenfia hires employees.

       Neither CBC nor Mr. Brown will transfer any assets to Zenfia. Zenfia may use software
code and/or websites owned by CBC or Mr. Brown, but no title will be transferred.




               The Avant Building – 200 Delaware Avenue - Buffalo, New York 14202 barclaydamon.com
                         gzini@barclaydamon.com Direct: 716.858.3750 Fax: 716.768.2750
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Guy G. Ward, Esq.
January 24, 2017
Page 2


        Zenfia will engage in two lines of business. First, Zenfia will offer credit solutions
including white-labeled and co-branded credit reports, scores, and monitoring. In plainer
English, this means that Zenfia will either license credit reporting, scoring, and monitoring
software to third-party businesses who can then use that software under their own brands; or will
license such software under a co-branding agreement to third-party businesses who can then use
that software under their own brand jointly with the Zenfia brand.

         Second, Zenfia will offer credit reports, scores, and monitoring through the affiliate
program that I described during our telephone call yesterday morning. (You may recall that I
used DirecTV as an example of one such affiliate.) A brochure explaining the affiliate program
is attached to the email transmitting this letter. Zenfia will take great care to ensure that its
affiliates are reputable companies offering legitimate products and/or services, and also will take
great care to avoid any affiliate engaged in activities such as those alleged by the FTC against
co-Defendants Pierce and Lloyd in the Complaint in the above-referenced action. Zenfia also
will modify websites and software as necessary to ensure that disclosures required by the FCRA
and ROSCA appear prominently not only on personal computer browsers, but on mobile device
browsers as well.

        It is our opinion that Paragraph V.C permits the conduct described above simply upon
transmission of this notice to you as a representative of the FTC. However, because the present
state of litigation creates uncertainty, we would like your agreement that the above-described
activity would not violate the TRO. We ask that you kindly so signify by countersigning this
letter below.

         Thank you for your kind attention to these matters.

                                                      Very truly yours,



                                                      Gregory Zini

AGREED TO this __ day of January 2017:


_________________________________
Guy G. Ward, Esq.
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                                                            Todays Call Page 106 of 120 PageID #:2844



                                                                                             Mike Brown <mikebrownceo@gmail.com>

                                                            EXHIBIT
  Todays Call                                                 A-10
  5 messages

  Mike Brown <mikebrownceo@gmail.com>                                                    Thu, May 25, 2017 at 1:31 AM
  To: Parker MacKay <parker@mackaylawoffice.com>, "Zini, Gregory" <gzini@barclaydamon.com>

    Todays call with you felt very odd and was keeping me up tonight. Not just the tone and asking series of questions you
    already know many of the answers to as if it was your first time hearing it. Also the fact you now retracing and denying
    what you both previously informed me regarding compliance of the court order. I feel very uneasy about the situation.

    We have had multiple calls talking about how I can operate business where we discussed what is allowed and not allowed
    under the court order. On these calls you specifically stated we are allowed to use the past customer data and bill them
    provided they are not restricted under the order provided they did not come thru the Pierce/Lloyd scam.

    I relied on your expert advice to operate business in good faith and in respect of the courts order. I communicated this
    plan as complaint and legal to multiple people including Ling.

    On March 3rd I text messaged you both to arrange that call with Ling specifically to "confirm we allowed to use the past
    customer data and bill them (the good ones only)". Ling was uneasy and unsure about this plan so Greg and I had a three
    way call together which eased Lings concerns to where he was comfortable proceeding in compliance with the court
    order.

    So please don't play games retracing or denying it including the attempted cover your ass email 7 days ago where Greg
    issued a new unprompted opinion.

    I would never do anything to violate a court order. I am very confident Ling would not as well. I also think the same for you
    guys.

    Everything on record so far is making me look bad. For example; I don't know why we haven't been taking to the receiver.
    From the beginning I wanted them to be on our side. Now that I am talking with them directly per Rachels idea they
    appear to be happier. But now I have permanent court records of non­compliance. I thought you were ignoring them
    because of settlement talks or something.

    I don't know why Greg told the FTC you had never even talked to Ling when you had. He is now being subpoenaed. My
    credibility is all I have left. Now the FTC thinks I don't even have that left which derailed settlement talks. Please fix this
    very quickly and fall on the sword and tell the FTC what happened to get my credibility back, preferably private behind the
    scenes with the FTC and get this settlement done.

    This is an email I hope we never need. Please call me around lunch hopefully with some good news.

    Thanks,
    Mike


  Mike Brown <mikebrownceo@gmail.com>                                                                        Thu, May 25, 2017 at 10:15 AM
  To: Rachel Hirsch <rhirsch@ifrahlaw.com>

    [Quoted text hidden]



  Zini, Gregory <gzini@barclaydamon.com>                                             Thu, May 25, 2017 at 2:16 PM
  To: Mike Brown <mikebrownceo@gmail.com>, Parker MacKay <parker@mackaylawoffice.com>
  Cc: "Rubin, Lawrence C." <lrubin@taftlaw.com>


    Mike,




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10/12/2017   Case: 1:17-cv-00194 Document #: 133-1 Filed:
                                                    Gmail - 10/12/17
                                                            Todays Call Page 107 of 120 PageID #:2845
    Per our calls this morning, we know you’re on a plane right now, so we’re responding via email. It’s probably best to
    address your email below, and the issues we discussed yesterday and today, in writing anyway. This message is coming
    from my account, but it is from both Parker and me.



    The FTC declined our offer to negotiate and is seeking some form of relief in court. Guy Ward is out of the office until
    Tuesday, so we spoke with Sam Levine. He described the relief he is seeking as direction to comply with the existing
    preliminary injunction and did not use the word “contempt.” Nor did any of the FTC personnel use that word yesterday.



    To the extent that you want us to interpose a defense stating that there was a misunderstanding of the advice of counsel
    which resulted in you and/or Daniel Ling billing former customers of CBC under old contracts with CBC, we are willing to
    do so. We reasonably believe that to be the case. On March 3, you sent to me a screenshot of Paragraph VI of the order,
    which does not prohibit you from using CBC data obtained from sources other than Pierce and Lloyd, and asked if you
    could use that data to resume doing business with former CBC customers. We have had several telephone conversations
    regarding that, as well. Finally, last week, you asked for a written opinion regarding that same paragraph, and I provided
    you with one. It was not a “cover your ass” email; you specifically requested it.



    None of our communications indicated to us that you or Ling would be billing old CBC customers under old contracts.
    Parker and I are in complete agreement upon this point. If you intended to convey that, we did not understand. Again, we
    are willing to interpose a defense based upon misunderstanding or miscommunication.



    However, we will not interpose a defense claiming that either of us in fact advised you that you or Ling could bill old CBC
    customers under old contracts. Neither of us believe that to be true. Both of us understand receivership law and both of
    us understand that the old contracts are the property of the receiver. We would not have advised you otherwise and we
    did not advise you otherwise. To the extent that you want to assert such a defense, you will need to terminate us and
    engage other counsel to do so. We will understand.




    From: Mike Brown [mailto:mikebrownceo@gmail.com]
    Sent: Thursday, May 25, 2017 2:31 AM
    To: Parker MacKay; Zini, Gregory
    Subject: Todays Call

    [Quoted text hidden]




    Gregory Zini

    Partner


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  Mike Brown <mikebrownceo@gmail.com>                                                    Thu, May 25, 2017 at 2:38 PM
  To: Parker MacKay <parker@mackaylawoffice.com>, "Zini, Gregory" <gzini@barclaydamon.com>
  Cc: "Rubin, Lawrence C." <lrubin@taftlaw.com>

    We know what was said multiple times. We wouldn't do anything against a court order. We spoke about using the past
    customer data to BILL them. Using the BILLING data. Can't be more clear than that. The fact you deny it now is crazy.

    I obviously dispute facts in your email below.
    [Quoted text hidden]



  Zini, Gregory <gzini@barclaydamon.com>                                             Thu, May 25, 2017 at 3:38 PM
  To: Mike Brown <mikebrownceo@gmail.com>, Parker MacKay <parker@mackaylawoffice.com>
  Cc: "Rubin, Lawrence C." <lrubin@taftlaw.com>


    Mike—



    Again, please understand that this message comes both from Parker and from me. Your message below has created a
    conflict of interest between you and me (and my law firm) and between you and Parker that prevents us from continuing
    as your counsel. You have alleged that we provided you with incorrect legal advice, an allegation that we deny without
    reservation. You have further advised that in response to any assertion that you violated a court order, that you were
    following our advice. Again, to the extent that you claim that you were following a lawyer’s advice, that advice did not
    come from Parker or from me. In these circumstances, the Rules of Professional Conduct prohibit us from continuing as
    your counsel. This is so because it could be claimed by you that we are no longer looking out for your best interests and
    are, instead, looking out for our own interests.



    You need to obtain new counsel and have that counsel substitute in for our firm by filing a formal Consent to Change
    Attorney document. Your new counsel should contact me directly to arrange for the transfer of the file and the execution
    of the Consent to Change Attorney. Given the present procedural posture of the case, you need to act immediately. Time
    is of the essence.



    There is a status conference in the case set for next Thursday, June 1, 2017. We will attempt to adjourn that conference,
    but we cannot say whether my attempt will be successful. If we can adjourn the conference, we will ask for ten days for
    you to find new counsel. If we cannot, we will need to hear from you by noon Eastern Daylight Time on Tuesday, May 30,
    2017 that you have new counsel (and have the aforementioned Consent to Change Attorney executed). Otherwise, we
    will have no choice but to file a motion in the Court for leave to withdraw as your counsel. That motion will advise the
    Court of the existence of a conflict and that we are obligated to withdraw under the Rules of Professional Conduct but will
    not publicly disclose the nature of the conflict so that your position is not prejudiced in the eyes of the Court or opposing
    counsel.



    I regret that this circumstance has occurred, but your claim of wrongdoing on our part has left me without any option.



    ­­Gregory




    From: Mike Brown [mailto:mikebrownceo@gmail.com]
    Sent: Thursday, May 25, 2017 3:38 PM
    To: Parker MacKay; Zini, Gregory
    Cc: Rubin, Lawrence C.
    Subject: Re: Todays Call


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UNITED STATES DISTRICT COURT                                            EXHIBIT
NORTHERN DISTRICT OF ILLINOIS
                                                                          A-11
FEDERAL TRADE COMMISSION,

                             Plaintiff,
                                                                Case No. 17-cv-194
         -vs-

CREDIT BUREAU CENTER, LLC, et al.,

                             Defendants.


                            DECLARATION OF GREGORY ZINI

       GREGORY ZINI, under penalty of perjury and in accordance with 28 U.S.C. § 1746,

states and declares that the following is true and correct:


       1.       I am a partner in the law firm of Barclay Damon, LLP, co-counsel for Defendants

Credit Bureau Center, LLC and Michael Brown in this matter and submit this Declaration in

support of the accompanying Motion, pursuant to Local Rule 83.17 and Rule 1.16 of the Illinois

Rules of Professional Conduct (“RPC”), for leave to Withdraw as Counsel for Defendants Credit

Bureau Corporation (“CBC”) and Michael Brown.             I am fully familiar with the facts and

circumstances of this matter. This Declaration is based upon my personal knowledge. Other co-

counsel who have appeared as counsel of record in this matter, and who also are moving to

withdraw, are Parker R. MacKay, of the Law Offices of Parker MacKay, and Lawrence C.

Rubin, of Taft Stettinus & Hollister LLP.

       2.       This action was commenced by the Federal Trade Commission with the filing of a

Complaint on January 10, 2017. The following day, a Temporary Restraining Order was issued

by this Court (Hon. Sharon Johnson Coleman. In connection with that Order, Robb Evans &

Associates LLC (“Robb Evans”) was appointed Temporary Receiver.
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       3.      After oral argument and two days of live testimony, and after due deliberation, on

February 21, 2017, the Temporary Restraining Order was converted into a Preliminary

Injunction (Hon. Matthew F. Kennelly). That Order provided that Robb Evans would continue

as Receiver.

       4.      On Friday, May 19, 2017, at approximately 5:50 p.m., I (together with co-counsel

identified above) received an electronic mail message from Blair Zanzig, Esq., counsel for Robb

Evans, in which Mr. Zanzig informed me of his opinion that CBC and/or Mr. Brown had

interfered with receivership assets.

       5.      On Wednesday, May 24, 2017, at 12:30 p.m., Mr. MacKay and I had a

teleconference with Guy G. Ward and Samuel A.A. Levine, counsel for the FTC, in which

Messrs. Ward and Levine informed us of their opinion that CBC and/or Brown had violated the

terms of the Preliminary Injunction. Messrs. Ward and Levine notified us of their intention to

bring the alleged violation to the attention of the Court.

       6.      During the balance of May 24, 2017 and during nearly the whole day of May 25,

2017, Mr. MacKay and I consulted with our clients, with Mr. Rubin, and with each other

regarding a possible defense to whatever application would be brought by the FTC. Based upon

information obtained during these conversations, as well as several follow-up email messages, it

has become clear to me that there is a fundamental disagreement between our clients and their

lawyers. In addition, I have become convinced that continuing as counsel to Defendants will

contravene my duties and obligations under Rule 1.16 of the Illinois Rules of Professional

Conduct and that withdrawal is mandatory under RPC 1.16(a)(1). Withdrawal in the present

circumstances is also supported by RPC 1.16(b)(4) and (7).




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           7.   I am aware of various ethics opinions that detail that type and amount of

information to support a motion to withdraw due to confidentiality obligations under RPC 1.6.

Thus, this Declaration is by design limited in describing the issues that have mandated

withdrawal from representation. If the Court requests, I will submit an additional Declaration

under seal so that confidential information is not disclosed and no prejudice will result to my

clients.

           8.   Based on the above, it is respectfully submitted that withdrawal by Messrs.

MacKay and Rubin and the undersigned is mandated by the Rules of Professional Conduct. We

have so notified our clients and have requested that they obtain new counsel. If the motion is

granted, we also seek a limited period of time within the action will be stayed in order to allow

Defendants to obtain new counsel. Lastly, we seek such additional relief as the Court deems fair

and proper.

DATED:          Buffalo, New York
                June 1, 2017                        Respectfully submitted,
                                                    __/s/ Gregory Zini_____________
                                                    Gregory Zini




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                                                                              Order


  Subject       RE: Contempt Order
  From          Zini, Gregory <gzini@barclaydamon.com>
  To            Stephen Cochell <srcochell@gmail.com>, Parker MacKay
                <Parker@mackaylawoffice.com>
  Cc            Jonathan L. Slotter <jslotter@cochelllawfirm.com>
  Date          2017-10-10 13:21                                                                        EXHIBIT
                                                                                                          A-12
  Hi Steve,



  I think the basic issue here is that we did not tell him to restart the business and use the old customer database.
  Accordingly, we could not ethically interpose a defense stating otherwise.



  Because the issue concerned advice of counsel, which always is privileged, I did not prepare an affidavit concerning
  my discussions with Mr. Brown.



  From: Stephen Cochell [mailto:srcochell@gmail.com]
  Sent: Monday, October 09, 2017 10:17 PM
  To: Parker MacKay; Zini, Gregory
  Cc: Jonathan L. Slotter
  Subject: Contempt Order



             Gentlemen:



             I had a lengthy discussion with our client today regarding the contempt of court issue. I'm at a loss as
             to why you took took the position that you took vis a vis the contempt. I assume that you were
             prepared to explain your position to the Court when you filed your motion to withdraw and that you
             probably prepared an affidavit.



             Mike says you advised him that he could restart the business and use the old customer data base.
             Regardless of other issues, is that true?



             What advice, if any, did you give Michael Brown after it became clear that he wanted to tell the court
             that you advised him that he could restart the business and use the prohibited customer information.
             The impact of a contempt order on the defense of this lawsuit is devastating to CBC and reflects
             adversely on Mike's credibility with the Court.



             We are contemplating a motion to set aside the contempt order. Thus, we request that you provide us
             with a detailed explanation of what you contend happened and your factual and legal basis for your
             actions. In that vein, we believe that you have a fiduciary to this client to provide this explanation in
             order to avoid filing this motion if at all possible.



             If we do not receive a response from you by or before October 15, 2017, we will take steps to file a
             motion with the Court to vacate the Order.




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                                                                              Order

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  Stephen R. Cochell

  The Cochell Law Firm, P.C.

  2616 South Loop West,

  Ste 470

  Houston

  , Texas 77

  054

  (346)800- 3500 (phone)

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  Gregory Zini
  Partner


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                     6 Things to Know About Free Credit Scores | Banking and Credit | US ...
                     https://money.usnews.com/...credit/...06.../6-things-to-know-about-free-credit-scores
                     Jun 15, 2017 - In 2014, the government's Consumer Financial Protection Bureau recommended credit
                     card companies provide free credit scores to their ...


                     Free Credit Score? Not Necessarily. Credit Bureaus Busted for ...
                     https://www.nbcnews.com/.../free-credit-score-not-necessarily-credit-bureaus-busted-d...
                     Jan 4, 2017 - A free credit score that was neither free, nor really the credit score borrowers were looking
                     for.



                     Searches related to free credit score

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                                               free credit    10/12/17
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